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11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13

14   LINDSAY and JEFF ABERIN (a married couple),          No. 3:16-cv-04384-JST
     DON AWTREY, CHARLES BURGESS, JOHN
15   KELLY, YUN-FEI LOU, JOY MATZA, and                   THIRD AMENDED CLASS ACTION
     MELISSA YEUNG, individually and on behalf of         COMPLAINT
16   all others similarly situated,
17                                          Plaintiffs,   JURY TRIAL DEMANDED
            v.
18
     AMERICAN HONDA MOTOR COMPANY,
19   INC.,
20                                          Defendant.
21

22

23

24

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28
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 1          Plaintiffs Lindsay and Jeff Aberin (a married couple), Don Awtrey, Charles Burgess, John

 2   Kelly, Yun-Fei Lou, Joy Matza, and Melissa Yeung, individually and on behalf of all others

 3   similarly situated (the “Class members”), allege the following through their counsel: 1

 4                                         I.      INTRODUCTION
 5          1.      Acura is the luxury vehicle marque of Japanese automaker Honda, which operates in

 6   the United States as American Honda Motor Company, Inc. (“Honda” or “Defendant”). Honda first

 7   launched the Class Vehicles in the United States in March 1986 as luxury and high-performance

 8   vehicles.

 9          2.      A necessary feature for luxury cars by the mid-2000s was “hands-free” calling, where

10   owners “pair” cell phones with the car using Bluetooth® technology. Honda was in the lead of this

11   cutting edge technology, being the first to offer “hands-free” calling with its HandsFreeLink™

12   system starting with 2004 model year Acura vehicles (“Class Vehicles”).

13          3.      Unfortunately, in its effort to beat out the competition, Honda failed to develop the

14   most basic feature for any electric device like the HandsFreeLink™ unit—reliably switching off

15   when not in use. The HandsFreeLink™ unit will get stuck “on” even if not in use and even after the

16   car’s ignition switch is turned off. Once stuck “on,” the HandsFreeLink™ unit creates a constant

17   and substantial parasitic electric drain on the electric system, leading to drained and dead batteries,

18   recurring battery replacement, and premature failure of other essential electric components such as

19   alternators. Owners of Class Vehicles with the HandsFreeLink™ system find themselves with cars

20   that will not start after a short period of non-use and electrical systems prone to fail even when the

21   car is in operation. (Hereinafter, the “Defect”). Ultimately, these owners find themselves with cars

22   that are less valuable than comparable cars with properly functioning “hands-free” systems.

23

24      1
          Plaintiffs bring this Third Amended Class Action Complaint following the Court’s Decision
25   and Order on Defendant’s Motion to Dismiss the Amended Class Action Complaint (D.E. 81, as
     amended D.E. 91) and Motion to Dismiss Second Amended Class Action Complaint (D.E. 139) To
26   the extent Plaintiffs withdraw any claims, causes of action, or legal theories to conform this Third
     Amended Class Action Complaint to the aforementioned Decisions and Orders, Plaintiffs expressly
27   reserve the right to raise such issues later such as on appeal and do not, by filing this Third Amended
     Class Action Complaint, waive the right to maintain such claims, causes of action, or legal theories
28   on appeal.
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 1           4.          Acura owners are faced with the choice of expensive replacement of the

 2   HandsFreeLink™ unit (in excess of $1,000.00), with no promise that the replacement also will not

 3   get stuck “on,” or disabling the HandsFreeLink™ system by disconnecting the HandsFreeLink™

 4   unit from the car, thereby foreclosing on Plaintiffs’ ability to use the feature they originally paid for.

 5   Despite knowing about the issue with its HandsFreeLink™ since at least 2005, Honda has merely

 6   issued internal Service Bulletins to its dealers over the years, notifying only the dealers about the

 7   problem, but offering no meaningful solution, warranty coverage, or recall.

 8           5.          Plaintiffs seek relief for all other owners of Class Vehicles with the HandsFreeLink™

 9   system (“Acuras” or “Class Vehicles”) to redress the harm they have suffered as a result of this

10   defective technology.

11                                        II.    JURISDICTION & VENUE
12           6.          This Court has jurisdiction pursuant to the Class Action Fairness Act of 2005, 28

13   U.S.C. § 1332(d), because the proposed Classes consist of 100 or more members; the amount in

14   controversy exceeds $5,000,000, exclusive of costs and interest; and minimal diversity exists. This

15   Court also has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

16           7.          Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

17   the events or omissions giving rise to the claims of Plaintiffs and the other Class members occurred

18   in this District.

19                                                 III.    PARTIES
20   A.      Plaintiffs
21           1.          California Plaintiffs
22                       a.     Lindsay and Jeff Aberin (a married couple)
23                              (1)     Ownership, Purchase Decision, and HFL Defect, Generally
24           8.          Plaintiffs Lindsay and Jeff Aberin are currently residents of Washington residing in

25   University Place, Washington. When the Aberin Plaintiffs were residing in the state of California in

26   January 2005, they purchased a new 2005 Acura TL at Keyes Acura of Van Nuys at 5230 Van Nuys

27   Blvd., Van Nuys, CA 91401.

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                     -2-
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 1          9.      The Aberin Plaintiffs’ 2005 Acura TL included the defective HandsFreeLink™ unit.

 2   The Aberin Plaintiffs have paid money or otherwise suffered harm as a result of the defect and

 3   associated problems described herein.

 4          10.     The Aberin Plaintiffs based their decision to purchase the 2005 Acura TL in reliance

 5   on the features offered by the vehicle – including its inclusion of the HandsFreeLink™ – and

 6   Defendant’s reputation and statements about the safety, reliability, luxury and quality of Acura

 7   vehicles. They wanted a reliable vehicle with the kinds of features offered only with luxury vehicles

 8   like an Acura. The Aberin Plaintiffs believed the vehicle would be a good value because of its

 9   reputation for luxury, safety, reliability, and convenience—consistent with her review of Honda’s

10   advertising messaging regarding luxury, safety, reliability, and convenience.

11          11.     The Aberin Plaintiffs still own their 2005 Acura TL and they have paired the

12   HandsFreeLink™ unit with multiple LG/Motorola feature phones and Palm/Apple/Samsung

13   smartphones.

14          12.     Unknown to the Aberin Plaintiffs at the time the vehicle was purchased, the vehicle

15   was equipped with a HandsFreeLink™ unit that is defectively designed. The Defect allows the

16   HandsFreeLink™ unit to continue to drain the battery even after the vehicle is turned off.

17                          (2)     Fraudulent Concealment
18                                  (a)    HFL-caused vehicle issues, unbeknownst to Plaintiffs
19          13.     The Aberin Plaintiffs brought the vehicle to Hooman Acura of Santa Monica located

20   at 1717 Santa Monica Blvd., Santa Monica, CA 90404 in or around February 4, 2008 for service

21   relating to this defect. At that time, the battery was replaced under warranty.

22          14.     On March 24, 2010 the Aberin Plaintiffs brought the vehicle into Hinshaw’s Acura

23   located at 5955 20th St. E, Fife, WA 98424 for service relating to this defect. The fog light bulb on

24   the driver side and front marker light bulb passenger side were replaced.

25          15.     In or around August 24, 2012, the Aberin Plaintiffs brought the vehicle into

26   University Place Tire Center located at 4402 Bridgeport Way W, University Place, WA 98466 for

27   service relating to this defect. The battery was replaced.

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     THIRD AMENDED CLASS ACTION COMPLAINT                                 -3-
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 1          16.     In or around November 27, 2013, the Aberin Plaintiffs again brought the vehicle into

 2   Hinshaw’s Acura located at 5955 20th St. E, Fife, WA 98424 for service relating to this defect. The

 3   headlight inverter and ignitor on the driver side were replaced.

 4          17.     In or around November 29, 2013, the Aberin Plaintiffs again brought the vehicle into

 5   Hinshaw’s Acura located at 5955 20th St. E, Fife, WA 98424 for service relating to this defect. The

 6   headlight bulb on the passenger side and front marker bulb on driver side were replaced.

 7          18.     In or around January 3, 2014, the Aberin Plaintiffs again brought the vehicle into

 8   Hinshaw’s Acura located at 5955 20th St. E, Fife, WA 98424 for service relating to this defect. The

 9   headlight ignitor on the passenger side was replaced.

10          19.     In or around March 26, 2015, the Aberin Plaintiffs again brought the vehicle into

11   Hinshaw’s Acura located at 5955 20th St. E, Fife, WA 98424 for service relating to this defect. The

12   starter was replaced.

13          20.     In or around June 25, 2015, the Aberin Plaintiffs again brought the vehicle into

14   University Place Tire Center located at 2211 70th Ave West, Tacoma, WA 98466 for service relating

15   to this defect. The battery was replaced.

16                                 (b)     Time and manner of Plaintiffs’ discovery of the HFL defect
17          21.     In or around November 20, 2015, the Aberin Plaintiffs again brought the vehicle into

18   Hinshaw’s Acura located at 5955 20th St. E, Fife, WA 98424 for service relating to this defect. The

19   driver side headlight bulb, ignitor, and driver side rear door lock actuator were replaced. Up until

20   this time, the Aberin Plaintiffs did not understand (and could not have understood) that the problems

21   encountered could have been caused by the hidden and undisclosed defect in the HandsFreeLink™

22   system. Further, neither the dealership nor Honda disclosed that the HandsFreeLink™ unit was the

23   reason for the low battery phenomenon, nor did they ever fix the defect.

24          22.     The Aberin Plaintiffs have had to disable their HandsFreeLink™, one of the key

25   features of her 2005 Acura TL that induced them to purchase the vehicle. The HandsFreeLink™

26   was permanently disconnected in June 2016 at University Place Tire Center located at 2211 70th

27   Ave West, Tacoma, WA 98466. It was there that a service representative told Plaintiff and her

28
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 1   husband about the connection between the battery and electrical issues Plaintiff’s Vehicle was

 2   exhibiting and recommended disconnecting the HFL. The HFL was disconnected by the University

 3   Place Tire Center a short time later.

 4
                                    (c)      Plaintiffs were unable to have made the discovery of the HFL
 5                                           defect despite reasonable diligence
 6           23.     Plaintiffs are aware of no public information offered by Defendant that Honda’s HFL

 7   unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal Technical

 8   Service Bulletins on the HFL unit, unavailable to the public).

 9           24.     Through Plaintiffs’ multiple service visits, as detailed above, Plaintiffs acted

10   reasonably and diligently in attempting to find the cause of their repeated electrical-related problems.

11   Plaintiffs understandably and reasonably relied on the diligence of the vehicle service providers to

12   get to the ‘root cause’ of the repeated problems, but the service advisors and/or unaffiliated repair

13   shops never revealed to Plaintiffs (and likely did not know themselves due to Defendant’s

14   concealment) the true source of the electrical issues was the battery-draining HFL unit.

15           25.     Plaintiffs only learned thatthe vehicle’s battery-drain issues were linked to the HFL

16   unit on the aforementioned June 2016 service date.

17           26.     Plaintiffs were not at fault for failing to discover the HFL unit as the source of the

18   vehicle’s electrical issues.

19           27.     Plaintiffs had no actual or presumptive knowledge of facts sufficient to put them on

20   inquiry notice until the aforementioned service date.

21           28.     It was not until shortly before Plaintiffs disconnected the HFL unit that Defendant

22   withheld its knowledge from the public about the true source of the defect.

23                           (3)    Plaintiffs’ Injury and Causation Allegations
24           29.     Honda’s unfair, unlawful and deceptive conduct in designing, manufacturing,

25   marketing and selling vehicles equipped with the HandsFreeLink unit has caused the Aberin

26   Plaintiffs out-of-pocket losses, future attempted repairs, loss of warranty value, and diminished value

27   of their vehicle.

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 1          30.     Honda knew about, manipulated or recklessly disregarded the fact that the

 2   HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components

 3   which might fail while the vehicle is in operation.

 4          31.     But Honda did not disclose this defect to the Aberin Plaintiffs, so Plaintiffs purchased

 5   the vehicle on the reasonable, but mistaken, belief that the 2005 Acura TL was merchantable and

 6   safe to operate as designed. Had Honda disclosed that the HandsFreeLink could lead to vehicles that

 7   fail to start at a much higher level than a reasonable consumer would expect or contain electrical

 8   components which might fail while the vehicle is in operation, the Aberin Plaintiffs would not have

 9   purchased the vehicle or would have paid less for it.

10                  b.      John Kelly
11                          (1)    Ownership, Purchase Decision, and HFL Defect, Generally
12          32.     Plaintiff John Kelly is a resident of California domiciled in Richmond, California. On

13   November 2, 2015, Plaintiff Kelly bought a used 2007 Acura MDX from a private seller in Berkeley,

14   California.

15          33.     Plaintiff Kelly’s 2007 Acura MDX included the defective HandsFreeLink™ unit.

16   Plaintiff Kelly has paid money or otherwise suffered harm as a result of the defect and associated

17   problems described herein.

18          34.     Plaintiff Kelly based his decision to purchase the 2007 MDX in reliance on the

19   features offered by the vehicle – including its inclusion of the HandsFreeLink™ – and Defendant’s

20   reputation and statements about the safety, reliability, luxury and quality of Acura vehicles. He

21   wanted a reliable vehicle with the kinds of features offered only with luxury vehicles like an Acura.

22   Plaintiff Kelly believed his vehicle would be a good value because of its reputation for luxury,

23   safety, reliability, and convenience—consistent with his review of Honda’s advertising messaging

24   regarding luxury, safety, reliability, and convenience.

25          35.     Plaintiff Kelly still owns his vehicle and has paired his HandsFreeLink™ unit with

26   iPhone smartphones.

27

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 1           36.    Unknown to Plaintiff Kelly at the time the vehicle was purchased, the vehicle was

 2   equipped with a HandsFreeLink™ unit that is defectively designed. The Defect allows the

 3   HandsFreeLink™ unit to drain the battery even after the vehicle is turned off.

 4                          (2)     Statute of Limitations & Fraudulent Concealment Tolling
                                    Allegations
 5
                                    (a)     HFL-caused vehicle issues, unbeknownst to Plaintiff
 6
             37.    In mid-2016, Plaintiff Kelly began having problems with the vehicle’s battery. It
 7
     would die if not driven every day. For instance, the battery died when Plaintiff Kelly’s wife left it at
 8
     the airport while traveling for a few days. The battery died two to three times in this manner and
 9
     once at home in the garage. In each instance, AAA would have to come jump the battery.
10
             38.    So far, Plaintiff Kelly has replaced one battery for about $150 in June or July 2016.
11
     Recently, the HandsFreeLink™ unit stopped working altogether.
12
                                    (b)     Time and manner of Plaintiff’s discovery of the HFL defect
13
             39.    In August 2016, Plaintiff’s wife brought the vehicle to the Oakland Acura dealership
14
     for a tire alignment. She informed them about the problems with the HandsFreeLink™ unit. The
15
     dealership technicians told her that they were aware of this problem in the 2007 and 2008 MDX
16
     vehicles and that Plaintiff Kelly should not seek to replace the HandsFreeLink™ unit. She
17
     subsequently informed Plaintiff Kelly of what the dealership technicians told her.
18
             40.    Plaintiff Kelly then began to conduct internet research relating to the problems
19
     associated with the HandsFreeLink™ unit. It was only after reading the allegations of the Class
20
     Action Complaint in August 2016 did Plaintiff Kelly learn that the HandsFreeLink defects were
21
     responsible for the premature draining of his vehicle’s batteries. He eventually disabled the HFL
22
     unit.
23
             41.    Prior to August 2016, Plaintiff did not understand that the problems Plaintiff
24
     encountered could have been caused by the hidden and undisclosed defect in the HandsFreeLink™
25
     system. Further, neither the dealership nor Honda disclosed until recently that the HandsFreeLink™
26
     unit was the reason for the low battery phenomenon. They also failed to ever fix the defect.
27

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                                    (c)     Plaintiff was unable to have made the discovery of the HFL
 1                                          defect despite reasonable diligence
 2           42.     Plaintiff was aware of no public information offered by Defendant that Honda’s HFL

 3   unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal Technical

 4   Service Bulletins on the HFL unit, unavailable to the public).

 5           43.     Through Plaintiff’s multiple service visits, as detailed above, Plaintiff acted

 6   reasonably and diligently in attempting to find the cause of his repeated electrical-related problems.

 7   Plaintiff understandably and reasonably relied on the diligence of the vehicle service providers to get

 8   to the ‘root cause’ of the repeated problems, but the service advisors and/or unaffiliated repair shops

 9   never revealed to Plaintiff (and likely did not know themselves due to Defendant’s concealment) the

10   true source of the electrical issues was the battery-draining HFL unit.

11           44.     Plaintiff only discovered that Plaintiff may have a cause of action when Plaintiff

12   learned that the vehicle’s battery-drain issues were linked to the HFL unit on the aforementioned

13   service date.
                                    (d)     Plaintiff’s fraudulent concealment tolling allegations
14
             45.     Plaintiff was not at fault for failing to discover the HFL unit as the source of the
15
     vehicle’s electrical issues.
16
             46.     Plaintiff had no actual or presumptive knowledge of facts sufficient to put Plaintiff on
17
     inquiry notice until the aforementioned service date.
18
             47.     It was not until after the aforementioned service date that Plaintiff was able to connect
19
     the dots: Defendant withheld its knowledge from the public about the true source of the defect.
20
                             (3)    Plaintiff’s Injury and Causation Allegations
21
             48.     Honda’s unfair, unlawful, and deceptive conduct in designing, manufacturing,
22
     marketing and selling vehicles equipped with the HandsFreeLink™ unit has caused Plaintiff out-of-
23
     pocket losses, future attempted repairs, loss of warranty value, loss of value associated with the
24
     inability to use a feature that was previously paid for, and diminished value of the vehicle.
25
             49.     Honda knew about, manipulated or recklessly disregarded the fact that the
26
     HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components
27
     which might fail while the vehicle is in operation.
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   -8-
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 1          50.     But Honda did not disclose this defect to Plaintiff Kelly, so Plaintiff purchased the

 2   vehicle on the reasonable, but mistaken, belief that the 2007 Acura MDX was merchantable and safe

 3   to operate as designed. Had Honda disclosed that the HandsFreeLink™ could lead to vehicles that

 4   fail to start at a much higher level than a reasonable consumer would expect or contain electrical

 5   components which might fail while the vehicle is in operation, Plaintiff would not have purchased

 6   the vehicle or would have paid less for it.

 7          2.      Delaware Plaintiff
 8                          (1)     Ownership, Purchase Decision, and HFL Defect, Generally
 9          51.     Plaintiff Yun-Fei Lou is a resident of Delaware domiciled in Newark, Delaware. On

10   April 21, 2011, Plaintiff Lou bought a new 2011 Acura RDX at Price Acura at 4585 S. Dupont Hwy,

11   Dover, Delaware 19901.

12          52.     Plaintiff’s 2011 Acura RDX included the defective HandsFreeLink™ unit. Plaintiff

13   has paid money or otherwise suffered harm as a result of the defect and associated problems

14   described herein.

15          53.     Plaintiff based his decision to purchase the 2011 RDX in reliance on the features

16   offered by the vehicle – including its inclusion of the HandsFreeLink™ – and Defendant’s reputation

17   and statements about the safety, reliability, luxury and quality of Acura vehicles. He wanted a

18   reliable vehicle with the kinds of features offered only with luxury vehicles like an Acura. Plaintiff

19   Lou believed his vehicle would be a good value because of its reputation for luxury, safety,

20   reliability, and convenience—consistent with his review of Honda’s advertising messaging regarding

21   luxury, safety, reliability, and convenience.

22            54.   Plaintiff Lou still owns his 2011 Acura RDX and has paired his HandsFreeLink™

23   unit with both iPhone and Samsung Galaxy smartphones.

24          55.     Unknown to Plaintiff Lou at the time the vehicle was purchased, the vehicle was

25   equipped with a HandsFreeLink™ unit that is defectively designed. The Defect allows the

26   HandsFreeLink™ unit to continue to drain the battery even after the vehicle is turned off.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 -9-
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                            (2)     Statute of Limitations & Fraudulent Concealment Tolling
 1                                  Allegations
 2                                  (a)       HFL-caused vehicle issues, unbeknownst to Plaintiff
 3           56.     Plaintiff Lou has had to have his car jumped by AAA and others on several occasions

 4   because his vehicle’s battery was drained by the HandsFreeLink™ unit. The failure to disclose the

 5   potential defect also caused Plaintiff Lou to be late to work and miss important meetings on multiple

 6   occasions, including a job interview.

 7           57.     Plaintiff Lou first presented his vehicle for repair for what he thought was a low

 8   battery issue sometime around December 2011 or January 2012. He also received several

 9   complimentary battery checks for the next few years from the dealership.

10           58.     Plaintiff Lou is a volunteer firefighter. In 2012, there was a fire emergency in the fire

11   district where Plaintiff Lou volunteers and he was unable to respond due to his 2011 Acura RDX not

12   being able start.

13           59.     Around March 2013, Plaintiff Lou had to get a jump start at the fire station on the

14   University of Delaware Campus.

15           60.     Around May 2013, Plaintiff Lou’s 2011 Acura RDX would not start, rendering him

16   stranded around 10:00 PM, and he had to call Acura Roadside Assistance for a jump start.

17           61.     In 2014, Plaintiff Lou had to pay for Rangers LLC to jump start his 2011 Acura RDX.

18           62.     To mitigate the consequences of becoming stranded unexpectedly, Plaintiff Lou has

19   paid approximately $40 for a roadside kit and pays for a premium monthly membership with the

20   Automotive Association of America (AAA).

21           63.     Because his HandsFreeLink™ unit is not disabled, Plaintiff continues to experience

22   these battery and electrical problems.

23                                  (b)       Time and manner of Plaintiff’s discovery of the HFL defect
24           64.     In the summer of 2016, Plaintiff Lou began to conduct internet research relating to the

25   problems associated with the HandsFreeLink™ unit. It was only after reading the allegations of the

26   Class Action Complaint in August 2016 did Plaintiff Lou learn that the HandsFreeLink defects were

27   responsible for the premature draining of his vehicle’s batteries

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 10 -
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 1           65.     Prior to August 2016, Plaintiff did not understand that the problems Plaintiff

 2   encountered could have been caused by the hidden and undisclosed defect in the HandsFreeLink™

 3   system. Further, neither the dealership nor Honda disclosed until recently that the HandsFreeLink™

 4   unit was the reason for the low battery phenomenon. They also failed to ever fix the defect.

 5                                  (c)     Plaintiff was unable to have made the discovery of the HFL
                                            defect despite reasonable diligence
 6
             66.     Prior to August 2016, Plaintiff did not understand that the problems Plaintiff
 7
     encountered could have been caused by the hidden and undisclosed defect in the HandsFreeLink™
 8
     system. Further, neither the dealership nor Honda disclosed that the HandsFreeLink™ unit was the
 9
     reason for the low battery phenomenon. They also failed to ever fix the defect.
10
             67.     Plaintiff was aware of no public information offered by Defendant that Honda’s HFL
11
     unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal Technical
12
     Service Bulletins on the HFL unit, unavailable to the public).
13
             68.     Through Plaintiff’s multiple service visits, as detailed above, Plaintiff acted
14
     reasonably and diligently in attempting to find the cause of her repeated electrical-related problems.
15
     Plaintiff understandably and reasonably relied on the diligence of the vehicle service providers to get
16
     to the ‘root cause’ of the repeated problems, but the service advisors and/or unaffiliated repair shops
17
     never revealed to Plaintiff (and likely did not know themselves due to Defendant’s concealment) the
18
     true source of the electrical issues was the battery-draining HFL unit.
19
             69.     Plaintiff only discovered that Plaintiff may have a cause of action when Plaintiff
20
     learned that the vehicle’s battery-drain issues were linked to the HFL unit in August 2016, after
21
     reading the allegations contained in the original Class Action Complaint.
22
                                    (d)     Plaintiff’s fraudulent concealment tolling allegations
23
             70.     Plaintiff was not at fault for failing to discover the HFL unit as the source of the
24
     vehicle’s electrical issues.
25
             71.     Plaintiff had no actual or presumptive knowledge of facts sufficient to put Plaintiff on
26
     inquiry notice until the aforementioned service date.
27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 11 -
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 1          72.     It was not until August 2016 that Plaintiff was able to connect the dots: Defendant

 2   withheld its knowledge from the public about the true source of the defect.

 3                          (3)     Plaintiff’s Injury and Causation Allegations
 4          73.     Honda’s unfair, unlawful, and deceptive conduct in designing, manufacturing,

 5   marketing and selling vehicles equipped with the HandsFreeLink™ unit has caused Plaintiff out-of-

 6   pocket losses, future attempted repairs, loss of warranty value, loss of value associated with the

 7   inability to use a feature that was previously paid for, and diminished value of the vehicle.

 8           74.    Honda knew about, manipulated, or recklessly disregarded the fact that the

 9   HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components that

10   might fail while the vehicle is in operation.

11          75.     But Honda did not disclose this defect to Plaintiff Lou, so Plaintiff Lou purchased the

12   vehicle on the reasonable, but mistaken, belief that the 2011 Acura RDX was merchantable and safe

13   to operate as designed. Had Honda disclosed that the HandsFreeLink™ could lead to vehicles that

14   fail to start at a much higher level than a reasonable consumer would expect or contain electrical

15   components that might fail while the vehicle is in operation, Plaintiff Lou would not have purchased

16   the vehicle or would have paid less for it.

17          3.      Kansas Plaintiff
18                          (1)     Ownership, Purchase Decision, and HFL Defect, Generally
19          76.     Plaintiff Don Awtrey is a resident of Kansas residing in Wichita, Kansas. On or about

20   November 20, 2004 Plaintiff Awtrey bought a new 2005 Acura TL at Acura of Wichita (formerly

21   part of the Schofield Luxury Collection) located at 11212 E Kellogg Dr Wichita, KS 67207.

22          77.     Plaintiff Awtrey’s 2005 Acura TL included the defective HandsFreeLink™ unit.

23   Plaintiff Awtrey has paid money or otherwise suffered harm as a result of the defect and associated

24   problems described herein.

25          78.     Plaintiff Awtrey based his decision to purchase the 2005 Acura TL in reliance on the

26   features offered by the vehicle—including its inclusion of the HandsFreeLink™— and Defendant’s

27   reputation and statements about the safety, reliability, luxury and quality of Acura vehicles. He

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 12 -
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 1   wanted a reliable vehicle with the kinds of features offered only with luxury vehicles like an Acura.

 2   Plaintiff Awtrey believed his vehicle would be a good value because of its reputation for luxury,

 3   safety, reliability, and convenience—consistent with his review of Honda’s advertising messaging

 4   regarding luxury, safety, reliability, and convenience.

 5          79.     Plaintiff Awtrey still owns his 2005 Acura TL and has paired his HandsFreeLink™

 6   unit with multiple Motorola flip phones and Apple smartphones.

 7          80.     Unknown to Plaintiff Awtrey at the time the vehicle was purchased, the vehicle was

 8   equipped with a HandsFreeLink™ unit that is defectively designed. The Defect allows the

 9   HandsFreeLink™ unit to continue to drain the battery even after the vehicle is turned off.

10                          (2)     Statute of Limitations & Fraudulent Concealment Tolling
                                    Allegations
11
                                    (a)     HFL-caused vehicle issues, unbeknownst to Plaintiff
12
            81.     Plaintiff Awtrey brought his vehicle to Acura of Wichita in or around October 26,
13
     2009 for service relating to this defect. At that time, the battery was replaced at a cost to Plaintiff
14
     Awtrey of $175.00.
15
            82.     In or around September 17, 2014 Plaintiff Awtrey again brought his vehicle to Acura
16
     of Wichita for service relating to this defect. Again, the battery was replaced at a cost to Plaintiff
17
     Awtrey of $130.90.
18
            83.     In or around August 16, 2016, Plaintiff Awtrey again brought his vehicle into Acura
19
     of Wichita for service relating to the HandsFreeLink system. The dealership told him that they could
20
     provide him with a replacement system, but he would have to bear the cost of the replacement.
21
                                    (b)     Time and manner of Plaintiff’s discovery of the HFL defect
22
            84.     Following the August 16, 2016 service visit, Plaintiff Awtrey then began to conduct
23
     internet research relating to the problems associated with the HandsFreeLink™ unit. It was only after
24
     reading the allegations of the Class Action Complaint in August 2016 did Plaintiff Awtrey learn that
25
     the HandsFreeLink defects were responsible for the premature draining of his vehicles’ batteries.
26

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 13 -
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                                    (c)     Plaintiff was unable to have made the discovery of the HFL
 1                                          defect despite reasonable diligence
 2           85.     Prior to August 2016, Plaintiff did not understand that the problems Plaintiff

 3   encountered could have been caused by the hidden and undisclosed defect in the HandsFreeLink™

 4   system. Further, neither the dealership nor Honda disclosed that the HandsFreeLink™ unit was the

 5   reason for the low battery phenomenon. They also failed to ever fix the defect.

 6           86.     Plaintiff was aware of no public information offered by Defendant that Honda’s HFL

 7   unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal Technical

 8   Service Bulletins on the HFL unit, unavailable to the public).

 9           87.     Through Plaintiff’s multiple service visits, as detailed above, Plaintiff acted

10   reasonably and diligently in attempting to find the cause of his repeated electrical-related problems.

11   Plaintiff understandably and reasonably relied on the diligence of the vehicle service providers to get

12   to the ‘root cause’ of the repeated problems, but the service advisors and/or unaffiliated repair shops

13   never revealed to Plaintiff (and likely did not know themselves due to Defendant’s concealment) the

14   true source of the electrical issues was the battery-draining HFL unit.

15           88.     Plaintiff only discovered that Plaintiff may have a cause of action when Plaintiff

16   learned that the vehicle’s battery-drain issues were linked to the HFL unit, in August of 2016, after

17   reading the allegations contained in the Class Action Complaint.

18                                  (d)     Plaintiff’s fraudulent concealment tolling allegations
19           89.     Plaintiff was not at fault for failing to discover the HFL unit as the source of the

20   vehicle’s electrical issues.

21           90.     Plaintiff had no actual or presumptive knowledge of facts sufficient to put Plaintiff on

22   inquiry notice until the aforementioned service date.

23           91.     It was not until August 2016 that Plaintiff was able to connect the dots: Defendant

24   withheld its knowledge from the public about the true source of the defect.

25                           (3)    Plaintiff’s Injury and Causation Allegations
26           92.     Honda’s unfair, unlawful and deceptive conduct in designing, manufacturing,

27   marketing and selling vehicles equipped with the HandsFreeLink unit has caused Plaintiff Awtrey

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 14 -
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 1   out-of-pocket losses, future attempted repairs, loss of warranty value, and diminished value of his

 2   vehicle.

 3             93.   Honda knew about, manipulated or recklessly disregarded the fact that the

 4   HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components

 5   which might fail while the vehicle is in operation.

 6             94.   But Honda did not disclose this defect to Plaintiff Awtrey, so Plaintiff Awtrey

 7   purchased the vehicle on the reasonable, but mistaken, belief that the 2005 Acura TL was futile and

 8   safe to operate as designed. Had Honda disclosed that the HandsFreeLink could lead to vehicles that

 9   fail to start at a much higher level than a reasonable consumer would expect or contain electrical

10   components that might fail while the vehicle is in operation, Plaintiff Awtrey would not have

11   purchased the vehicle or would have paid less for it.

12             4.    New Hampshire Plaintiff
13                          (1)     Ownership, Purchase Decision, and HFL Defect, Generally
14             95.   Plaintiff Melissa Yeung is a resident of New Hampshire domiciled in Nashua, New

15   Hampshire. On September 27, 2007, Plaintiff Yeung bought a new 2008 Acura TL at Sunnyside

16   Acura at 482 Amherst St., Nashua, New Hampshire 03063.

17             96.   Plaintiff’s 2008 Acura TL included the defective HandsFreeLink™ unit. Plaintiff has

18   paid money or otherwise suffered harm as a result of the defect and associated problems described

19   herein.

20             97.   Plaintiff Yeung based her decision to purchase the 2008 Acura TL in reliance of the

21   features offered by the vehicle—including its inclusion of the HandsFreeLinkTM —and Defendant’s

22   reputation and statements about the safety, reliability, luxury and quality of Acura vehicles. Plaintiff

23   Yeung was looking forward to using the HandsFreeLinkTM feature upon purchase. She wanted a

24   reliable vehicle with the kinds of features offered only with luxury vehicles like an Acura. Plaintiff

25   Yeung believed her 2008 Acura TL would be good value because of the reputation of Acura vehicles

26   for luxury, reliability, safety, and convenience—consistent with her review of Honda’s advertising

27   messaging regarding luxury, safety, reliability, and convenience.

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 15 -
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 1          98.      Plaintiff Yeung still owns her 2008 Acura TL and has paired her HandsFreeLink™

 2   unit with both iPhone and Blackberry smartphones.

 3          99.      Unknown to Plaintiff Yeung at the time the vehicle was purchased, the vehicle was

 4   equipped with a HandsFreeLink™ unit that is defectively designed. The Defect allows the

 5   HandsFreeLink™ unit to continue to drain the battery even after the vehicle is turned off.

 6                          (2)     Statute of Limitations & Fraudulent Concealment Tolling
                                    Allegations
 7
                                    (a)       HFL-caused vehicle issues, unbeknownst to Plaintiff
 8
            100.     Plaintiff Yeung has had to pay to replace her battery three times.
 9
            101.     The first battery replacement was covered under warranty, but the second two were
10
     out-of-pocket and cost approximately $160.
11
            102.     Plaintiff Yeung also had to have her car jumped by AAA on several occasions
12
     because her vehicle’s battery was drained by the HandsFreeLink™ unit.
13
            103.     Plaintiff Yeung also brought her vehicle into a dealership sometime before 2010, and
14
     to a local mechanic at least two times after 2010, for service relating to this defect. The defect was
15
     not repaired.
16
            104.     Because her HandsFreeLink™ unit is not disabled, Plaintiff continues to experience
17
     these battery and electrical problems.
18
                                    (b)       Time and manner of Plaintiff’s discovery of the HFL defect
19
            105.     In late 2013 or early 2014, Plaintiff brought her vehicle to the Acura dealership
20
     regarding the problems with the HandsFreeLink™ unit. The dealership technicians told her they
21
     were aware of this problem and communicated that there was a relationship between the presence of
22
     the enabled HandsFreeLink™ unit and drained batteries.
23
                                    (c)       Plaintiff was unable to have made the discovery of the HFL
24                                            defect despite reasonable diligence
25          106.     Until this time, Plaintiff did not understand that the problems Plaintiff encountered

26   could have been caused by the hidden and undisclosed defect in the HandsFreeLink™ system.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 16 -
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 1   Further, neither the dealership nor Honda disclosed that the HandsFreeLink™ unit was the reason for

 2   the low battery phenomenon. They also failed to ever fix the defect.

 3           107.    Plaintiff was aware of no public information offered by Defendant that Honda’s HFL

 4   unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal Technical

 5   Service Bulletins on the HFL unit, unavailable to the public).

 6           108.    Through Plaintiff’s multiple service visits, as detailed above, Plaintiff acted

 7   reasonably and diligently in attempting to find the cause of her repeated electrical-related problems.

 8   Plaintiff understandably and reasonably relied on the diligence of the vehicle service providers to get

 9   to the ‘root cause’ of the repeated problems, but the service advisors and/or unaffiliated repair shops

10   never revealed to Plaintiff (and likely did not know themselves due to Defendant’s concealment) the

11   true source of the electrical issues was the battery-draining HFL unit.

12           109.    Plaintiff only discovered that Plaintiff may have a cause of action when Plaintiff

13   learned that the vehicle’s battery-drain issues were linked to the HFL unit on the aforementioned

14   service date.
                                    (d)     Plaintiff’s fraudulent concealment tolling allegations
15
             110.    Plaintiff was not at fault for failing to discover the HFL unit as the source of the
16
     vehicle’s electrical issues.
17
             111.    Plaintiff had no actual or presumptive knowledge of facts sufficient to put Plaintiff on
18
     inquiry notice until the aforementioned service date.
19
             112.    It was not until after the aforementioned service date that Plaintiff was able to connect
20
     the dots: Defendant withheld its knowledge from the public about the true source of the defect.
21
                             (3)    Plaintiff’s Injury and Causation Allegations
22
             113.    Honda’s unfair, unlawful, and deceptive conduct in designing, manufacturing,
23
     marketing, and selling vehicles equipped with the HandsFreeLink™ unit has caused Plaintiff Yeung
24
     out-of-pocket losses, future attempted repairs, loss of warranty value, and diminished value of her
25
     vehicle. Honda knew about, manipulated, or recklessly disregarded the fact that the
26
     HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components that
27
     might fail while the vehicle is in operation.
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 17 -
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 1          114.    But Honda did not disclose this defect to Plaintiff, so Plaintiff Yeung purchased the

 2   vehicle on the reasonable, but mistaken, belief that the 2008 Acura TL was merchantable and safe to

 3   operate as designed. Had Honda disclosed that the HandsFreeLink™ could lead to vehicles that fail

 4   to start at a much higher level than a reasonable consumer would expect or contain electrical

 5   components that might fail while the vehicle is in operation, Plaintiff Yeung would not have

 6   purchased the vehicle or would have paid less for it.

 7          5.      New York Plaintiff
 8                         (1)     Ownership, Purchase Decision, and HFL Defect, Generally
 9          115.    Plaintiff Joy Matza is currently a resident of New York residing in Rosyln, New York.

10   On or about September 11, 2006, she bought a new 2006 Acura MDX at Rallye Acura, located at

11   1750 Northern Blvd, Roslyn, NY, 11576.

12          116.    Plaintiff Matza’s 2006 Acura MDX included the defective HandsFreeLink™ unit.

13   Plaintiff Matza has paid money or otherwise suffered harm as a result of the defect and associated

14   problems described herein.

15          117.    Plaintiff Matza based her decision to purchase the 2006 Acura MDX in reliance on

16   the features offered by the vehicle – including its inclusion of the HandsFreeLink™ – and

17   Defendant’s reputation and statements about the safety, reliability, luxury and quality of Acura

18   vehicles. She wanted a reliable vehicle with the kinds of features offered only with luxury vehicles

19   like an Acura. Plaintiff Matza believed her vehicle would be a good value because of its reputation

20   for luxury, safety, reliability, and convenience—consistent with her review of Honda’s advertising

21   messaging regarding luxury, safety, reliability, and convenience.

22          118.    Plaintiff Matza, prior to retaining counsel, recently sold her 2006 Acura MDX at a

23   loss because, as described more fully below, the disconnected defective HFL unit lowered the value

24   of her vehicle. During her ownership of her Acura MDX, Plaintiff Matza paired her

25   HandsFreeLink™ unit with multiple phones and used HFL to make hands-free calls frequently.

26

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 18 -
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 1          119.    Unknown to Plaintiff Matza at the time the vehicle was purchased, the vehicle was

 2   equipped with a HandsFreeLink™ unit that is defectively designed. The Defect allows the

 3   HandsFreeLink™ unit to continue to drain the battery even after the vehicle is turned off.

 4                          (2)     Statute of Limitations & Fraudulent Concealment Tolling
                                    Allegations
 5
                                    (a)     HFL-caused vehicle issues, unbeknownst to Plaintiff
 6
            120.    Plaintiff Matza first experienced an issue with her MDX’s battery & electrical system
 7
     on or about January or February of 2007. At that time, Plaintiff Matza was at a shopping center
 8
     parking lot and was unable to start her vehicle. She called a roadside assistance company to jump-
 9
     start her vehicle. Plaintiff Matza had no idea (nor was there any indication) that the battery failure
10
     was in any way related to her vehicle’s HFL unit.
11
            121.    In or around Fall of 2008, Plaintiff Matza she was picking up her daughter from a
12
     New York City restaurant, and when she went to start her vehicle to leave, the battery died. As a
13
     result, she had have her vehicle jump started. Shortly thereafter, her vehicle needed a battery
14
     replacement. Plaintiff Matza still had no idea (nor was there any indication) that the battery failure
15
     was in any way related to her vehicle’s HFL unit.
16
            122.    On or about January or February of 2009, Plaintiff Matza’s vehicle’s battery died
17
     while going for dinner take-out. AAA jump-started the vehicle to get plaintiff on the road again.
18
     Plaintiff Matza still had no idea (nor was there any indication) that the battery failure was in any way
19
     related to her vehicle’s HFL unit.
20
            123.    On or about January or February of 2010, Plaintiff Matza’s vehicle’s battery died and
21
     she had to take a taxi home. Her husband later came and jump-started the vehicle and shortly
22
     thereafter replaced the battery. Plaintiff Matza still had no idea (nor was there any indication) that the
23
     battery failure was in any way related to her vehicle’s HFL unit.
24
            124.    On or about January or February of 2013, Plaintiff Matza’s son had to call AAA to
25
     replace the battery. Plaintiff Matza still had no idea (nor was there any indication) that the battery
26
     failure was in any way related to her vehicle’s HFL unit.
27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 19 -
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 1          125.       On or about March, 17, 2014, Plaintiff Matza took her vehicle into an authorized

 2   Acura dealership’s service center because, among other things, her engine was making an odd noise

 3   during cold start-ups. As a result of the service center’s diagnostics, they replaced the starter motor

 4   assembly unit on her vehicle. The part and labor cost her $614.70. Upon information and belief, this

 5   repair was caused by the HFL parasitic battery drain defect, which required multiple jump starts due

 6   to dead batteries, added additional strain on the starter motor assembly, and ultimately caused it to

 7   prematurely fail. Plaintiff Matza still had no idea (nor was there any indication) that this part failure

 8   was in any way related to her vehicle’s HFL unit.

 9          126.       Multiple times in 2016, Plaintiff Matza had to have the vehicle jump started in the

10   driveway because the vehicle was driven infrequently, giving the HFL time to parasitically drain the

11   battery more extensively. Plaintiff Matza still had no idea (nor was there any indication) that these

12   battery failures were in any way related to her vehicle’s HFL unit.

13          127.       In total, Plaintiff Matza needed approximately 8 battery replacements over the years,

14   and at least 10 battery jump-starts. In total, the battery replacements cost her an estimated $800 over

15   the years, and the replacement starter motor assembly unit cost her $614.70 for parts and labor.

16          128.       In or about July 2016, Plaintiff Matza’s husband did online research and found the

17   true source of the battery-drain issue: a defective HandsFreeLink unit.

18          129.       As a result of her husband’s discovery, on or around July 10, 2016, Plaintiff Matza

19   took her car to an authorized Acura dealership and asked for the cost of a replacement HFL unit. She

20   was quoted $809.90.

21          130.       Because the cost of the unit, Plaintiff Matza and her husband decided to disconnect

22   HFL unit. Plaintiff’s husband, using instructions found online, disconnected the unit. From that

23   point forward, the vehicle no longer had the hands-free-calling capability that was a promised feature

24   of the vehicle.

25          131.       Subsequently, approximately one year later, in mid-May 2017, Plaintiff Matza ended

26   up selling the 2006 MDX to a private party. Because Plaintiff Matza wanted to give full disclosure

27   about the vehicle’s condition, she accurately disclosed that the HFL unit was not functioning and had

28
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 1   been disconnected. As a result, she sold the vehicle for a below-market rate, based on then-current

 2   Kelly Blue Book and Edmunds.com valuations.

 3                                   (b)     Time and manner of Plaintiff’s discovery of the HFL defect
 4             132.   As noted above, it was not until on or about July 2016, when Plaintiff Matza’s

 5   husband did online research that the truth about the HFL propensity to drain batteries came to light.

 6   Up until that time, Plaintiff did not understand (and could not have understood) that the electrical

 7   problems she encountered could have been caused by the hidden and undisclosed defect in the

 8   HandsFreeLink™ system. Further, neither the dealership nor did Honda disclose that the

 9   HandsFreeLink™ unit was the reason for the low battery phenomenon, nor did they ever fix the

10   defect.

11             133.   As noted, Plaintiff Matza’s husband had to disable the HandsFreeLink™ unit, one of

12   the key features of her 2006 Acura MDX that induced her to purchase the vehicle.

13                                   (c)     Plaintiff was unable to have made the discovery of the HFL
                                             defect despite reasonable diligence
14

15             134.   Plaintiff was aware of no public information offered by Defendant that Honda’s HFL

16   unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal Technical

17   Service Bulletins on the HFL unit, unavailable to the public).

18             135.   Through Plaintiff’s multiple service visits, as detailed above, Plaintiff acted

19   reasonably and diligently in attempting to find the cause of her repeated electrical-related problems.

20   Plaintiff understandably and reasonably relied on the diligence of the vehicle service providers to get

21   to the ‘root cause’ of the repeated problems, but the service advisors and/or unaffiliated repair shops

22   never revealed to Plaintiff (and likely did not know themselves due to Defendant’s concealment) the

23   true source of the electrical issues was the battery-draining HFL unit.

24             136.   Plaintiff only discovered that Plaintiff may have a cause of action when Plaintiff

25   learned that the vehicle’s battery-drain issues were linked to the HFL unit on the aforementioned

26   date that her husband did online research on or about July of 2016.

27

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                                    (d)     Plaintiff’s fraudulent concealment tolling allegations
 1

 2           137.    Plaintiff was not at fault for failing to discover the HFL unit as the source of the

 3   vehicle’s electrical issues.

 4           138.    Plaintiff had no actual or presumptive knowledge of facts sufficient to put Plaintiff on

 5   inquiry notice until the aforementioned service date.

 6           139.    It was not until shortly before Plaintiff disconnected the HFL unit that Defendant

 7   withheld its knowledge from the public about the true source of the defect.

 8                            (3)   Plaintiff’s Injury and Causation Allegations
 9           140.    Honda’s unfair, unlawful and deceptive conduct in designing, manufacturing,

10   marketing and selling vehicles equipped with the HandsFreeLink unit has caused Plaintiff Matza out-

11   of-pocket losses, future attempted repairs, loss of warranty value, and diminished value of her

12   vehicle.

13           141.    Honda knew about, manipulated or recklessly disregarded the fact that the

14   HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components

15   which might fail while the vehicle is in operation.

16           142.    But Honda did not disclose this defect to Plaintiff Matza, so Plaintiff purchased the

17   vehicle on the reasonable, but mistaken, belief that the 2006 Acura MDX was merchantable and safe

18   to operate as designed. Had Honda disclosed that the HandsFreeLink could lead to vehicles that fail

19   to start at a much higher level than a reasonable consumer would expect or contain electrical

20   components which might fail while the vehicle is in operation, Plaintiff Matza would not have

21   purchased the vehicle.

22           6.      Washington Plaintiff
23                            (1)   Ownership, Purchase Decision, and HFL Defect, Generally
24           143.    Plaintiff Charles (“Chuck”) Burgess is currently a resident of Washington residing in

25   Seattle, Washington. On October 25, 2008, when Plaintiff Burgess was residing in the state of

26   Washington, he bought a new 2008 Acura RDX at Acura of Lynnwood, 21515 Hwy 99, Lynnwood,

27   Washington, 98036.

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 1           144.   Plaintiff Burgess’s 2008 Acura RDX included the defective HandsFreeLink™ unit.

 2   Plaintiff Burgess has paid money or otherwise suffered harm as a result of the defect and associated

 3   problems described herein.

 4           145.   Plaintiff Burgess based his decision to purchase the 2008 Acura RDX in reliance on

 5   the features offered by the vehicle – particularly its inclusion of the HandsFreeLink™ – and

 6   Defendant’s reputation and statements about the safety, reliability, luxury and quality of Acura

 7   vehicles. He wanted a reliable vehicle with the kinds of features offered only with luxury vehicles

 8   like an Acura. Plaintiff Burgess believed his vehicle would be a good value because of its reputation

 9   for luxury, safety, reliability, and convenience—consistent with his review of Honda’s advertising

10   messaging regarding luxury, safety, reliability, and convenience.

11           146. Prior to purchasing this vehicle, Plaintiff Burgess conducted extensive online

12   research, visiting Acura’s website and reading consumer reviews on sites such as Edmunds.com.

13   Plaintiff Burgess also visited Acura of Lynnwood to test drive the vehicle before purchase. During

14   this visit, he spoke with dealership personnel extensively about the 2008 Acura RDX. Based on the

15   statements he reviewed online and representations made by the dealership personnel, Plaintiff

16   Burgess was persuaded that the 2008 Acura RDX was a reliable, functional, and safe vehicle. These

17   particular qualities were important to Plaintiff Burgess, who traveled frequently to Eastern

18   Washington at the time and commuted daily from north of Seattle to Auburn, Washington (2.5 to 3

19   hours round-trip).

20           147.   Plaintiff Burgess was given a demonstration of the HandsFreeLink™ system during

21   his test drive at Acura of Lynwood, and was shown how to set up the system. After learning that this

22   particular model came with HandsFreeLink™ and seeing the demonstration, Plaintiff Burgess

23   became convinced of the value of the luxury HandsFreeLink™ feature. This feature was particularly

24   important to Plaintiff Burgess, because of the convenience it offered when he was on the road for 2.5

25   to 3 hours each day. Plaintiff Burgess was constantly on call due to his responsibilities as systems

26   support for Safeway distribution and needed to answer work-related calls safely, even while on the

27   road.

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 1          148.    Plaintiff Burgess still owns his 2008 Acura RDX and initially paired his

 2   HandsFreeLink™ unit with his Blackberry Mobile Phone, and later with his iPhone 4.

 3          149.    Unknown to Plaintiff Burgess at the time the vehicle was purchased, the vehicle was

 4   equipped with a HandsFreeLink™ unit that is defectively designed. The defect allows the

 5   HandsFreeLink™ unit to continue to drain the battery even after the vehicle is turned off.

 6                           (2)    Statute of Limitations & Fraudulent Concealment Tolling
                                    Allegations
 7
                                    (a)     HFL-caused vehicle issues, unbeknownst to Plaintiff
 8

 9          150.    Plaintiff Burgess brought the vehicle to Rick’s Tire and Service located at 12200

10   Aurora Ave N., Seattle, WA 98133 on May 15, 2014 for service relating to this defect. This was the

11   first time the battery in Plaintiff Burgess’s vehicle died. At that time, the battery was replaced at a

12   cost of $127.95 for the battery and $14.50 for its installation, before tax. Plaintiff Burgess paid these

13   costs himself. He did not know that the drained battery was caused by the defective

14   HandsFreeLink™ system.

15          151.    In August 2016, Plaintiff Burgess noticed that the HandsFreeLink™ system was not

16   connecting with his iPhone 4 or only connected intermittently. When he tried to use the system, it

17   stated that no phone was found. By September, the HandsFreeLink™ system was not responsive.

18          152.    On December 10, 2016, Plaintiff Burgess’s battery died again. He had not driven his

19   vehicle on Friday, December 9, 2016. When he tried to start his vehicle on Saturday afternoon, the

20   lights in the vehicle went out and the car refused to start. Plaintiff Burgess called AAA, which sent

21   someone who confirmed the battery’s cells had failed and jump started the vehicle.

22          153.    On the same day, Saturday, December 10, 2016, Plaintiff Burgess brought his vehicle

23   into Acura of Lynnwood, located at 21515 HWY 99, Lynnwood, WA, 98036, for service relating to

24   this defect. Plaintiff Burgess spoke with service advisor Rick Rickstool. Because the

25   HandsFreeLink™ system was not connecting with his iPhone 4 or only connected intermittently,

26   Plaintiff Burgess requested that the dealer inspect his HandsFreeLink™ system in addition to

27   checking the battery.

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 1          154.    The dealer checked the battery and determined it needed to be replaced. Plaintiff

 2   Burgess once again paid for this replacement, at a cost of $154.95, before tax.

 3          155.    Because Plaintiff Burgess asked the dealer to inspect the HandsFreeLink™ as well, he

 4   inadvertently learned about the defect. The dealer told Plaintiff Burgess that the HandsFreeLink™

 5   unit was faulty, had been drawing current from and weakening the battery, and needed to be

 6   replaced. The dealer estimated that a new HandsFreeLink™ unit would cost $777 before tax.

 7          156.    The service advisor admitted that he had encountered this problem with the

 8   HandsFreeLink™ unit before, but he did not elaborate. He did not tell Plaintiff Burgess that the

 9   problem was a defect inherent in the design of the HandsFreeLink™ system. He did not explain that

10   this was a known defect that affected countless other Acura drivers. He did not indicate whether

11   replacing the HandsFreeLink™ unit would be a permanent fix.

12          157.    Reluctant to pay upwards of $777 for the replacement HFL part, Plaintiff Burgess had

13   no choice but to have the dealer disconnect the HandsFreeLink™ unit instead. Plaintiff Burgess paid

14   $127 before tax for the inspection and disconnection of the HandsFreeLink™ unit.

15                                  (b)     Time and manner of Plaintiff’s discovery of the HFL defect
16          158.    When his HandsFreeLink™ system became unresponsive in September 2016,

17   Plaintiff Burgess looked online to investigate why his HandsFreeLink™ system was not connecting

18   with his phone. He found a blog that discussed problems with the HandsFreeLink™ system. At that

19   time, he did not know that the HandsFreeLink™ system was the cause of his May 2014 battery

20   failure or that it was causing electrical damage to his vehicle.

21          159.    It was only when his battery died again in December 2016 and the dealer

22   disconnected his HandsFreeLink™ unit that Plaintiff Burgess learned his HandsFreeLink™ unit was

23   causing electrical damage to his vehicle and had drained his vehicle’s battery.

24          160.    Up until this time, Plaintiff Burgess did not understand (and could not have

25   understood) that the problems he encountered could have been caused by the hidden and undisclosed

26   defect in the HandsFreeLink™ system. Further, neither the dealership nor Honda disclosed that the

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 1   problem was a defect inherent in the design of the HandsFreeLink™ unit, or that this was a known

 2   defect that affected countless other Acura drivers and they never fixed the defect.

 3           161.    Plaintiff Burgess has had to disable his HandsFreeLink™, one of the key features of

 4   his 2008 Acura RDX that induced him to purchase the vehicle. The HandsFreeLink™ was

 5   permanently disconnected on December 10, 2016 at Acura of Lynnwood, located at 21515 HWY 99,

 6   Lynnwood, WA, 98036.
                                        (c)   Plaintiff was unable to have made the discovery of the HFL
 7                                            defect despite reasonable diligence
 8           162.    Plaintiff Burgess was aware of no public information offered by Defendant that

 9   Honda’s HFL unit was prone to a high parasitic battery drain. See, infra (discussing Honda’s internal

10   Technical Service Bulletins on the HFL unit, unavailable to the public).

11           163.    Through his service visits, as detailed above, Plaintiff Burgess acted reasonably and

12   diligently in attempting to find the cause of his electrical-related problems. Plaintiff Burgess

13   understandably and reasonably relied on the diligence of the vehicle service providers to get to the

14   ‘root cause’ of the problem, but the service advisors never revealed to Plaintiff Burgess (and likely

15   did not know themselves due to Defendant’s concealment) that the true source of the electrical issues

16   was the defective battery-draining HFL unit.

17           164.    Plaintiff Burgess only discovered that he may have a cause of action when he learned

18   that the vehicle’s battery-drain issues were linked to the HFL unit after having his HFL unit

19   disconnected on December 10, 2016.

20                                      (d)   Plaintiff’s fraudulent concealment tolling allegations
21           165.    Plaintiff Burgess was not at fault for failing to discover the HFL unit as the source of

22   the vehicle’s electrical issues.

23           166.    Plaintiff Burgess had no actual or presumptive knowledge of facts sufficient to put

24   him on inquiry notice until after he had the dealer disconnect his HFL unit on December 10, 2016.

25           167.    It was not until shortly after Plaintiff Burgess disconnected the HFL unit that he

26   learned Defendant withheld its knowledge from the public about the true source of the defect.

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                            (3)     Plaintiff’s Injury and Causation Allegations
 1

 2          168.    Honda’s unfair, unlawful and deceptive conduct in designing, manufacturing,

 3   marketing and selling vehicles equipped with the HandsFreeLink™ unit has caused Plaintiff Burgess

 4   out-of-pocket losses, future attempted repairs, loss of warranty value, and diminished value of his

 5   vehicle.

 6          169.    Honda knew about, manipulated or recklessly disregarded the fact that the

 7   HandsFreeLink™ unit could lead to vehicles that do not start reliably and electrical components

 8   which might fail while the vehicle is in operation.

 9          170.    But Honda did not disclose this defect to Plaintiff Burgess, so he purchased the

10   vehicle with the reasonable, but mistaken, belief that the 2008 Acura RDX was merchantable and

11   safe to operate as designed. Had Honda disclosed that the HandsFreeLink™ could lead to vehicles

12   that fail to start at a much higher level than a reasonable consumer would expect or contain electrical

13   components which might fail while the vehicle is in operation, Plaintiff Burgess would not have

14   purchased the vehicle or would have paid less for it.

15   B.     Defendant
16          171.    Defendant American Honda Motor Company, Inc. (hereinafter “Honda” or

17   “Defendant”) is a California corporation, and is a North American subsidiary of Honda Motor

18   Company, Ltd. Defendant is headquartered in Torrance, California, maintaining central operations

19   and a rich history in California.

20          172.    Defendant first opened in the United States as a storefront selling Honda motorcycles

21   in Los Angeles, California in 1959. By 1968, Defendant had sold its millionth motorcycle. Starting

22   in 1969, Defendant began marketing and selling automobiles, with its operations still centered in

23   California.

24          173.    By 1991, Defendant added production to its U.S. operations and oversaw all aspects

25   of production, including research and development, from its headquarters in California. As a center-

26   point of Honda’s global operations, Defendant made nearly $2 Billion in capital investments in

27

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 1   California and exported hundreds of millions of dollars in vehicles and other technology from its

 2   exclusive port facilities on the West Coast, at Port Hueneme, California, in 2015.

 3          174.    In 1986, Defendant established its first luxury name marque, Acura. By 2006,

 4   Defendant established research and development facilities dedicated solely to its Class Vehicles in

 5   Torrance, California with related facilities dedicated solely to the creation of “future Honda and

 6   Acura automobile and mobility design concepts” in downtown Los Angeles, California.

 7          175.    From its headquarters in Torrance, Defendant combines product sales, service, and

 8   coordinating functions for Honda in North America, and is responsible for the manufacture,

 9   development, distribution, marketing, sales, and servicing of Acura-brand automobiles. The

10   decisions regarding the marketing and sale of the HandsFreeLink™ system, the development of the

11   internal Service Bulletins relating to the HandsFreeLink™ system, and decisions regarding the

12   disclosure or non-disclosure of the defect were in whole or substantial part made by Defendant in

13   California and were purposefully emanated by Defendant in California.

14                                   IV.    FACTUAL BACKGROUND
15   A.     Defendant’s HandsFreeLink™ System
16          176.    Beginning with the 2004 model year Class Vehicles, Honda was one of the first car

17   companies to introduce Bluetooth® “hands-free” telephone technology, calling its “hands-free”

18   interface the HandsFreeLink™ system. With a “hands-free” interface like Defendant’s

19   HandsFreeLink™, drivers can use their phones without using their hands. Drivers “pair” a

20   smartphone with the car, allowing calls to be made using a microphone and the speakers in the car

21   and enabling the phone to receive voice commands through the car’s system to dial certain numbers

22   or places, like by saying “call home” or “call my office.”

23          177.    Beyond mere luxury and convenience, a “hands-free” interface makes for safer

24   driving, allowing a driver to make calls with both hands on the wheel and eyes on the road. Indeed,

25   in many states, including California, a driver is not permitted to use a phone while driving unless

26   they are making calls “hands-free. Due to Honda’s deceptive practices several Plaintiffs have had to

27

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 1   disable their HandsFreeLinkTM thereby foreclosing on their ability to legally make phone calls or

 2   play music from their phones in a legal manner while driving.

 3          178.    While the technology is now fairly ubiquitous, until recently, it was an important

 4   selling point among luxury manufacturers and remains a key part of the premium price charged for

 5   these vehicles in both the new and resale car markets.

 6          179.    In a 2003 press release for the new 2004 model year Class Vehicles, Honda

 7   introduced its HandsFreeLink™ technology, stating that Acura was again leading the way among its

 8   peers in technology, performance and safety:
                    This prestigious marque was created to bring stimulating performance,
 9                  elegant styling, state of the art Technology and engineering and an
10                  unprecedented level of customer service to the luxury import
                    market. . . .
11
                    Among many of Acura’s firsts: . . . The first standard Bluetooth hands-
12                  free phone system . . . .
13                  In addition, the . . . new HandsFreeLink™ system delivers hands-free
                    phone capabilities that allow drivers to keep their hands on the wheel
14
                    while making and receiving calls from their mobile phone.
15
            180.    Further announcing the “First North American Vehicle to Feature a Standard Hands-
16
     Free Phone System” in another 2013 Press Release, Defendant went further, stating:
17
                  The 2004 Acura TL performance luxury sedan will feature a Bluetooth
18                hands-free phone system as standard equipment when it goes on sale in
                  October at Acura dealers nationwide. The HandsFreeLink™ system
19                enables a Bluetooth wireless connection between compatible mobile
                  phones and the TL, allowing hands-free calls to be made and received
20
                  from the car. With legislation pending in many states to ban the use of
21                hand-held mobile phones while driving, the HandsFreeLink system is a
                  timely addition to the TL’s already considerable list of standard luxury
22                features.
23                  “We think the HandsFreeLink system is the most effective, most
                    convenient hands-free vehicle phone system available,” said Tom
24
                    Elliott, Executive Vice President, Auto Operations. “And we are
25                  proud to offer it as standard equipment on all TLs.”

26
            181.    Following these early marketing statements, Honda would repeat, time and again,
27
     how the “hands-free” in the HandsFreeLink™ system embodied the luxury, convenience, and safety
28
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 1   of Class Vehicles. For example, in one of the first commercials about HandsFreeLink™, a sequence

 2   of people are driving their Acuras through a variety of roads and weather patterns (sun, rain, and

 3   snow) with both hands confidently on the wheel while speaking aloud commands to the car,

 4   including commands to make calls home, to the office, or a restaurant to make reservations. See

 5   https://www.youtube.com/watch?v=PxFsbnm2B k.

 6          182.    Through to the present, the HandsFreeLink™ system remains one of the key features

 7   emphasized by Defendant in its Acura marketing materials:
                  The [Acura] offers a formidable list of standard equipment including
 8                items such as a leather trimmed interior, power moonroof, power
 9                windows, leather-wrapped multi-function steering wheel with racing-
                  inspired paddle shifters, an auto-dimming rearview mirror with
10                integrated rear view camera and a tri-zone climate control system with
                  humidity control. Also included are numerous high-tech features such
11                as Bluetooth® HandsFreeLink™ wireless telephone interface, a Multi-
                  Information Display (MID) that allows access to multiple electronic
12
                  functions and LED backlit instrumentation.
13
     See, e.g., http://hondainamerica.com/news/2012-acura-mdx-continues-to-deliver-benchmark-
14
     performance-comfort-and-control/.
15

16   B.     The Defective HandsFreeLink™ System Strains (and Drains) the Electric System

17          183.    Defendant, however, never publicly disclose or warn that the HandsFreeLink™
18   system “has an internal problem which creates a ‘parasitic current draw’ that continues even after the
19   car is turned off.” This parasitic drain strains the electric system, hastening failure of the battery and
20   other essential components in the electrical system, particularly the alternator. As a result of this
21   defect, owners of Class Vehicles are left with cars that do not start reliably, failed electrical
22   components requiring expensive repairs and replacements, and compromised electric components
23   that can fail even when the vehicles are in operation. In other words, this safety feature created
24   unsafe conditions for the owners, and this feature of convenience and luxury turned out to generate
25   expensive maintenance costs.
26          184.    As Defendant admitted as early as June 29, 2005 in an internal Technical Service
27   Bulletin (“TSB”) (distributed only to Acura dealers) for the 2004 model year. Entitled TSB 05-20
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 1   “HandsFreeLinkTM (HFL System Does Not Work”)” there the Defendant admitted that the

 2   HandsFreeLink™ system will get “locked up” in an “on” position. 2 Defendant stated in that Service

 3   Bulletinthat the HandsFreeLink™ “system staying on may cause a dead or low battery while the

 4   vehicle’s ignition switch is off.” Defendant provided no special warranty coverage for replacement

 5   of the HandsFreeLink™ unit and directed dealers to use the same type of HandsFreeLink™ unit for

 6   replacement.

 7          185.    Compounding the problem is that the defect effectively eludes diagnosis. Once the

 8   HandsFreeLink™ defect compromises the battery, the system can “reset,” hiding the problem until

 9   the system gets stuck again. As Defendant stated in that same June 2005 Service Bulletin: “If the

10   battery’s state of charge goes low enough, or if the battery cables are removed, the system may reset,

11   causing the problem to appear intermittent.” Accordingly, the symptoms of the defect (failed

12   components in the electrical system, like batteries and alternators) are usually mistaken to be the only

13   problem—a bad battery or alternator needing replacement.

14          186.    Defendant then proceeded to issue four more internal Technical Service Bulletins

15   over a span of 10 years. None of these TSBs repaired the HandsFreeLinkTM defect.

16          187.    On December 6, 2008, Honda issued an internal TSB entitled “TSB-08-057

17   HandsFreeLinkTM (HFL) Doesn’t Work”, which was again distributed only to Acura dealers. There

18   the Defendant admitted that other more recent models had the same defect in their HandsFreeLink™

19   systems. Defendant stated that the HandsFreeLink™ “control unit has an internal problem, which

20   creates a parasitic current draw of 250mA.” One of the symptoms for the problem was that the

21   battery would be so drained that it could not start the vehicle. The corrective action was to use the

22   same type of HandsFreeLinkTM for replacement. 3

23          188.    On July 14, 2012, Honda updated TSB-08-057. It also renamed the TSB

24   “HandsFreeLinkTM (HFL) Doesn’t Work, or Battery is Too Low to Start the Engine”. Even four years

25
        2
26         TSB 05-020 was superseded by a slightly modified version on September 23, 2005 which
     included minor revisions such as suggestions to call the HFL support line.
27       3
           Honda issued at least two modifications to TSB-08-057. One was dated January 6, 2010 and the
     other on March 30, 2012.
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 1   later, Defendant continues to admit that “the HFL control unit has an internal problem, which created

 2   a parasitic current draw of 250 mA” and instructs technicians to use type of HandsFreeLinkTM for

 3   replacement.

 4          189.    The HandsFreeLink™ system does not even have to be used by an owner—ever—to

 5   get stuck “on.” The defect is inherent in every HandsFreeLink™ unit that it is always operational,

 6   and always draws a parasitic battery drain.

 7          190.    It is no surprise that modern vehicles use electronics. Cars include many components

 8   that will continue to draw power from the battery even when a car is off—for example to save preset

 9   radio stations, power security devices and run clocks. However, the draw for these ordinary

10   purposes is minimal, typically amounting to no more than a total trickle of 25 to 40 milliamperes

11   (mA). Such devices are, for example, short-range wireless receivers to unlock the doors. With such

12   ordinary and expected draw, a battery will last weeks or months without ever being recharged and

13   the regular life and operation of the battery and wider electrical system are not compromised. The

14   parasitic draw of 250mA created in an Acura vehicle by the defective HandsFreeLink™ system,

15   however, places upwards of ten times the drain and strain on the electric system than experienced by

16   all other devices combined.

17   C.     Consumer Harm as a Result of the Defective HandsFreeLink™ System
18          191.    The excessive and constant battery draw detailed above will drain batteries in only

19   hours or days if the vehicle is not used rather than over the typical course of weeks or months. This

20   constant strain compromises the battery, hastening the ultimate failure of the battery and other

21   essential electrical components, particularly the alternator that recharges the vehicle’s battery.

22   Because of the defect, the alternator in an Acura vehicle is pressed into extra service to compensate

23   for the compromised battery while continuing regular operation of the electrical systems when the

24   vehicle is in operation. Like the battery, the alternator will fail at an accelerated rate and may fail

25   suddenly as a result of the defect.

26

27

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 1           192.    As detailed in all of the above-listed internal Technical Service Bulletins, the only fix

 2   was a replacement of the HandsFreeLink™ systems, in total, which may or may not solve the

 3   problem and still may result in the same problem later to “appear intermittent[ly].”

 4           193.    Compounding this problem for consumers, each time the HandsFreeLink™ system is

 5   replaced, besides the inconvenience, lost time, and often unreimbursed costs, as described in the

 6   Technical Service Bulletins, “[a]ll of the client’s stored phone numbers will be lost when the . . . unit

 7   is replaced.” In other words, another layer of grief is added on: consumers and the class must

 8   reprogram their HandsFreeLink™ system with all of their phone contacts in order for the system to

 9   retain the functionality that it did prior to the battery drain.

10           194.    Moreover, consumers pay a premium price for high-end features like the (defective)

11   HandsFreeLink™ system, and do so for the added promise of safety and convenience. In sum,

12   consumers are stuck with not only the inconvenience of repeat service visits but they are also stuck

13   with the bill for a laundry list of other costs, including but not limited to battery replacements,

14   alternator and starter replacements (because of the added strain on them due to constant re-charging

15   of the battery), the added cost of the HandsFreeLink™ hardware itself, and the time lost in

16   reprogramming the HandsFreeLink™ system with his/her phone contacts after each (ineffective)

17   replacement.

18   D.      Safety Hazard of a Defective HandsFreeLink™ System
19           195.    The Defect in the HandsFreeLink™ system creates a safety hazard. Compromised

20   batteries may fail to start the Class Vehicles at any time and any place whether or not the owner is far

21   from home or needs the car in the midst of an emergency. In addition, the compromised alternator

22   (which needs to compensate for the compromised) is subject to premature and sudden failure. With

23   a compromised battery and a failed alternator, the Class Vehicles can be left suddenly without any

24   electric power even when the vehicle is in use. At that time, a vehicle in operation will, stall, lose

25   power (including to power assisted features like brakes and steering), lose headlights, trigger

26   multiple warning lights on the dashboard, and/or otherwise operate poorly or erratically.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 33 -
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 1          196.   The HandsFreeLink™ system is such a crucial safety feature for these luxury vehicles

 2   that Honda created a website dedicated solely to the HandsFreeLink™ feature. See

 3   http://handsfreelink.acura.com/Acura/en-US/US. At the HandsFreeLink™ website, Defendant extols

 4   the virtues of is HandsFreeLink™ technology and it explains that using it can prevent car

 5   malfunctions by allowing for remote diagnostics, potentially avoiding dangerous on-road situations:

 6

 7

 8

 9

10
     See http://handsfreelink.acura.com/Acura/en-US/US/AdvancedFeatures.
11
            197.   Consumers visiting the Acura website today, shopping for a new 2017 Acura, are still
12
     told about the safety of the HandsFreeLink™ system: “Check in with the office without taking your
13
     eyes off the road. The Bluetooth® HandsFreeLink™ system works with most Bluetooth-enabled
14
     cell phones to let you initiate and receive calls using the RDX audio system.” See
15
     http://www.acura.com/Features.aspx?model=RDX&modelYear=2017&context=
16
     Interior#~pKriC7t592dI0j.
17
     E.     Complaints to the National Highway Traffic Safety Administration Confirm the Safety
18          Dangers of the Defective HandsFreeLink™ System
19          198.   Complaints to the National Highway Transportation Safety Administration

20   (“NHTSA”) confirm that the defect in the HandsFreeLink™ system creates a safety hazard for

21   drivers. For example:
                    WHILE DRIVING 65 MPH, THE VEHICLE [A 2007 ACURA TL]
22                  STALLED AND ALL OF THE WARNING LAMPS
                    ILLUMINATED. THE VEHICLE WAS TOWED TO THE
23
                    DEALER. THE TECHNICIAN DIAGNOSED THAT THE HANDS
24                  FREE LINK FAILED, CAUSING THE BATTERU TO DRAIN. AS
                    A RESULT, THE ALTERNATOR AND HANDS FREE LINK
25                  NEEDED TO BE REPLACED. THE MANUFACTURER WAS
                    MADE AWARE OF THE FAILURE. . . .
26
                   THE HANDS FREE LINK SYSTEM IN THE 2004-2008 ACURA TL
27
                   IS CREATING A DRAIN ON THE BATTERY RESULTING IN
28
     THIRD AMENDED CLASS ACTION COMPLAINT                               - 34 -
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                COMPLETE ELECTRICAL FAILURE OF THE AUTOMOBILE.
 1              THE INCIDENCE OF FAILURE IS MOST COMMON
 2              IMMEDIATELY AFTER PERIODS OF AT LEAST 10 HOURS OF
                NON-USE OR SHORTLY AFTER STARTING. AS A RESULT
 3              FROM [sic] THIS ISSUE I EXPERIENCED THIS ELECTRICAL
                PROBLEM FOR THE PAST YEAR, FROM GOING THROUGH
 4              MULTIPLE BATTERIES AND BEING IN THE UNSAFE
                SITUATION OF MY ACURA TL LOSING ITS POWER IN A VERY
 5
                BUSY INTERSECTION. THIS PROBLEM HAS BEEN REPORTED
 6              EXTENSIVELY ON MULTIPLE ACURA OWNER’S
                WEBSITES/BLOGS AND HAS BEEN CONFIRMED BY THE
 7              LOCAL DEALERSHIP. GIVEN THE POSSIBILITY OF IN-USE
                ELECTRICAL FAILURE, A RECALL SHOULD BE ISSUED. ARE
 8              WE WAITING FOR SOMEONE TO BE KILLED OR SERIOUSLY
 9              INJURED BEFORE A RECALL IS REALLY ISSUED?

10              WHEN I STARTED THE VEHICLE [2006 ACURA TL], IT HAD A
                MOANING SOUND. I CONTUNUED DRIVING AND THE
11              BATTERY LIGHT, AIRBAG LIGHT, CSV LIGHT, ALL CAME ON
                JUST BEFORE THE DASH LIGHTS FLICKERED ON AND OFF,
12
                THEN TOTALLY WENT OUT AND THE CAR ENGINE SHUT
13              OFF. WHEN I TREID TO JUMPSTART THE CAR, THE CAR
                STARTED AFTER A FEW MINUTES BUT WHEN THE JUMPER
14              CABLES WERE REMOVED, THE CAR INSTANTLY SHUT
                DOWN. THE CAR WAS IN THE MIDDLE OF THE ROAD AND
15              HAD TO BE TOWED TO MY HOUSE. THREE MONTHS AGO,
16              THE CAR WOULD NOT START. I GOT IT JUMPSTARTED AND
                IT RAN PERFECTLY UNTIL THE ABOVE INCIDENT
17              OCCURRED. THIS IS THE THIRD BATTERY THIS CAR HAS
                HAD. . . .
18
                SEVERAL TIMES, THE ELECTRICAL SYSTEM SHUTS OFF
19              WHILE DRIVING. I WAS LUCKY TO BE IN THE
20              NEIGHBORHOOD AND NOT ON A HIGHWAY. THE DEALER
                STATED THERE IS A PROBLEM WITH THE BLUETOOTH [THE
21              HANDSFREELINK™ SYSTEM] . . . . THIS IS THE SECOND TIME
                THIS HAS OCCURRED. THE FIRST TIME IT HAPPENED, THE
22              BLUETOOTH WAS UNDER ACURA WARRANTY AND THE
                DEALER SUGGESTED WE DISCONNECT IT TO AVOID THE
23
                SAME ISSUE HAPPENING AGAIN. BUT THAT IS THE REASON
24              I HAD BOUGHT THE CAR [2007 ACURA MDX] IN 2007. IT HAD
                AN INTEGRATED BLUETOOTH. THE TIMES THE CAR [SHUT]
25              OFF WHILE DRIVING LUCKILY WAS AT A TRAFFIC LIGHT
                AND IN OUR NEIGHBORHOOD. I JUST HOPE THAT IT DOES
26              NOT HAPPEN WHILE WE ARE ON THE HIGHWAY. . . .
27
                RELATED TO THE HANDS FREE LINK WHICH HASN’T
28              WORKED IN TWO YEARS. I HAVE REPLACED THE BATTERY
     THIRD AMENDED CLASS ACTION COMPLAINT                - 35 -
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                 SEVERAL TIMES (ONCE TWICE ONE WEEK, UNDER
 1               WARRANTY). I REPLACED THE BATTERY A WEEK AGO AND
 2               ASK THEM TO PLEASE RESET THE HANDS FREE LINK . . .
                 .AND MY CAR [ACURA MDX] NAV FLICKERS NOW. TWO
 3               DAYS AGO THE CAR MOMENTARILY LOST POWER WHILE I
                 WAS DRIVING IN TOWN!!!!! I WAS FORTUNATE TO BO ON
 4               [A] STREET WITH 35MPH SPEED LIMIT AND NO OTHER
                 CARS. IT WAS TERRIFYING.
 5

 6        199.   Other complaints to NHTSA and elsewhere from owners of Class Vehicles confirm,
 7   time and again, the existence of the defect:
 8                 IF THE CAR PARKED FOR 2 OR MORE DAYS IT WILL NOT
                   START. THERE IS DRAIN IN THE SYSTEM. APPARENTLY THIS
 9                 IS VERY COMMON PROBLEM WITH ACURA. DEALER SAID
                   THAT HE COULD TRY TO DISCONNECT BLUETOOTH
10                 (HANDSFREE LINK) FOR $150-200. MY FAMILY WAS STUCK
11                 IN COLD WINTER NIGHTS IN THE PARKING LOT WITH NO
                   PEOPLE, WHICH WAS NOT PLEASANT. I THINK ACURA
12                 SHOULD HAVE A RECALL AND DISCONNECT OR REPLACE
                   DEFECTIVE UNITS FOR FREE. WE REPLACED BATTERY A
13                 COUPLE OF TIMES WITHOUT ANY AFFECT.
14               CAR CONSTANTLY LOSES POWER OR GET WARNING LIGHT
15               STATING I NEED TO CHECK MY STARTING SYSTEM. HAVE
                 REPLACED THE BATTERY 3 TIMES THIS YEAR, REPLACED
16               THE ALTERNATOR TWICE AND HAVE REPLACED THE
                 STARTER ONCE. SOMETIMES CAR DOES NOT LOSE POWER
17               ALL THE WAY, BUT WILL LOSE FUNCTIONALITY OF
                 WINDOWS, TURN SIGNALS, WINDSHIELD WIPERS, RADIO,
18
                 AC AND ANY OTHER FUNCTION ALTHOUGH CAR WILL
19               STILL DRIVE. INSIDE THE ARM REST IS USUALLY
                 EXTREMELY HOT WHEN THIS HAPPENS. SO HOT THAT IT
20               BURNS YOUR HAND TO THE TOUCH. AFTER READING OVER
                 20 COMPLAINTS ON THIS SAME TYPE OF ISSUE, IT SEEMS
21               TO BE CAUSED BY THE HANDSFREE LINK IN THE CAR,
22               WHICH I HAVE NOT BEEN ABLE TO USE BECAUSE IT
                 STOPPED WORKING COMPLETELY BACK IN MARCH 2014.
23               THIS ISSUE NEEDS TO BE RECALLED BEFORE SOMEONE IS
                 SERIOUSLY INJURED OR WORSE!
24
                 BATTERY IN OUR 2007 ACURA MDX HAS HAD TO BE
25               REPLACED 3 TIMES IN THE PAST COUPLE OF MONTHS!
26               TURNS OUT THAT THE HANDSFREE LINK MODULE WAS
                 DRAINING THE BATTERY AND CAUSING IT HAVING TO BE
27               REPLACED NUMEROUS TIMES. THIS COULD CAUSE A FIRE
                 WHICH CAN POSE AS A DEADLY RESULT ESPECIALLY IF
28
     THIRD AMENDED CLASS ACTION COMPLAINT                        - 36 -
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                THE CAR IS PARKED INSIDE OF A GARAGE. THIS NEEDS TO
 1              BE REPLACED BY ACURA FREE OF CHARGE ASAP! I
 2              DISCONNECTED IT RATHER THAN REPLACING IT AFTER
                READING THE NUMEROUS COMPLAINTS ON THIS MATTER!
 3              *JS

 4              VEHICLE'S BATTERY DRAINED WHILE SITTING FOR 2
                WEEKS WITHOUT DRIVING IT. TOWED TO DEALER. DEALER
 5              DIAGNOSED A BATTERY DRAIN COMING FROM THE
 6              HANDSFREE LINK UNIT. PART WAS $350+. DEALER
                EXPLAINED THAT THE LABOR WAS $150+ WHETHER THEY
 7              DEACTIVATED THE FAULTY UNIT OR WHETHER THEY
                REPLACED IT WITH A NEW UNIT. I OPTED FOR THE NEW
 8              UNIT. TOTAL BILL WAS -$800 WHICH INCLUDED
                LUDICROUS "DEALER-COMPLIANT" TOWING COMPANY.
 9
                DEALER ALSO REPLACED BATTERY AT THIS TIME (UNDER
10              WARRANTY BECAUSE I'D HAD A SIMILAR PROBLEM 4
                MONTHS EARLIER - HOWEVER IT WAS NOT DIAGNOSED AT
11              THAT TIME AS HFL UNIT). CAR SAT AGAIN FOR 1 WEEK.
                BRAND NEW BATTERY IS NOW COMPLETELY DEAD AGAIN.
12
                *TR
13
                BATTERY IN OUR 2007 ACURA MDX HAS HAD TO BE
14              REPLACED 3 TIMES IN THE PAST COUPLE OF MONTHS!
                TURNS OUT THAT THE HANDSFREE LINK MODULE WAS
15              DRAINING THE BATTERY AND CAUSING IT HAVING TO BE
                REPLACED NUMEROUS TIMES. THIS COULD CAUSE A FIRE
16
                WHICH CAN POSE AS A DEADLY RESULT ESPECIALLY IF
17              THE CAR IS PARKED INSIDE OF A GARAGE. THIS NEEDS TO
                BE REPLACED BY ACURA FREE OF CHARGE ASAP! *TR
18
                BATTERY WAS FOUND TO BE COMPLETELY DRAINED ON A
19              FEW OCCASIONS AFTER SITTING OFF OVERNIGHT. AFTER
                EXAMINING POSSIBLE CULPRITS WHEN THE BATTER WAS
20
                FOUND DRAINED IT WAS FOUND THAT THE HANDSFREE
21              MODULE LOCATED IN THE REAR OF THE CENTER CONSOLE
                WAS HOT TO THE TOUCH. AFTER REMOVING THE MODULE
22              COMPLETELY AND RECHARGING THE BATTERY THIS
                INCIDENT OF BATTERY DRAINAGE HAS NOT OCCURRED IN
23              3 MONTHS. THE HANDSFREE MODULE THAT OPERATES THE
24              BLUETOOTH AND HANDFREE FUNCTIONS OF THE CAR IS
                DEFECTIVE TO THE POINT THAT IT PULLS A CONSTANT
25              LOAD FROM THE BATTERY EVEN WHEN THE CAR IS SHUT
                OFF AND KEYS ARE NOT IN THE IGNITION. SEARCHING THE
26              INTERNET FINDS MANY OTHER OWNERS OF THE SAME
                MODEL TO HAVE THE SAME PROBLEM. THIS MODULE
27
                SHOULD BE REPLACED BY THE MANUFACTURER FREE OF
28              CHARGE BECAUSE IT CAN LEAD TO A DEAD BATTERY
     THIRD AMENDED CLASS ACTION COMPLAINT                - 37 -
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                WITH NO WAY TO START THE CAR, AS WELL AS POSSIBLE
 1              FIRE FROM THE AMOUNT OF HEAT BUILT UP IN THE
 2              FAULTY MODULE. *TR

 3              MY BATTERY FAILED FOR THE SECOND TIME IN A COUPLE
                OF MONTHS AND REQUIRED A JUMP IN ORDER FOR THE
 4              CAR TO START. I TOOK IT TO AN ACURA DEALERSHIP
                WHERE THEY DETERMINED THAT THE HANDSFREE LINK
 5              SYSTEM WAS ELECTRICALLY FAULTY AND WAS STAYING
 6              ON CONTINUOUSLY, WHETHER THE CAR WAS RUNNING OR
                NOT. HENCE, THERE WAS A CONSTANT DRAW ON THE
 7              BATTERY. TO (HOPEFULLY) RESOLVE THE PROBLEM, I HAD
                THE DEALERSHIP REPLACE THE BATTERY AND THE
 8              HANDSFREE LINK SYSTEM. *TR
 9
                HFL ON MY 2006 MDX STOPPED WORKING A WHILE BACK.
10              WHEN YOU PRESS THE TALK SWITCH, NOTHING HAPPENS.
                OCCASIONALLY, IT COMES ON, BUT NOT OPERATIONAL.
11              WHAT I MEAN IS IT PROMPTS AND I CAN GO THROUGH THE
                MAIN MENU. BUT WHEN I TRY TO PAIR MY PHONE IT GOES
12              INTO A NEVER ENDING SCANNING LOOP. IT DOESN'T
13              APPEAR THAT ANY HANDSHAKING WITH THE PHONE IS
                ESTABLISHED. THIS SAME PHONE WORKS FINE WITH
14              BLUETOOTH IN MY OTHER CAR AND OTHER DEVICES. SO,
                IT'S NOT THE PHONE. FOR ALMOST AN YEAR, THE BATTERY
15              ON THE MDX KEEP DRAINING AND I WOULD REQUIRE A
                JUMP START IF I DON'T USE IT FOR 2-3 DAYS. IT LOOKS LIKE
16
                THE FAULTY BLUETOOTH HFL IS CAUSING THE BATTERY
17              DRAIN. MANY PEOPLE OUT THERE HAVE THE SAME
                PROBLEM, NOT ONLY WITH 2006 ACURA MDX, BUT ALSO
18              WITH SOME DIFFERENT ACURA MODELS.
19              PARASITIC BATTERY DRAIN. BATTERY (5 MO OLD)--NO
                BLUETOOTH. BATTERY TESTED BY SHOP-OK. ACURA LINK
20
                SITE SAID SINCE 2005, ACURA HFL (HANDS FREE LINK)
21              MODULE DEFECTIVE, CAUSING A SHORT IN SYSTEM, THUS
                DRAINING THE BATTERY. THERE IS ALSO A SERVICE
22              BULLETIN FOR THIS ISSUE. TO ME, THIS IS NOT ONLY A
                SAFETY HAZARD (DEAD BATTERY) BUT A RECALL ITEM (IT
23              HAS BEEN ONGOING PROBLEM THAT HASN'T BEEN FIXED).
24              THE MODULE IS LOCATED IN THE ROOF, WHICH SEES
                EXTREME TEMPERATURES. THE DEALER KNOWS ABOUT
25              THIS PROBLEM AND CHARGES $700-$900 TO REPLACE THE
                MODULE. THE MODULE GOES FROM $285 TO $200 ON-LINE
26              AND THE DESIGN HAS NOT CHANGED (JOHNSON
                CONTROLS). THE TIME IT TAKES TO R&R THE MODULE
27
                (UNPLUG AND PLUG IN) IS 10MIN. I ORDERED THE PART
28              AND INSTALLED MYSELF. PLEASE REVIEW THIS AS A
     THIRD AMENDED CLASS ACTION COMPLAINT                - 38 -
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                RECALL FOR ALL THE ACURA OWNERS WHO PAID
 1              ABSORBENT COSTS TO HAVE IT REPLACED BY THE DEALER
 2              AND THOSE OF US INCONVENIENCED WITH OUT OF
                POCKET $, DEAD BATTERY AND NO BLUETOOTH. I PAID A
 3              BUNDLE FOR THE CAR ORIGINALLY BECAUSE IT WAS
                GOING TO BE THE LAST CAR I WAS EVER GOING TO BUY.
 4              NOW I AM SELLING THE CAR TO PREVENT THE NEXT
                COSTLY REPAIR.
 5

 6              AFTER BEING PARKED FOR ABOUT 2 WEEKS THE BATTERY
                STARTED FINE. I DROVE 10 MILES, TURNED OFF THE CAR
 7              FOR 1 HOUR, TRIED TO START THE CAR AGAIN AND THE
                ENGINE WOULD NOT TURN OVER. THE INSIDE LIGHTS
 8              WERE ON BUT THE HEADLIGHTS WERE DIM. AFTER TRYING
                TO START THE CAR SEVERAL TIMES BOTH THE INSIDE
 9
                LIGHTS AND THE HEADLIGHTS WERE COMPLETELY OUT. I
10              HAD TO CALL AAA FOR A JUMP BECAUSE THE BATTERY
                WAS DEAD. I THOUGHT THIS WAS ODD BUT THEN I
11              REMEMBERED A FRIEND OF MINES HAS A 2008 TL AND HE
                HAS TO JUMP HIS BATTERY WEEKLY. SO I DID AN
12
                INTERNET SEARCH AND LEARNED THAT THOUSANDS OF
13              ACURA OWNERS ARE HAVING THE SAME PROBLEM AND
                MOST ATTRIBUTE THE PROBLEM TO THE HANDS FREE LINK
14              SYSTEMS (HFL). SO I CALLED ACURA AND THEY
                CONFIRMED THAT THE CAUSE IS MOST LIKELY DUE TO
15              HANDS FREE LINK SYSTEM. WHY HASN'T THIS BEEN A
16              RECALL? IS ACURA WAITING FOR SOME TO DIE FIRST? THIS
                IS SAFETY ISSUE AND A RACKET! THE DEALER CHARGES
17              NEARLY $200 TO DIAGNOSE THE PROBLEM AND SEVERAL
                HUNDRED MORE DOLLARS TO FIX IT. A RECALL IS
18              WARRANTED!!!
19              MY CAR SAT AT AIRPORT FOR APPROXIMATELY A WEEK
20              AND WOULD NOT START UPON RETURN. GOT A JUMP AND
                WAS OK FOR ABOUT A WEEK WHEN AGAIN IT WOULD NOT
21              START AFTER SITTING IN THE GARAGE FOR 3 DAYS. I TOOK
                THE BATTERY TO THE STORE FOR A REPLACEMENT. HE
22              TESTED THIS 2 YEAR OLD BATTERY AND IT WAS PERFECT. I
                WENT ON-LINE TO SEARCH FOR THIS PROBLEM AND THE
23
                YEARS 2004 THROUGH 2007 HAVE A LARGE NUMBER OF
24              INCIDENCES EXACTLY LIKE MINE. THE PROBLEM THAT
                THE ON-LINE AUDIENCE HAS FOUND IS THAT OVER TIME A
25              PARTIAL SHORT CIRCUIT IN THE HFL (HANDS FREE LINK)
                MODULE APPEARS. THIS IS CLEARLY A LATENT DEFECT IN
26              THIS MODULE. I WROTE TO ACURA CUSTOMER SERVICE
27              AND THEIR RESPONSE DID NOT ADDRESS THE SPECIFIC
                PROBLEM. I GOT A "COOK- BOOK" RESPONSE THAT I
28
     THIRD AMENDED CLASS ACTION COMPLAINT                - 39 -
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                SHOULD BRING IT TO THE DEALER FOR THEM TO CHECK IT
 1              OUT. IS THERE ANYTHING YOU CAN DO REGARDING SUCH
 2              LATENT DEFECTS FOR OUT-OF-WARRANTY VEHICLES?

 3              BATTERY FAILURE AFTER 18 MONTHS/17,000 MILES. WAS
                ADVISED BY SERVICE DEPT. REPRESENTATIVE THAT CAR'S
 4              BLUETOOTH FEATURE ACTS AS A "VAMPIRE" DRAIN ON
                THE BATTERY EVEN WHEN THE ENGINE IS OFF. SAID IT'S A
 5              KNOWN PROBLEM WITH 2005 AND 2006 MODELS.
 6
                THE HANDSFREE LINK (BLUETOOTH) MODULE FAILED. I'VE
 7              READ THAT THIS IS A COMMON OCCURRENCE FROM THE
                WEBSITE I BELONG TO ACURAZINE.COM (A WEBSITE FOR
 8              ACURA OWNERS/ENTHUSIASTS). I CONSIDER IT A SAFETY
                ISSUE SINCE IT ALLOWS YOU TO USE YOUR CELLPHONE
 9
                WHILE DRIVING WITHOUT HAVING TO USE YOUR
10              HANDSET. THE CAR'S STEREO SPEAKER SYSTEM AND A
                BUILT-IN MICROPHONE ALLOWS YOU TO CONDUCT A
11              PHONE CALL. I HAVE READ IT IS A POOR DESIGN CHOICE
                ON ACURA'S PART PLACING THE BLUETOOTH MODULE IN
12              THE CAR CEILING NEAR THE ROOF. SITTING IN THE SUN,
13              THE MODULE "FRIES" AND EVENTUALLY FAILS. ACURA
                REFUSES TO DO ANYTHING ABOUT IT STATING THAT IT IS
14              OUT OF WARRANTY. THEY WANT TO CHARGE $110 JUST TO
                DIAGNOSE IT AND OVER $700 TO INSTALL A NEW DEVICE. I
15              HOPE ACURA OWNERS COMPLAIN AND WRITE LETTERS TO
                ACURA ABOUT THIS ISSUE. I FEEL A SAFETY RECALL
16
                SHOULD BE ISSUED AND PERHAPS EVEN RELOCATING THE
17              MODULE OUT OF THE HEAT FROM THE SUN.

18              MY CAR BATTERY KEPT DYING EVERY 3 MONTHS, I EVEN
                GOT A NEW BATTERY AND MY CAR WAS STILL DYING. I
19              WAS STRANDED AT THE BANK IN A PARKING LOT, MY
                DRIVEWAY, AND AT WORK. AFTER IT DIED AGAIN AND
20
                WOULDN'T START WITH A NEW BATTERY I CALLED THE
21              DEALERSHIP. THEY STATED IT IS MY BLUE TOOTH, WHICH
                HADN'T BEEN WORKING, THAT IS DRAINING MY BATTERY
22              AND THEY HAVE SEEN IT IN MY MODEL AND YEAR. I HAD
                TO PAY $100 TO HAVE IT DISCONNECTED AND THEY WANT
23              TO CHARGE ME $400 TO HAVE IT REPLACED. I REPLACED IT
24              AND NOW THEY WONT REIMBURSE ME. THIS SHOULD BE A
                RECALL AND IT IS A SAFETY ISSUE BEING STRANDED WITH
25              YOUR CAR NOT STARTING. I HAVE A BABY THAT IS NOT OK
                WITH ME TO WONDER IF MY CAR WILL START. PLEASE
26              HELP ACURA NEEDS TO BE ACCOUNTABLE FOR THIS
                FAULTY PART AND THE SAFETY OF PEOPLE DRIVING THEIR
27
                CARS.
28
     THIRD AMENDED CLASS ACTION COMPLAINT                - 40 -
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                THE HANDS FREE LINK SYSTEM IN MY 2006 ACURA TL IS
 1              CREATING A DRAIN ON THE BATTERY RESULTING IN
 2              COMPLETE ELECTRICAL FAILURE OF THE AUTOMOBILE.
                THE INCIDENCE OF FAILURE IS MOST COMMON
 3              IMMEDIATELY AFTER PERIODS OF AT LEAST 10 HOURS OF
                NON-USE OR SHORTLY AFTER STARTING. IF NOT FOR AAA,
 4              I WOULD HAVE BEEN LEFT STRANDED 300 MILES AWAY
                FROM MY HOME.. I HAVE REPLACED 2 BATTERIES
 5
                THINKING THAT WAS THE CAUSE WITHIN THE LAST 3
 6              YEARS. SOMETHING NEEDS TO BE DONE! RECALL!!!

 7              THE HANDS FREE LINK SYSTEM THAT USES BLUETOOTH TO
                CONNECT TO YOUR CELLULAR PHONE IS DEFECTIVE. IT
 8              KILLS THE CAR BATTERY, ALWAYS DRAWING CURRENT
                FROM THE BATTERY EVEN WHEN THE CAR IS PARKED AND
 9
                NOT RUNNING. HAD BATTERY REPLACED ALL READY.
10              MANUFACTURER SUGGESTED REPAIR IS TO DISCONNECT
                THE HANDS FREE LINK FROM THE VEHICLE. I FEEL THIS IS
11              UNSAFE . I T WOULD CAUSE PEOPLE TO USE THERE CELL
                PHONES WITHOUT THE HANDS FREE FEATURE WHILE
12
                DRIVING, WHICH IN TURN COULD CAUSE AN ACCIDENT. SO
13              THIS IS A MAJOR SAFETY ISSUE AND I FEEL ACURA
                SHOULD RESOLVE THE PROBLEM. I HAVE RESEARCHED
14              THIS ISSUE AND HAVE FOUND THAT THIS PROBLEM IS
                WIDESPREAD THROUGHOUT AT LEAST TWO MODELS OF
15              ACURA (ACURA MDX AND ACURA TL), AND
16              APPROXIMATELY YEARS 2004 THROUGH 2008.

17              BATTERY KEPT GOING DEAD AND STRANDING ME IN
                MULTIPLE PLACES. HAD TO PURCHASE A PORTABLE CAR
18              STARTER IN ORDER TO KEEP RESTARTING THE CAR.
                COULDN'T FIND ANY OFFICIAL REASONS BEHIND IT FROM
19              ANY ACURA SOURCES. AFTER SOME INTERNET SEARCHING
20              I FOUND OUT THAT THE HFL BLUETOOTH MODULE WAS
                CAUSING A BATTERY DRAIN FOR MANY OTHER OWNERS.
21              SOLUTION WAS TO REMOVE THE MODULE. AFTER THAT
                THE PROBLEM WENT AWAY. WAS STRANDED MULTIPLE
22              TIMES -- VERY UNSAFE!! ALSO HAD TO PURCHASE CAR
                STARTER AND NEW BATTERY! ACURA DEALERS REFUSED
23
                TO PAY FOR THE NEW HFL REPLACEMENT. THIS IS A
24              SAFETY ISSUE THAT HAS AFFECTED MANY DRIVERS.
                COULD BE VERY DANGEROUS.
25
                I HAVE THE SAME CAR AND MY HFL [HANDSFREELINK]
26              WENT OUT ABOUT 2 WEEKS AGO. I HAVE LEARNED QUITE
                A BIT IN THE PAST FEW DAYS. THIS IS DEFINITELY A BIG
27
                PROBLEM. THE REPAIR PLACE I TALKED TO TOLD ME THAT
28              THE SUPPLIER HAS AT LEAST 3 IN STOCK. IF SUPPLIERS
     THIRD AMENDED CLASS ACTION COMPLAINT                - 41 -
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                ARE CARRYING EXPENSIVE ITEMS LIKE THE HFL THEN
 1              THEY EXPECT TO BE SELLING ABOUT 1 PER WEEK. HE HAS
 2              REPLACED MANY OF THEM AND FEELS HONDA SHOULD BE
                REPLACING THEM AT NO COST GIVEN HOW MANY HE HAS
 3              HAD TO REPLACE. HE ALSO SAID COUNSELED AGAINST
                BUYING A USED ONE -- FOR OBVIOUS REASONS.
 4
                BE CAREFUL ABOUT AN ANCILLARY PROBLEM--
 5              YESTERDAY MY CAR WOULDN'T START. I WAS TOLD BY
 6              THE ACURA DEALER AND THE 3RD PARTY REPAIR
                FACILITY THAT THE BROKEN UNITS DRAIN YOUR
 7              BATTERY. YOU HAVE NOT CHOICE BUT TO SHELL OUT THE
                $700-$800 -- SAME COST WHETHER YOU HAVE THE NAVI OR
 8              NOT. I ASKED IF THEY COULD JUST DISCONNECT IT AND
                THE DEALER SAID NO, THEY WERE NOT ALLOWED TO.
 9

10              IN MY OPINION, THIS IS A RECALL ITEM BUT WILL THEY
                RECALL SOMETHING THAT IS NOT A "SAFETY" ISSUE? IF
11              NOT, FROM WHAT I'VE HEARD AND WHAT I'VE JUST READ,
                THIS SEEMS TO BE A CLASS ACTION ISSUE.
12
                LOOKS LIKE I AM JOINING THE CLUB.... THE HFL ON MY
13
                2006 DIED ON ME THIS WEEK AS WELL. AND THIS MORNING
14              MY BATTERY WAS DEAD SO I THINK I AM EXPERIENCING
                THE DISCHARGE ISSUE FROM THE BAD MODULE.
15
                I GOING TO TRY TO UNPLUG THE MODULE THIS WEEKEND
16              TO SEE IF THAT HELPS. NO WAY I AM PUTTING OUT THE $$$
                TO ACURA FOR A NEW MODULE!
17

18              I HAVE BEEN HAVING PROBLEMS WITH MY HFL FOR A
                COUPLE MONTHS AND HAVE JUST BEEN MAKING DUE
19              WITHOUT IT. HOWEVER NOW, MY BATTERY KEEPS DYING
                BECAUSE APPARENTLY THE HFL IS DRAINING IT.
20
                I TOOK THE CAR INTO MY LOCAL ACURA DEALER (ACURA
21              OF PLEASANTON, CA) AND THEY WANT $150 JUST TO
22              DIAGNOSE IT AND ANOTHER $500 IF IT NEEDS
                REPLACEMENT. COULD YOU SEND ME WHATEVER
23              INFORMATION YOU WERE ABLE TO GATHER? ALSO DID
                YOU JUST REPLACE THE MODULE YOURSELF OR DID YOU
24              HAVE THE DEALERSHIP TAKE CARE OF IT FOR YOU?
25              THANKS FOR THE HELP!
26
                MY 2005 ACURA TL WOULD NOT START THIS MORNING. I
27              REPLACED THE BATTERY IN JULY. WHEN TRYING TO
                START THE CAR, I HAD LIGHTS BUT THE BATTERY WOULD
28
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                NOT TURN OVER THE MOTOR. AFTER JUMPING THE
 1              BATTERY, THE CAR STARTED. READING ALL OF THESE
 2              BLOGS I SUSPECT AN HFL ISSUE. MY HFL STOPPED
                WORKING IN APRIL AND I DID NOT THINK ABOUT HAVING
 3              IT FIXED. AFTER READING THESE BLOGS, IT MAKES SENSE.
                ALSO, I NOTICED THAT THERE IS SOMETHING IN THE
 4              ELECTRICAL SYSTEM THAT IS DRAWING ENERGY FROM
                THE BATTERY WHILE THE CAR IS NOT ON. THE ACURA
 5
                STEALERSHIP WANTS $120 AN HOUR TO DIAGNOSE AN
 6              ELECTRICAL PROBLEM AND SAY IT WILL TAKE 2-3 HOURS
                TO DIAGNOSE. I HAVE READ THE BLOGS AND FOUND THE
 7              SERVICE BULLETIN AS WELL AS REPLACEMENT HFL.
 8              I'VE HAD NO PROBLEMS WITH THE HFL, UNTIL RECENTLY...
                TOOK IT TO MY REGULAR SERVICE GUY, AFTER MY
 9
                BATTERY WOULD DRAIN WHEN SITTING FOR A VERY
10              SHORT PERIOD OF TIME. BATTERY IS BRAND NEW, AND
                THE CHARGING SYSTEM IS WORKING PROPERLY. THERE IS,
11              HOWEVER, BETWEEN A 2.5 AND 5 AMP DRAW ON THE
                BATTERY WHEN IT SITS. THEY'VE TRACKED IT BACK TO
12
                WHAT THEY THINK IS THE HFL.
13
                MY BLUETOOTH STOPPED OPERATING ON MY ACURA TL
14              05, UNAWARE SINCE I DIDN'T USE IT FOR MY LAST PHONE I
                PURCHASED...A COUPLE OF MONTHS AGO MY CAR
15              BATTERY DIED A FEW TIMES AND LEFT ME STRANDED THE
                FEW TIMES LONG STORY SHORT CALLED MY ACURA
16
                DEALERSHIP WHOM I'VE BEEN A LOYAL CUSTOMER FOR
17              5YRS TOLD ME IT WAS THE BLUETOOTH CAUSING A
                PARASITIC DRAW ON MY BATTERY AND THAT THEY
18              WOULD DISCONNECT IT FOR FREE (SINCE I DIDN'T HAVE
                $550 TO REPLACE BLUETOOTH MODULE)...AFTER A COUPLE
19              OF WEEKS BATTERY KEPT DYING WENT BACK TO ACURA
20              AND THEY DID A PARASITIC TEST ($135.00) AND TOLD ME
                THAT IT SEEMS I NEED A NEW MULTIPLEX UNIT $950+ TO
21              REPLACE AND THAT MAYBE THAT'LL SOLVE MY
                PROBLEM... I REFUSED AND WENT FOR A SECOND OPINION.
22              LOW AND BEHOLD THE EINSTEIN AT ACURA THAT WAS
                SUPPOSED TO HAVE DISCONNECTED THE BLUETOOTH
23
                DIDN'T UNPLUG IT CORRECTLY (UNKNOWINGLY OR
24              KNOWINGLY) AND DISCONNECTED MY MAP LIGHTS
                INSTEAD SINCE ITS HOUSED IN THE SAME COMPARTMENT
25              ...EITHER WAY I FEEL THAT THEY WERE TAKING
                ADVANTAGE OF ME AND WENT PARASITIC IN MY POCKET
26              FOR MORE ($)...MY SECOND OPINION UNPLUGGED THE HFL
27              MODULE AND HAVEN'T HAD A PROBLEM SINCE..BE
                CAREFUL PEOPLE DO YOUR RESEARCH FIRST...YOU CAN
28
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                BUY THE PART AND DO IT YOURSELF IF YOU FOLLOW THE
 1              ACURA BULLETIN 05-020 OR JUST UNPLUG THE
 2              BLUETOOTH AND THE DRAW WILL GO AWAY IF YOU DON'T
                WANT TO REPLACE IT...I'M GOING AFTER ACURA FOR MY
 3              PARASITIC DRAW TEST FEE, SINCE ALL ALONG THEY WERE
                LYING TO ME, AT THIS POINT AND AFTER MANY
 4              STRANDED NIGHTS THEY SHOULD HAD REPLACED IT FOR
                FREE!
 5

 6              MY 2006 ACURA TL HAS STARTED DOING THE EXACT SAME
                THING. FIRST THE HANDSFREELINK STOPPED WORKING
 7              COMPLETELY. DON'T EVEN GET A RESPONSE WHEN I PUSH
                THE BUTTON. THEN LAST WEEK MY BATTERY WENT
 8              COMPLETE DEAD AS A DOORNAIL. AFTER SEEING YOUR
                POST, I AM WONDERING IF THE 2 ARE RELATED. DO YOU
 9
                BY ANY CHANCE REMEMBER THE EXACT NAME OF THE
10              PART THAT YOU REPLACED AND WHAT WEBSITE YOU
                BOUGHT IT FROM? I WOULD HAVE TO REPLACE IT MYSELF
11              ALSO BUT AM ENCOURAGED THAT YOU WERE ABLE TO DO
                IT.
12

13              I HAVE A 2008 ACURA TL TYPE S 49,000 KM. THIS MONDAY
                NOV 19 THE HANDS-FREE LINK STOP WORKING (BOOTING
14              UP MESSAGE ON THE SCREEN). I REMOVED FUSE NUMBER 7
                AND 10 AND THE HANDSFREE WORKS FOR 10 MINUTE AND
15              DIED AGAIN. I CALLED ACURA OFFICE AND THEY TOLD ME
                THERE IS NO RECALL ABOUT THIS ISSUE BECAUSE IT IS
16
                NOT A SAFETY ISSUE. THEY TOLD ME TO TAKE IT TO THE
17              DEALER. LAST YEAR THE HFL DRAINS MY BATTERY AND I
                HAVE TO PAY.
18
                I HAVE 08TL. I HAD IT'S FOURTH BATTERY INSTALLED IN
19              NOV.,2012. IT HAS JUST GONE DEAD. WHEN I TALKED TO
                AUTO-ZONE ABOUT REPLACING IT, THEY SAID TO HAVE
20
                THE ALTERNATOR CHECKED EVEN THO ITS NUMBERS
21              WERE IN THE NORMAL RANGE. WHEN I TALKED TO THE
                SERVICE MANAGER AT MY ACURA DEALERSHIP. WITHOUT
22              HESITATION HE SAID BRING IT IN. HE DISCONNECTED THE
                BLUETOOTH CONNECTION AND SAID I SHOULD. HAVE NO
23              MORE BATTERY PROBLEMS. BUT NO BLUETOOTH. HE SAID
24              WE WOULD DISCUSS THE OPTIONS LATER. IF YOURS WAS A
                PREOWNED CAR THEY MAY HAVE DISCONNECTED THE
25              BLUETOOTH.

26              SO, MY WIFE HAS A 2007 TL. WE HAVENT HAD ANY MAJOR
                MAINTENANCE ISSUES WITH THE CAR, ONLY THE NORMAL
27              ROUTINE OIL, TIRES. ABOUT 2 YEARS AGO WE HAD THE
28              BATTERY REPLACED UNDER THE WARRANTY. TODAY THE

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                BATTERY IS SLUGGISH TURNING THE VEHICLE ON, SO I
 1              TAKE IT OVER TO ACURA AND THEY TELL ME I NEED A
 2              NEW BATTERY, BUT NOW THIS ONE IS NOT UNDER
                WARRANTY. ANYWAY... A COUPLE DAYS AGO MY WIFES
 3              BLUETOOTH STOPPED WORKING ON HER TL. I DECIDED TO
                SEE IF THERE WAS ANYTHING ONLINE TO SHOW HOW TO
 4              FIX IT, FINDING THESE POSTS. I READ A LOT OF POSTS
                ABOUT DISCONNECTING THE BLUETOOTH TO NOT HAVE
 5
                ANY BATTERY ISSUES. MY QUESTION IS, IF ITS NOT
 6              WORKING NOW, DOES THAT MEAN ITS ALREADY
                DISCONNECTED? OR DO I HAVE TO DO SOMETHING ELSE
 7              TO DISCONNECT IT? AND, ANY AFTERMARKET BLUETOOTH
                RECOMMENDATIONS?
 8
                ADD ME TO THE GROWING LIST OF ANGRY ACURA TL
 9
                OWNERS WITH A HAND FREE LINK PROBLEMS AND AN
10              EXTREMELY POOR CUSTOMER SERVICE EXPERIENCE.

11              WITH SUCH A WIDE SPREAD FAILURE RATE ACURA
                SHOULD RECALL THIS UNIT AND/OR MAKE THE REPAIR
12              REASONABLE. THE REPAIR COST IS OUTRAGEOUS FOR A
13              MAJOR SAFETY ISSUE.

14              ACURA HAS BEEN REPLACING BATTERIES IN THIS VEHICLE
                FREE OF CHARGE SINCE 15,189 MILES. EACH BATTERY
15              LASTED FEWER MONTHS. NO ONE AT ACURA LOOKED INTO
                THE CAUSE OF THE REPEATED FAILURES. I WAS LED TO
16              BELIEVE THE BATTERIES WERE LEMONS AND THE VEHICLE
17              WAS FINE WHEN IT WAS THE OTHER WAY AROUND.

18              NOW THE VEHICLE IS OUT OF WARRANTY AND ACURA
                CUSTOMER SERVICE ACTS LIKE THEY HAVE NEVER HEARD
19              OF THE THIS PROBLEM!
20              PLEASE ALERT THE NATIONAL HIGHWAY
                TRANSPORTATION SAFETY AUTHORITY AND ALL ACURA
21
                DRIVERS THAT THERE IS A MAJOR SAFETY ISSUE WITH THE
22              ACURA TL AND THE HAND FREE LINK. WE NEED TO
                SPREAD THE WORD.
23
                I HAVE OWNED 6 ACURAS AND 2 HONDAS AND MY PAST
24              EXPERIENCE WITH ACURA/HONDA HAS BEEN THAT THEY
                STAND BEHIND THEIR PRODUCT. NOT SO ANYMORE, AND I
25
                WILL NEVER BUY ANOTHER ACURA. THIS EXPERIENCE HAS
26              TARNISHED MY IMAGE OF THE ACURA BRAND.

27              I TOO HAVE A HFL BLUETOOTH THAT NO LONGER WORKS
                AND JUST REPLACED BATTERY AFTER TAKING IT TO THE
28
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                DEALERSHIP. THEY TOLD ME THAT THE BATTERY HAD A
 1              BAD CELL. THE BATTERY WAS REPLACED IN 2010 WHEN
 2              THE CAR WAS STILL UNDER WARRANTY. THE DEALER
                TOLD ME THAT I WOULD HAVE TO PAY FULL PRICE FOR
 3              THE BATTERY ($160). I EXPLAINED TO THEM THAT I HAD A
                BAD BLUETOOTH AND I THOUGHT THAT IT WAS PULLING
 4              ON THE BATTERY. THEY TESTED THE ELECTRICAL AND
                TOLD ME THAT EVERYTHING WAS FINE.....MEANING
 5
                NOTHING WAS DRAWING ON THE BATTERY. I DECIDED TO
 6              GET A BATTERY FROM ANOTHER SOURCE.

 7              BOY, I WISH I HAD DISCOVERED THESE POSTS PRIOR TO
                TAKING MY CAR TO THE DEALER.
 8
                CAN ANYONE GIVE ME STEP BY STEP INSTRUCTIONS ON
 9
                DISCONNECTING THE BLUETOOTH SO THAT IT DOES NOT
10              DRAW DOWN MY NEW BATTERY?

11              HI, I HAVE OWNED AN 2008 MDX SINCE NEW AND AFTER
                PAYING TO REPLACE BATTERY, HFL FAILED, THEN A FEW
12              MONTHS LATER BATTERY WAS FLAT IN MORNING. DEALER
                SAID "DON'T BOTHER CAUSE IT'LL COST $800 TO REPLACE
13
                HFL" NOT ONCE ADVISING ME ON THE RAMIFICATIONS. SO,
14              AFTER READING SOME FORUMS ONLINE I DISCONNECTED
                THE HFL MYSELF(THANK THE UNIVERSE FOR THE
15              INTERNET AND THOSE WHO'VE HAD THIS PROBLEM
                BEFORE ME). I DON'T KNOW HOW MUCH THE PART WOULD
16              COST IN CANADA, BUT I ORDERED THE SAME PART(WITH A
17              SLIGHTLY DIFFERENT PART NUMBER, I GUESS CAUSE IT
                HAS SPANISH VS FRANCAIS) FROM EBAY(ACURA OF
18              TEMPE).

19              THIS FAULTY HANDS FREE LINK ISSUE IS ABSOLUTELY
                UNACCEPTABLE, ESPECIALLY SINCE ACURA HAS
20              ALLOWED IT TO PROLIFERATE FOR SO MANY YEARS AND
21              VICTIMIZE ALL OF YOU HERE WHO HAVE SPENT SO MUCH
                TIME AND MONEY ON THIS! IN FACT, ACURA MUST BE ONE
22              OF THE WORST LUXURY AUTO BRANDS AFTER ALL OF THE
                ISSUES I'VE DEALT WITH.
23
                I HAVE A 2007 ACURA TL THAT WAS SERVICED MULTIPLE
24              TIMES WHILE UNDER WARRANTY FOR ISSUES SUCH AS A
25              "MYSTERIOUS POWER DRAW" AND STICKING SIDE VIEW
                MIRROR. THE DEALER'S SERVICE DEPT STATED THEY
26              COULDN'T FIND THE SOURCE OF THE POWER DRAIN, SO
                THEY SIMPLY PUT IN A NEW BATTERY AS IF THAT WAS AN
27              ANSWER. AND THE STICKING SIDE MIRROR STILL GETS
                STUCK.
28
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                AS SOON AS THE WARRANTY RAN OUT, THEY GAVE ME
 1              THE COLD SHOULDER. MY ACURA TL NOW WON'T START
 2              AFTER ONLY THREE DAYS OF NON-USE BECAUSE ITS
                BATTERY GETS COMPLETELY DRAINED. THE BATTERY IS
 3              NEW, THE ALTERNATOR PASSED TESTS, AND ONLINE
                FORUMS ALL INDICATE A KNOWN ACURA SERVICE
 4              BULLETIN FOR THE CULPRIT BEING THE FAULTY HFL
                MODULE. ACURA SERVICE DEPTS WANT TO CHARGE JUST
 5
                TO LOOK AT IT, AND ACURA CUSTOMER RELATIONS
 6              REFUSES GOODWILL SERVICE AND TOLD ME TO PAY FOR
                THE REPAIR MYSELF! THIS IS OUTRAGEOUS!
 7
                I WANT TO AT LEAST BE ABLE TO DRIVE MY CAR, SO I
 8              REMOVED THE HFL MODULE MYSELF, WHICH WAS EASY.
                THAT MODULE WAS HOT TO THE TOUCH LIKE A
 9
                SMARTPHONE AFTER PLAYING A LONG MOVIE! AND THE
10              CAR HADN'T BEEN DRIVEN FOR TWO DAYS! GUESS WHAT?
                MY CAR'S BATTERY NO LONGER GETS DRAINED.
11
                I HAVE A 2006 TL. LAST WEEK, IT WAS SLUGGISH TO START.
12              I WAS TOLD THAT IT HAD A FAULTY HFL CONNECTION
13              THAT WAS DRAINING MY BATTERY (A BATTERY THAT WAS
                REPLACED 4 MONTHS AGO). I TOLD THEM THAT I HAVE
14              NEVER USED THE DARN THING AND I'VE HAD THE CAR FOR
                7 YEARS! IT COST $400...I JUST NOW CAME ACROSS THIS
15              FORUM AND LEARNED THAT IT COULD BE
                DISCONNECTED...ACURA DID NOT TELL ME THAT!! TODAY,
16
                MY CAR DID NOT START AT ALL. I HAD TO GET IT TOWED
17              TO ACURA FOR THEM TO TELL ME THAT MY STARTER WAS
                KAPUT! NOW, I AM THINKING MAYBE IT WAS THE STARTER
18              ALL ALONG. UNTIL, NOW I USED TO LOVE MY CAR...BUT
                ALMOST $1000 IN SEVEN DAYS!!!! THIS IS APPALLING! I
19              SENT AN E-MAIL TO ACURA CLIENT RELATIONS.
20              SOMETHING NEEDS TO BE DONE ABOUT THIS!

21              I HAVE AN ACURA 2008 MDX, I HAVE THE SAME DEAD
                BATTERY ISSUE OTHERS HAVE REPORTED. I HAVE GONE
22              THROUGH 4 BATTERIES OVER THE PAST 5 YEARS. MOST
                RECENT NEW BATTERY WAS INSTALLED A MONTH AGO,
23              YESTERDAY WENT OUT TO THE CAR AND IT WAS DEAD. I
24              CONTACTED THE MECHANIC WHO INSTALLED THE NEW
                BATTERY.
25
                HE SAID THEY RAN A TEST AND FOUND A
26              MALFUNCTIONING CIRCUIT THAT POWERS THE
                BLUETOOTH HANDS-FREE LINK. SAID THAT THE HFL WAS
27              DRAWING CURRENT FROM THE BATTERY WHILE THE CAR
28              WAS OFF. IT WASN'T DRAWING A LOT OF CURRENT, BUT

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                    ENOUGH TO KILL A BATTERY OVER THE COURSE OF A FEW
 1                  WEEKS.
 2
     F.     Defendant’s Exclusive Knowledge and Concealment of the Defective HandsFreeLink™
 3          System

 4          200.    Without knowing about the defect in the HandsFreeLink™ system, owners have
 5   replaced one battery after another experiencing only the symptom of the defect and have incurred
 6   other costs as discussed herein, but because consumers were and remain ignorant of the actual source
 7   of the problem, they continue to suffer ongoing harm. Some owners report dissatisfaction with
 8   batteries that were only a few months old when they needed to be replaced, not knowing that the
 9   HandsFreeLink™ system was parasitically straining the electric system. Others report that they
10   thought that a battery or other essential electrical component that was several years old just needed to
11   be replaced a little sooner than expected, never understanding that the HandsFreeLink™ system was
12   defective or the cause. Without understanding why, owners incur hundreds or thousands of dollars
13   in costs paid for repeated jump starts for drained batteries, buying replacement electrical
14   components, including batteries and alternators, and covering other costs related to the defect in the
15   HandsFreeLink™ system.
16          201.    As a consequence of Defendant’s exclusive knowledge and concealment about the
17   defect, Acura owners will not discover the real cause of the problem until after several encounters
18   with the symptoms of the problem (drained batteries, failing electric components, etc.), if they
19   discovery the root cause at all. Accordingly, Acura owners are not likely to learn about the defect in
20   the HandsFreeLink™ unit until after warranty coverage has passed.
21          202.    Replacement of the HandsFreeLink™ system is the course of action recommended by
22   Defendant in its internal Service Bulletins. It offers no extended or special warranty coverage for
23   this known defect which will typically be diagnosed after the regular manufacturer’s warranty has
24   expired. However, the parts and labor for the replacement of the HandsFreeLink™ unit are upwards
25   of $1,000.00, if not more. Moreover, Defendant is not using different HandsFreeLink™ units, but
26   rather the standard HandsFreeLink™ unit for these replacements. Accordingly, owners who have
27   had their HandsFreeLink™ systems replaced have reported that the new system also gets stuck “on”,
28
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 1   causing the same harm and creating the same safety hazard. Accordingly, once owners discover that

 2   the HandsFreeLink™ system is at the bottom of the recurring costs and inconvenience, many simply

 3   opt to disconnect the unit, disabling an important feature in their luxury vehicles and rendering their

 4   Class Vehicles less valuable than comparable cars with properly functioning “hands-free” systems.

 5   Several dealerships have in fact instructed their service departments to offer this ‘disabling service’

 6   where they charge an additional fee to disable the feature. Under this arrangement not only are Acura

 7   owners being foreclosed from using a feature they paid for, but they must also incur additional

 8   charges for any labor and parts involved in disabling the feature at the dealership.

 9   G.     Exclusive Knowledge, Concealment, and Safety Defect Allegations
10          203.    Absent discovery, Plaintiffs are unaware of, and unable through reasonable

11   investigation to obtain, the true names and identities of those individuals associated with Honda

12   responsible for disseminating false and misleading marketing materials (i.e., the marketing materials

13   with material omissions) regarding its vehicles with the Defective HandsFreeLink™ system. Honda

14   is necessarily in possession of all of this information.

15          204.    Plaintiffs’ claims arise out of Honda’s exclusive knowledge of and/or concealed

16   material information regarding the defect and the safety hazard it poses. There is no one document

17   or communication, and no one interaction, upon which Plaintiffs base their claims. Plaintiffs allege

18   that at all relevant times, specifically at the time they purchased or leased their Affected Vehicles,

19   Honda knew the safety dangers of the defect, namely the battery-drain and myriad of associated

20   repercussions. Honda was under a duty to disclose the defect based upon its exclusive knowledge of

21   and/or concealed material information regarding the defect; Honda failed to disclose the defect to

22   Plaintiffs, other Class members, or the public at any time or place or in any manner such that it could

23   (and would) have affected Plaintiffs’ and Class members’ pre-sale decision to purchase and/or lease

24   their HandsFreeLink™ system-equipped vehicles.

25          205.    Plaintiffs make the following specific fraud allegations with as much specificity as

26   possible absent access to the information necessarily available only to Honda:
                    (a)    Who: Honda had and has exclusive knowledge of the Defect and failed to
27
     disclose to Plaintiffs and/or concealed material information regarding the defect from Plaintiffs.
28
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     Honda similarly failed to disclose the Defect’s dangerous safety risks in its HandsFreeLink™
 1
     system-equipped vehicles. Plaintiffs were unaware of, and therefore unable to identify, the true
 2
     names and identities of those specific individuals responsible for such decisions.
 3                  (b)     What:
 4                          (i)     Honda failed to disclose that its Affected Vehicles contain the Defect.
 5   Honda has and had exclusive knowledge of and/or concealed material information that its Affected

 6   Vehicles contain the Defect. Yet Honda failed to disclose the same in any pre-sale materials.
                            (ii)    Honda could have, but failed to, disclose to consumers the risks of
 7
     vehicles Defective HandsFreeLink™ system. An exemplar of a simple but effective disclosure that
 8
     was omitted from any and all of its pre-sale materials is:
 9
                    WARNING: This vehicle is equipped with a HandsFreeLink™
10                  Bluetooth wireless connectivity system. Even if the engine is not
                    started or the vehicle is not placed in accessory mode, the
11                  HandsFreeLink™ system may continue to parasitically drain the
                    battery. If left parked, the vehicle will not start because the car battery
12                  will have drained. Even if used in an ongoing manner, the parasitic
13                  loss will result in increased load on other electrical systems in the
                    vehicle, resulting in increased wear on electronic components.
14
                    With a compromised battery and/or a failed alternator, your vehicle
15                  can be left suddenly without any electric power even when the vehicle
                    is in use.
16
                    Acura technicians can disconnect the HandsFreeLink™ system, but
17
                    you will no longer be able to take advantage of the benefits of this
18                  system, including hands-free calling and the remote vehicle
                    diagnostics, which benefits potentially avoid dangerous on-road
19                  situations.
20                  (c)     When: Honda had exclusive knowledge of and/or concealed material
21   information regarding the Defect starting no later than the date of its first internal Technical Service

22   Bulletin (distributed only to Acura dealers) dated June 2005, but necessarily had knowledge in
     advance of that Bulletin.
23
                    (d)     Where: Honda concealed material information regarding the true nature of the
24
     Defect in every pre-sale communication they had with Plaintiffs and other Class members. Despite
25
     counsel’s review and analysis of pre-sale marketing materials, sales brochures, and other pre-sale
26   enticements to purchase each of its HandsFreeLink™-equipped vehicles, Plaintiffs are aware of no
27

28
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     document, communication, or other place or thing, in which Honda disclosed the truth about the
 1
     Defect to consumers.
 2
                    (e)     How:
 3                          (i)     Honda had exclusive knowledge of and/or concealed material
 4   information about the Defect and failed to disclose the Defect to Plaintiffs and Class members in any
 5   pre-sale materials—the time at which Plaintiffs and Class members could have acted. Honda had

 6   exclusive knowledge of and/or actively concealed the truth about the existence and nature of the
     Defect from Plaintiffs and Class members at all times, even though Honda knew about the Defect
 7
     and knew that information about the Defect would be important to a reasonable consumer.
 8
                            (ii)    Honda has still failed to disclose the truth about the Defect in its
 9
     HandsFreeLink™-equipped vehicles to consumers and general public. Thus, Honda has never taken
10   any action to inform consumers about the true nature of the Defect in its Affected Vehicles despite
11   the fact that Honda has (and had) exclusive knowledge of and/or actively concealed the truth about
12   the existence and nature of the Defect.
                            (iii)   Instead, Honda stealthily issued one internal Technical Service
13
     Bulletin after another, admitting that the Defect will “cause a dead or low battery while the vehicle’s
14
     ignition switch is off” and had the potential to re-“appear intermittent[ly]” later, even if Honda’s
15
     “fix” of replacing the HandsFreeLink™ system was implemented.
16                  (f)     Why: Honda concealed and/or had exclusive knowledge of material
17   information about the Defect in its HandsFreeLink™-equipped vehicles, yet failed to disclose the
18   Defect in order to induce Plaintiffs and Class members to purchase or lease its vehicles rather than

19   competitors’ vehicles. It wanted to be first to market with an integrated Bluetooth car-connectivity
     system. Had Honda disclosed the truth, Plaintiffs (and reasonable consumers) either 1) would have
20
     paid less for the vehicles by not purchasing the optional HandsFreeLink™ system technology,
21
     2) would not have purchased or leased the HandsFreeLink™-equipped vehicles at all, or 3) otherwise
22   would have paid less for the HandsFreeLink™-equipped vehicles.
23                  (g)     Safety Defect: Honda, like all automakers, is under a duty to disclose a known
24   defect in a vehicle when there are safety concerns associated with the vehicle’s use—i.e., where the

25   failure to disclose implicates a safety issue. Manufacturers may be held liable for their failure to
     disclose a defect when such an omission pertains to a safety issue. In this case, as stated above,
26
     Honda knew about the Defect, and the Defect poses a physical threat to Plaintiffs’ own safety or the
27

28
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     safety of others. Nevertheless, Honda failed to disclose the Defect to all owners of Affected
 1
     Vehicles.
 2
                          V.     TOLLING OF THE STATUTE OF LIMITATIONS
 3
     A.        Discovery Rule
 4
               206.   As detailed under each of the plaintiff-specific allegations, Class members had no
 5
     way of knowing about the hidden Defect in the HandsFreeLink™ system. Defendant concealed its
 6
     knowledge of the Defect (as evidenced by the non-public TSBs, detailed above) while continuing to
 7
     market and sell the HandsFreeLink™ as a safety feature in its luxury cars.
 8
               207.   Within any applicable statutes of limitation, Class members could not have discovered
 9
     through the exercise of reasonable diligence that Acura was concealing the conduct complained of
10
     herein and misrepresenting the true qualities of the vehicles. As detailed under each of the plaintiff-
11
     specific allegations, Class members did act reasonably and diligently in attempting to find the source
12
     of their electrical and battery-related vehicle issues.
13
               208.   Class members did not know facts that would have caused a reasonable person to
14
     suspect that there was a defect in Defendant’s HandsFreeLink™ system and an ordinary person
15
     would be unable to appreciate that the HandsFreeLink™ system was defective.
16
               209.   For these reasons, all applicable statutes of limitation have been tolled by operation of
17
     the discovery rule with respect to the claims in this litigation.
18

19   B.        Fraudulent Concealment

20             210.   Defendant was under a continuous duty to disclose to Class members the existence of
21   the Defect in the HandsFreeLink™ system, including the related failure of the electric systems.
22             211.   Defendant recklessly disregarded the true nature, quality, and character of the
23   HandsFreeLink™ system.
24             212.   Due to Defendant’s concealment throughout the time period relevant to this action (as
25   evidenced by the non-public TSBs, detailed above), all applicable statutes of limitation have been
26   tolled.
27

28
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 1           213.    Instead of publicly disclosing the defect in the HandsFreeLink™, Defendant kept

 2   owners in the dark about the failure in their electrical systems, most notably the repeated battery and

 3   alternator failures, as well as other related electrical issues as described herein.

 4           214.    As detailed under each of the plaintiff-specific allegations, Class members were not at

 5   fault for failing to discover the connection between the HandsFreeLink™ system and their electrical

 6   and battery-related vehicle issues. Until the dates specified under each of the plaintiff-specific

 7   allegations, plaintiffs had no actual or presumptive knowledge of facts sufficient to put them on

 8   inquiry notice of such a connection. This ignorance of the true cause of the electrical and battery-

 9   related vehicle issues is common across all Plaintiffs and Class members.

10                                      VI.     CLASS ALLEGATIONS
11
             215.    Plaintiffs bring this action on behalf of themselves and as a class action, pursuant to
12
     the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, on behalf of
13
     the following Class:
14                  All persons who purchased or leased an Acura with a
                    HandsFreeLink™ system.
15

16           216.    As an alternative Class, if California law does not apply to all owners, Plaintiffs bring

17   this action on behalf of themselves and the following classes (collectively, the “Classes”):
                     All persons who purchased or leased an Acura with a
18                   HandsFreeLink™ system in the State of California.
19                   All persons who purchased or leased an Acura with a
                     HandsFreeLink™ system in the State of Delaware.
20
                     All persons who purchased or leased an Acura with a
21                   HandsFreeLink™ system in the State of Kansas.
22                   All persons who purchased or leased an Acura with a
                     HandsFreeLink™ system in the State of New Hampshire.
23
                     All persons who purchased or leased an Acura with a
24                   HandsFreeLink™ system in the State of New York.
25                   All persons who purchased or leased an Acura with a
                     HandsFreeLink™ system in the State of Washington.
26

27

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 1            217.   Excluded from the Classes are Defendant and its parents, subsidiaries, and affiliates;

 2   all persons who properly elect to be excluded from the Classes; governmental entities; and the Judge

 3   to whom this case is assigned and his/her immediate family.

 4            218.   Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

 5   Plaintiffs and Class members can prove the elements of their claims on a class-wide basis using the

 6   same evidence as would be used to prove those elements in individual actions alleging the same

 7   claim.

 8            219.   This action has been brought and may be properly maintained on behalf of the Classes

 9   proposed herein under Federal Rule of Civil Procedure 23.

10            220.   Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of the Classes

11   are so numerous and geographically dispersed that individual joinder of all Class members is

12   impracticable. While Plaintiffs are informed and believe that there are at least thousands of members

13   of the Classes, the precise number of Class members is unknown to Plaintiffs, but may be ascertained

14   from Defendant’s books and records. Class members may be notified of the pendency of this action

15   by recognized, Court-approved notice dissemination methods, which may include U.S. mail,

16   electronic mail, Internet postings, and/or published notice.

17            221.   Commonality and Predominance: Federal Rule of Civil Procedure 23(a)(2) and

18   23(b)(3): This action involves common questions of law and fact, which predominate over any

19   questions affecting individual Class members, including, without limitation:
                    i.      Whether Defendant engaged in the conduct alleged herein;
20
                     ii.    Whether Defendant’s HandsFreeLink™ system has the Defect alleged herein;
21
                     iii.   Whether Defendant had a duty to disclose the existence of the Defect alleged
22                          herein;
23                   iv.    Whether Defendant’s conduct violates consumer protection statutes and other
                            laws as asserted herein;
24
                     v.     Whether Plaintiffs and the other Class members are entitled to equitable relief,
25                          including, but not limited to, restitution or injunctive relief; and
26                   vi.    Whether Plaintiffs and the other Class members are entitled to damages and
                            other monetary relief and, if so, in what amount.
27

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 1             222.   Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims are typical of

 2   the other Class members’ claims because, among other things, all Class members were comparably

 3   injured through Defendant’s wrongful conduct as described above.

 4             223.   Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are adequate Class

 5   representatives because their interests do not conflict with the interests of the other members of the

 6   Classes they seeks to represent, Plaintiffs have retained counsel competent and experienced in

 7   complex class action litigation, and Plaintiffs intend to prosecute this action vigorously. The

 8   Classes’ interests will be fairly and adequately protected by Plaintiffs and their counsel.

 9             224.   Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is superior to

10   any other available means for the fair and efficient adjudication of this controversy, and no unusual

11   difficulties are likely to be encountered in the management of this class action. The damages or

12   other financial detriment suffered by Plaintiffs and the other Class members are relatively small

13   compared to the burden and expense that would be required to individually litigate their claims

14   against Defendant, so it would be impracticable for the members of the Classes to individually seek

15   redress for Defendant’s wrongful conduct. Even if Class members could afford individual litigation,

16   the court system could not. Individualized litigation creates a potential for inconsistent or

17   contradictory judgments, and increases the delay and expense to all parties and the court system. By

18   contrast, the class action device presents far fewer management difficulties, and provides the benefits

19   of single adjudication, economy of scale, and comprehensive supervision by a single court.

20               VII.    CAUSES OF ACTION ON BEHALF OF THE NATIONAL CLASS
21                                             COUNT I
                             VIOLATIONS OF THE CALIFORNIA CONSUMER
22                                     LEGAL REMEDIES ACT
                                   (CAL. CIV. CODE § 1750, ET SEQ.)
23

24             225.   Plaintiffs incorporate by reference all preceding allegations as though fully set forth

25   herein.

26             226.   Plaintiffs bring this claim as part of the National Class.

27

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 1          227.    California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750, et

 2   seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices undertaken

 3   by any person in a transaction intended to result or which results in the sale or lease of goods or

 4   services to any consumer.”

 5          228.    The Class Vehicles are “goods” as defined in Cal. Civ. Code § 1761(a).

 6          229.    Plaintiffs and the other Class members are “consumers” as defined in Cal. Civ. Code

 7   § 1761(d), and Plaintiffs, the other Class members, and Honda are “persons” as defined in Cal. Civ.

 8   Code § 1761(c).

 9          230.    As alleged herein, Honda made misleading representations and omissions concerning

10   the benefits, performance, and safety of the Class Vehicles, including the HandsFreeLink™ system.

11          231.    In purchasing or leasing the Class Vehicles, Plaintiffs and other Class members were

12   deceived by Honda’s failure to disclose its knowledge of the Defect in its HandsFreeLink™ system,

13   which caused a parasitic electric drain even when the vehicle’s ignition switch is off. Defendant

14   further concealed the hidden nature of the problem with the HandsFreeLink™ system, causing the

15   problem to appear intermittent and unrelated to any defect in the HandsFreeLink™ system.

16          232.    Honda’s conduct as described herein was and is in violation of the CLRA. Honda’s

17   conduct violates at least the following enumerated CLRA provisions:
                    i.      Cal. Civ. Code § 1770(a)(5): Representing that goods have sponsorship,
18                          approval, characteristics, uses, benefits, or quantities that they do not have.
19                  ii.     Cal Civ. Code § 1770(a)(7): Representing that goods are of a particular
                            standard, quality, or grade if they are of another.
20
                    iii.    Cal. Civ. Code § 1770 (a)(9): Advertising goods with intent not to sell them as
21                          advertised.
22                  iv.     Cal Civ. Code § 1770 (a)(16): Representing that goods have been supplied in
                            accordance with a previous representation when they have not.
23

24          233.    Honda intentionally and knowingly misrepresented and omitted material facts

25   regarding the Class Vehicles, specifically regarding the HandsFreeLink™ system, with an intent to

26   mislead Plaintiffs and Class members.

27

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 1          234.    In purchasing or leasing the Class Vehicles, Plaintiffs and other Class members were

 2   deceived by Honda’s failure to disclose its knowledge of the Defect in its HandsFreeLink™ system.

 3          235.    Plaintiffs and other Class members had no way of knowing Honda’s representations

 4   were false, misleading, and incomplete or knowing the true nature of the HandsFreeLink™ system.

 5   As alleged herein, Honda engaged in a pattern of deception and public silence in the face of a known

 6   defect with its HandsFreeLink™ system. Plaintiffs and other Class members did not, and could not,

 7   unravel Honda’s deception on their own.

 8          236.    Honda knew or should have known its conduct violated the CLRA.

 9          237.    Honda owed Plaintiffs and the Class members a duty to disclose the truth about its

10   faulty HandsFreeLink™ system because the Defect created a safety hazard and Honda:
                   i.    Possessed exclusive knowledge of the defect in the HandsFreeLink™ system,
11                       which caused parasitic electricity drain that would repeatedly deplete the car’s
                         battery;
12
                    ii.    Intentionally concealed the foregoing from Plaintiffs and Class members;
13                         and/or
14                  iii.   Made incomplete representations in advertisements and on its website, failing
                           to warn the public or to publicly admit that the HandsFreeLink™ system was
15                         defective.
16
            238.    Honda had a duty to disclose that the HandsFreeLink™ system in the Class Vehicles
17
     was fundamentally flawed as described herein, because the Defect created a safety hazard, and
18
     Plaintiffs and the other Class members relied on Honda’s material misrepresentations and omissions
19
     regarding the features of the Class Vehicles and HandsFreeLink™ system.
20
            239.    Honda’s conduct proximately caused injuries to Plaintiffs and the other Class
21
     members that purchased the Class Vehicles and suffered harm as alleged herein.
22
            240.    Plaintiffs and the other Class members were injured and suffered ascertainable loss,
23
     injury-in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiffs and
24
     the other Class members incurred costs related the parasitic drain caused by the Defect, including
25
     replacements of electrical components and service costs, and overpaid for their Class Vehicles that
26
     have suffered a diminution in value.
27

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 1             241.   Honda’s violations cause continuing injuries to Plaintiffs and other Class members.

 2   Honda’s unlawful acts and practices complained of herein affect the public interest.

 3             242.   Honda knew of the defective design and/or manufacture of the HandsFreeLink™

 4   system, and that the Class Vehicles were materially compromised by such defects.

 5             243.   The facts concealed and omitted by Honda from Plaintiffs and other Class members

 6   are material in that a reasonable consumer would have considered them to be important in deciding

 7   whether to purchase an Acura vehicle or pay a lower price. Had Plaintiffs and the other Class

 8   members known about the defective nature of the Class Vehicles, they would not have purchased the

 9   Class Vehicles or would not have paid the prices they paid.

10             244.   Plaintiffs’ and the other Class members’ injuries were proximately caused by Honda’s

11   unlawful and deceptive business practices.

12             245.   Pursuant to CLRA § 1780(a), Plaintiffs seek an order enjoining Honda from engaging

13   in the methods, acts, or practices alleged herein, including further concealment of the Defect in the

14   HandsFreeLink™ unit and denial of warranty coverage for repairs related to that Defect.

15             246.   Plaintiffs sent out a notice letter on August 3, 2016.

16             247.   Pursuant to CLRA § 1782, if Defendant does not rectify its conduct within 30 days,

17   Plaintiffs intend to amend this Complaint to add claims under the CLRA for:
                     i.     Actual damages;
18
                      ii.    Restitution of money to Plaintiffs and Class members, and the general public;
19
                      iii.   Punitive damages;
20
                      iv.    An additional award of up to $5,000 to each Plaintiffs and any Class member
21                           who is a “senior citizen;
22                    v.     Attorneys’ fees and costs; and
23                    vi.    Other relief that this Court deems proper.
24                                       COUNT II
                VIOLATIONS OF CALIFORNIA’S UNFAIR BUSINESS PRACTICES ACT
25                        (CAL. BUS. & PROF. CODE § 17200, ET SEQ.)
26
               248.   Plaintiffs incorporate by reference all preceding allegations as though fully set forth
27
     herein.
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 1          249.    Plaintiffs bring this claim on behalf of the National Class.

 2          250.    California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et

 3   seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business act

 4   or practice and unfair, deceptive, untrue, or misleading advertising.”

 5          251.    Honda’s conduct, as described herein, was and is in violation of the UCL. Honda’s

 6   conduct violates the UCL in at least the following ways:
                    i.     By failing to disclose that the HandsFreeLink™ system in the Class Vehicles
 7                         was defective and prone to create parasitic electricity drain;
 8                  ii.     By selling and leasing Class Vehicles that suffer from such defects without
                            providing special warranty coverage for this Defect;
 9
                    iii.    By knowingly and intentionally concealing from Plaintiffs and the other Class
10                          members that the HandsFreeLink™ system was defective;
11                  iv.     By marketing Class Vehicles as safe, convenient, and defect free, with cutting-
                            edge technology, all while knowing of the Defect related to the
12                          HandsFreeLink™ system; and
13                  v.      By violating other California laws, including California consumer protection
                            laws.
14

15          252.    Honda intentionally and knowingly misrepresented and omitted material facts
16   regarding the Class Vehicles with intent to mislead Plaintiffs and the other Class members.
17          253.    In purchasing or leasing the Class Vehicles, Plaintiffs and the other Class members
18   were deceived by Honda’s failure to disclose the Defect related to the HandsFreeLink™ system.
19          254.    Plaintiffs and the other Class members reasonably relied upon Honda’s false
20   misrepresentations and omissions. They had no way of knowing that Honda’s representations were
21   false, misleading, and incomplete. As alleged herein, Honda engaged in a pattern of deception and
22   public silence in the face of a known defect with its HandsFreeLink™ system. Plaintiffs and the
23   other Class members did not, and could not, unravel Honda’s deception on their own.
24          255.    Honda knew or should have known that its conduct violated the UCL.
25          256.    Honda owed Plaintiffs and the other Class members a duty to disclose the truth about
26   its HandsFreeLink™ system because the Defect created a safety hazard and Honda:
                   i.    Possessed exclusive knowledge of the Defect in the HandsFreeLink™ system;
27

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                    ii.     Intentionally concealed the foregoing from Plaintiffs and the other Class
 1                          members; and/or
 2                  iii.    Made incomplete representations by failing to warn the public or to publicly
                            admit that the HandsFreeLink™ system was defective.
 3

 4          257.    Honda had a duty to disclose that the HandsFreeLink™ system in the Class Vehicles

 5   was fundamentally flawed as described herein, because Plaintiffs and the other Class members relied

 6   on Honda’s material misrepresentations and omissions.

 7          258.    Honda’s conduct proximately caused injuries to Plaintiffs and the other Class

 8   members that purchased the Class Vehicles and suffered harm as alleged herein.

 9          259.    Plaintiffs and the other Class members were injured and suffered ascertainable loss,

10   injury-in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiffs and

11   the other Class members incurred costs related the parasitic drain caused by the Defect, including

12   replacement of electrical components and service costs, and overpaid for their Class Vehicles that

13   have suffered a diminution in value.

14          260.    Honda’s violations cause continuing injuries to Plaintiffs and Class members.

15   Honda’s unlawful acts and practices complained of herein affect the public interest.

16          261.    Honda’s misrepresentations and omissions alleged herein caused Plaintiffs and the

17   other Class members to make their purchases of their Class Vehicles. Absent those misrepresent-

18   ations and omissions, Plaintiffs and the other Class members would not have purchased these

19   vehicles, would not have purchased these Class Vehicles at the prices they paid, and/or would have

20   purchased less expensive alternative vehicles that did not contain defective HandsFreeLink™

21   systems that failed to live up to industry standards.

22          262.    Accordingly, Plaintiffs and the other Class members have suffered injury-in-fact,

23   including lost money or property, as a result of Honda’s misrepresentations and omissions.

24          263.    Plaintiffs request that this Court enter such orders or judgments as may be necessary

25   to restore to Plaintiffs and Class members any money it acquired by unfair competition, including

26   restitution and/or restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code § 17203 and

27   Cal. Civ. Code § 3345; and for such other relief as may be appropriate.

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                                                COUNT III
 1                                       FRAUD BY CONCEALMENT
                                       (BASED ON CALIFORNIA LAW)
 2

 3             264.   Plaintiffs incorporate by reference all preceding allegations as though fully set forth

 4   herein.

 5             265.   Plaintiffs bring this claim on behalf of the National Class.

 6             266.   Honda intentionally concealed that the HandsFreeLink™ system is defective, and

 7   prone to create a parasitic electricity drain that would strain the electrical system and repeatedly

 8   deplete the car’s battery, leaving owners with cars that would not start, premature battery death, and

 9   damage to other components in the electric system. Honda concealed the fact that once the

10   HandsFreeLink™ system Defect compromises the battery, the system “resets,” hiding the problem

11   until the system gets stuck again.

12             267.   Honda further affirmatively misrepresented to Plaintiffs in advertising and other

13   forms of communication, including standard and uniform material provided with each car and on its

14   website, that the Class Vehicles it was selling had no significant defects, that the HandsFreeLink™

15   system was a safety feature, reliable, and would perform and operate properly.

16             268.   Honda knew about the Defect in the HandsFreeLink™ system when these

17   representations were made.

18             269.   The Class Vehicles purchased by Plaintiffs and the other Class members contained

19   defective HandsFreeLink™ system.

20             270.   Honda had a duty to disclose that the HandsFreeLink™ system contained a

21   fundamental defect as alleged herein, because the Defect created a safety hazard and Plaintiffs and

22   the other Class members relied on Honda’s material representations.

23             271.   As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

24   free from defects such as the Defect related to the HandsFreeLink™ system. Honda touted and

25   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

26   failed to disclose important facts related to the Defect. This made Honda’s other disclosures about

27   the HandsFreeLink™ system deceptive.

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 1          272.    The truth about the defective HandsFreeLink™ system was known only to Honda;

 2   Plaintiffs and the other Class members did not know of these facts and Honda actively concealed

 3   these facts from Plaintiffs and Class members.

 4          273.    Plaintiffs and the other Class members reasonably relied upon Honda’s deception.

 5   They had no way of knowing that Honda’s representations were false, misleading, or incomplete. As

 6   consumers, Plaintiffs and Class members did not, and could not, unravel Honda’s deception on their

 7   own. Rather, Honda intended to deceive Plaintiffs and Class members by concealing the true facts

 8   about the Class Vehicles’ HandsFreeLink™ systems.

 9          274.    Honda’s false representations and omissions were material to consumers because they

10   concerned qualities of the Class Vehicles that played a significant role in the value of the vehicles.

11          275.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

12   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

13   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

14   facts were not known to or reasonably discoverable by Plaintiffs or Class members.

15          276.    Honda also had a duty to disclose because it made general affirmative representations

16   about the technological and safety innovations included with its vehicles, without telling consumers

17   that one of the features had a fundamental defect that would affect the safety, quality, and

18   performance of the vehicle.

19          277.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

20   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

21   set forth herein. These omitted and concealed facts were material because they directly impact the

22   value of the Class Vehicles purchased by Plaintiffs and Class members.

23          278.    Honda has still not made full and adequate disclosures, and continues to defraud

24   Plaintiffs and Class members by concealing material information regarding the Defect in the

25   HandsFreeLink™ system.

26          279.    Plaintiffs and Class members were unaware of the omitted material facts referenced

27   herein, and they would not have acted as they did if they had known of the concealed and/or

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     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 62 -
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 1   suppressed facts, in that they would not have purchased or paid as much for cars with faulty

 2   technology, and/or would have taken other affirmative steps in light of the information concealed

 3   from them. Plaintiffs’ and Class members’ actions were justified. Honda was in exclusive control of

 4   the material facts, and such facts were not generally known to the public, Plaintiffs, or Class

 5   members.

 6             280.   Because of the concealment and/or suppression of facts, Plaintiffs and Class members

 7   sustained damage because they own(ed) vehicles that are diminished in value as a result of Honda’s

 8   concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiffs and

 9   Class members been aware of the defect in the HandsFreeLink™ systems installed in the Class

10   Vehicles, and the Company’s disregard for the truth, Plaintiffs and Class members who purchased an

11   Acura vehicle would have paid less for their vehicles or would not have purchased them at all.

12             281.   The value of Plaintiffs’ and Class members’ vehicles has diminished as a result of

13   Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class Vehicles,

14   which has made any reasonable consumer reluctant to purchase any of the Class Vehicles, let alone

15   pay what otherwise would have been fair market value for the vehicles.

16             282.   Accordingly, Honda is liable to Plaintiffs and Class members for damages in an

17   amount to be proven at trial.

18             283.   Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

19   to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the representations

20   that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an assessment of

21   punitive damages in an amount sufficient to deter such conduct in the future, which amount is to be

22   determined according to proof.
                                          COUNT IV
23                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                   (CAL. COM. CODE § 2314)
24

25             284.   Plaintiffs incorporate by reference all preceding allegations as though fully set forth

26   herein.

27             285.   Plaintiffs bring this claim on behalf of the National Class.

28
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 1           286.    Defendant is and was at all relevant times a merchant with respect to motor vehicles

 2   under Cal. Com. Code § 2104.

 3           287.    A warranty that the Class Vehicles were in merchantable condition was implied by

 4   law in the instant transaction, pursuant to Cal. Com. Code § 2314.

 5           288.    Honda marketed the Class Vehicles as safe and reliable luxury vehicles. Such

 6   representations formed the basis of the bargain in Plaintiffs’ and Class members’ decisions to

 7   purchase the Class Vehicles.

 8           289.    Plaintiffs and other Class members purchased or leased the Class Vehicles from

 9   Honda, through Honda’s authorized agents for retail sales, through private sellers, or were otherwise

10   expected to be the eventual purchasers of the Class Vehicles when bought from a third party. At all

11   relevant times, Honda was the manufacturer, distributor, warrantor, and/or seller of the Class

12   Vehicles.

13           290.    Honda knew or had reason to know of the specific use for which the Class Vehicles

14   were purchased or leased.

15           291.    Because of the Defect in the HandsFreeLink™ system, the Class Vehicles were not in

16   merchantable condition when sold and are not fit for the ordinary purpose of providing safe and

17   reliable transportation.

18           292.    Honda knew about the Defect in the HandsFreeLink™ unit, allowing Honda to cure

19   their breach of its warranty if it chose.

20           293.    Honda’s attempt to disclaim or limit the implied warranty of merchantability vis-à-vis

21   consumers is unconscionable and unenforceable here. Specifically, Honda’s warranty limitation is

22   unenforceable because they knowingly sold or leased a defective product without informing

23   consumers about the defect. The time limits contained in Honda’s warranty periods were also

24   unconscionable and inadequate to protect Plaintiffs and other Class members. Among other things,

25   Plaintiffs and other Class members had no meaningful choice in determining these time limitations,

26   the terms of which unreasonably favored Honda. A gross disparity in bargaining power existed

27   between Honda and other Class members, and Honda knew of the Defect at the time of sale.

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     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 64 -
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 1             294.   Plaintiffs and Class members have complied with all obligations under the warranty,

 2   or otherwise have been excused from performance of said obligations as a result of Honda’s conduct

 3   described herein. Affording Honda a reasonable opportunity to cure the breach of written warranties

 4   therefore would be unnecessary and futile.

 5             295.   Accordingly, Honda is liable to Plaintiffs and Class members for damages in an

 6   amount to be proven at trial.
                                     COUNT V
 7                    VIOLATIONS OF THE MAGNUSON-MOSS
       WARRANTY ACT (AS APPLICABLE TO IMPLIED WARRANTY-DERIVED CLAIMS)
 8                           (15 U.S.C. § 2301, ET SEQ.)
 9
               296.   Plaintiffs incorporate by reference all preceding allegations as though fully set forth
10
     herein.
11
               297.   Plaintiffs bring this claim on behalf of the National Class.
12
               298.   Plaintiffs satisfy the Magnuson-Moss Warranty Act (“MMWA”) jurisdictional
13
     requirement because they allege diversity jurisdiction under the Class Action Fairness Act
14
     (“CAFA”), 28 U.S.C. § 1332(d)(2).
15
               299.   Plaintiffs and other Class members are “consumers” within the meaning of the
16
     Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
17
               300.   Honda is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss
18
     Warranty Act, 15 U.S.C. § 2301(4)-(5).
19
               301.   The Class Vehicles are “consumer products” within the meaning of the Magnuson-
20
     Moss Warranty Act, 15 U.S.C. § 2301(1).
21
               302.   The MMWA provides a cause of action for any consumer who is damaged by the
22
     failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).
23
               303.   Defendant provided Plaintiffs and other Class members with an express warranty,
24
     which is covered under 15 U.S.C. § 2301(6).
25
               304.   The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).
26

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 65 -
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 1          305.    Defendant breached these warranties by misrepresenting the standard, quality, or

 2   grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of the

 3   Defect in the HandsFreeLink™ units.

 4          306.    Through their issuance of internal Technical Service Bulletins, Honda has

 5   acknowledged that the Class Vehicles are not of the standard, quality, or grade that Defendant

 6   represented.

 7          307.    Plaintiffs and other Class members have had sufficient direct dealings with Honda or

 8   its agents (dealerships) to establish privity of contract between Honda, on the one hand, and

 9   Plaintiffs and other Class members on the other hand.

10          308.    Nonetheless, privity is not required here because Plaintiffs and other Class members

11   are intended third-party beneficiaries of contracts between Honda and its dealers, and specifically, of

12   its implied warranties.

13          309.    Affording Honda a reasonable opportunity to cure the breach of written warranties

14   would be unnecessary and futile. Under the circumstances, the remedies available under any

15   informal settlement procedure would be inadequate and any requirement that Plaintiffs and Class

16   members resort to an informal dispute resolution procedure and/or afford Honda a reasonable

17   opportunity to cure their breach of warranties is excused and thereby deemed satisfied.

18          310.    The amount in controversy of Plaintiffs’ and Class members’ individual claims meets

19   or exceeds the sum of $25. The amount in controversy of this action exceeds the sum of $50,000,

20   exclusive of interest and costs, computed on the basis of all claims to be determined in this lawsuit.

21          311.    Accordingly, Honda is liable to Plaintiffs and Class members for damages in an

22   amount to be proven at trial.

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28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 66 -
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               VIII. CAUSES OF ACTION ON BEHALF OF THE ALTERNATE CLASSES
 1
     A.     Claims Brought on Behalf of the Alternate California Class
 2
                                             COUNT I
 3                         VIOLATIONS OF THE CALIFORNIA CONSUMER
                                     LEGAL REMEDIES ACT
 4                               (CAL. CIV. CODE § 1750, ET SEQ.)
 5
            312.    Plaintiff John Kelly (“Plaintiff” for purposes of all Alternate California Class Counts)
 6
     incorporates by reference all paragraphs as though fully set forth herein.
 7
            313.    This claim is brought on behalf of the Alternate California Class.
 8
            314.    California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750, et
 9
     seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices undertaken
10
     by any person in a transaction intended to result or which results in the sale or lease of goods or
11
     services to any consumer.”
12
            315.    The Class Vehicles are “goods” as defined in Cal. Civ. Code § 1761(a).
13
            316.    Plaintiff and the other Class members are “consumers” as defined in Cal. Civ. Code
14
     § 1761(d), and Plaintiff, the other Class members, and Honda are “persons” as defined in Cal. Civ.
15
     Code § 1761(c).
16
            317.    As alleged herein, Honda made misleading representations and omissions concerning
17
     the benefits, performance, and safety of the Class Vehicles, including the HandsFreeLink™ system.
18
            318.    In purchasing or leasing the Class Vehicles, Plaintiff and the other Class members
19
     were deceived by Honda’s failure to disclose its knowledge of the Defect in its HandsFreeLink™
20
     system, which caused a parasitic electric drain even when the vehicle’s ignition switch is off.
21
     Defendant further concealed the hidden nature of the problem with the HandsFreeLink™ system,
22
     causing the problem to appear intermittent and unrelated to any defect in the HandsFreeLink™
23
     system.
24
            319.    Honda’s conduct as described herein was and is in violation of the CLRA. Honda’s
25
     conduct violates at least the following enumerated CLRA provisions:
26                  i.      Cal. Civ. Code § 1770(a)(5): Representing that goods have sponsorship,
                            approval, characteristics, uses, benefits, or quantities that they do not have.
27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 67 -
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                    ii.    Cal Civ. Code § 1770(a)(7): Representing that goods are of a particular
 1                         standard, quality, or grade if they are of another.
 2                  iii.   Cal. Civ. Code § 1770 (a)(9): Advertising goods with intent not to sell them as
                           advertised.
 3
                    iv.    Cal Civ. Code § 1770 (a)(16): Representing that goods have been supplied in
 4                         accordance with a previous representation when they have not.
 5
            320.    Honda intentionally and knowingly misrepresented and omitted material facts
 6
     regarding the Class Vehicles, specifically regarding the HandsFreeLink™ system, with an intent to
 7
     mislead Plaintiff and Class members.
 8
            321.    In purchasing or leasing the Class Vehicles, Plaintiff and the other Class members
 9
     were deceived by Honda’s failure to disclose its knowledge of the Defect in its HandsFreeLink™
10
     system.
11
            322.    Plaintiff and the other Class members had no way of knowing Honda’s
12
     representations were false, misleading, and incomplete or knowing the true nature of the
13
     HandsFreeLink™ system. As alleged herein, Honda engaged in a pattern of deception and public
14
     silence in the face of a known defect with its HandsFreeLink™ system. Plaintiff and the other Class
15
     members did not, and could not, unravel Honda’s deception on their own.
16
            323.    Honda knew or should have known its conduct violated the CLRA.
17
            324.    Honda owed Plaintiff and the other Class members a duty to disclose the truth about
18
     its faulty HandsFreeLink™ system because the Defect created a safety hazard and Honda:
19                  i.     Possessed exclusive knowledge of the defect in the HandsFreeLink™ system,
                           which caused parasitic electricity drain that would repeatedly deplete the car’s
20                         battery;
21                  ii.    Intentionally concealed the foregoing from Plaintiff and the other Class
                           members; and/or
22
                    iii.   Made incomplete representations in advertisements and on its website, failing
23                         to warn the public or to publicly admit that the HandsFreeLink™ system was
                           defective.
24

25          325.    Honda had a duty to disclose that the HandsFreeLink™ system in the Class Vehicles

26   was fundamentally flawed as described herein, because the Defect created a safety hazard, and

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 68 -
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 1   Plaintiff and the other Class members relied on Honda’s material misrepresentations and omissions

 2   regarding the features of the Class Vehicles and HandsFreeLink™ system.

 3          326.    Honda’s conduct proximately caused injuries to Plaintiff and the other Class members

 4   that purchased the Class Vehicles and suffered harm as alleged herein.

 5          327.    Plaintiff and the other Class members were injured and suffered ascertainable loss,

 6   injury-in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiff and the

 7   other Class members incurred costs related the parasitic drain caused by the Defect, including

 8   replacements of electrical components and service costs, and overpaid for their Class Vehicles that

 9   have suffered a diminution in value.

10          328.    Honda’s violations cause continuing injuries to Plaintiff and the other Class members.

11   Honda’s unlawful acts and practices complained of herein affect the public interest.

12          329.    Honda knew of the defective design and/or manufacture of the HandsFreeLink™

13   system, and that the Class Vehicles were materially compromised by such defects.

14          330.    The facts concealed and omitted by Honda from Plaintiff and the other Class

15   members are material in that a reasonable consumer would have considered them to be important in

16   deciding whether to purchase an Acura vehicle or pay a lower price. Had Plaintiff and the other

17   Class members known about the defective nature of the Class Vehicles, they would not have

18   purchased the Class Vehicles or would not have paid the prices they paid.

19          331.    Plaintiff’s and the other Class members’ injuries were proximately caused by Honda’s

20   unlawful and deceptive business practices.

21          332.    Pursuant to CLRA § 1780(a), Plaintiff seeks an order enjoining Honda from engaging

22   in the methods, acts, or practices alleged herein, including further concealment of the Defect in the

23   HandsFreeLink™ unit and denial of warranty coverage for repairs related to that Defect.

24          333.    Plaintiff sent out a notice letter on August 3, 2016.

25          334.    Pursuant to CLRA § 1782, if Defendant does not rectify its conduct within 30 days,

26   Plaintiff intends to amend this Complaint to add claims under the CLRA for:
                     i.     Actual damages;
27
                    ii.     Restitution of money to Plaintiff and Class members, and the general public;
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 69 -
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                     iii.   Punitive damages;
 1
                     iv.    An additional award of up to $5,000 to Plaintiff and any Class member who is
 2                          a “senior citizen;
 3                   v.     Attorneys’ fees and costs; and
 4                   vi.    Other relief that this Court deems proper.
 5                                     COUNT II
              VIOLATIONS OF CALIFORNIA’S UNFAIR BUSINESS PRACTICES ACT
 6                      (CAL. BUS. & PROF. CODE § 17200, ET SEQ.)
 7
            335.     Plaintiff Kelly incorporates by reference all preceding allegations as though fully set
 8
     forth herein.
 9
            336.     Plaintiff brings this claim on behalf of the Alternate California Class.
10
            337.     California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et
11
     seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business act
12
     or practice and unfair, deceptive, untrue, or misleading advertising.”
13
            338.     Honda’s conduct, as described herein, was and is in violation of the UCL. Honda’s
14
     conduct violates the UCL in at least the following ways:
15                  i.     By failing to disclose that the HandsFreeLink™ system in the Class Vehicles
                           was defective and prone to create parasitic electricity drain;
16
                     ii.    By selling and leasing Class Vehicles that suffer from such defects without
17                          providing special warranty coverage for this Defect;
18                   iii.   By knowingly and intentionally concealing from Plaintiff and the other Class
                            members that the HandsFreeLink™ system was defective;
19
                     iv.    By marketing Class Vehicles as safe, convenient, and defect free, with cutting-
20                          edge technology, all while knowing of the Defect related to the
                            HandsFreeLink™ system; and
21
                     v.     By violating other California laws, including California consumer protection
22                          laws.
23
            339.     Honda intentionally and knowingly misrepresented and omitted material facts
24
     regarding the Class Vehicles with intent to mislead Plaintiff and the other Class members.
25
            340.     In purchasing or leasing the Class Vehicles, Plaintiff and the other Class members
26
     were deceived by Honda’s failure to disclose the Defect related to the HandsFreeLink™ system.
27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 70 -
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 1          341.    Plaintiff and the other Class members reasonably relied upon Honda’s false

 2   misrepresentations and omissions. They had no way of knowing that Honda’s representations were

 3   false, misleading, and incomplete. As alleged herein, Honda engaged in a pattern of deception and

 4   public silence in the face of a known defect with its HandsFreeLink™ system. Plaintiff and the other

 5   Class members did not, and could not, unravel Honda’s deception on their own.

 6          342.    Honda knew or should have known that its conduct violated the UCL.

 7          343.    Honda owed Plaintiff and the other Class members a duty to disclose the truth about

 8   its HandsFreeLink™ system because the Defect created a safety hazard and Honda:
                   i.    Possessed exclusive knowledge of the Defect in the HandsFreeLink™ system;
 9
                    ii.    Intentionally concealed the foregoing from Plaintiff and the other Class
10                         members; and/or
11                  iii.   Made incomplete representations by failing to warn the public or to publicly
                           admit that the HandsFreeLink™ system was defective.
12

13          344.    Honda had a duty to disclose that the HandsFreeLink™ system in the Class Vehicles

14   was fundamentally flawed as described herein, because Plaintiff and the other Class members relied

15   on Honda’s material misrepresentations and omissions.

16          345.    Honda’s conduct proximately caused injuries to Plaintiff and the other Class members

17   that purchased the Class Vehicles and suffered harm as alleged herein.

18          346.    Plaintiff and the other Class members were injured and suffered ascertainable loss,

19   injury-in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiff and the

20   other Class members incurred costs related the parasitic drain caused by the Defect, including

21   replacement of electrical components and service costs, and overpaid for their Class Vehicles that

22   have suffered a diminution in value.

23          347.    Honda’s violations cause continuing injuries to Plaintiff and the other Class members.

24   Honda’s unlawful acts and practices complained of herein affect the public interest.

25          348.    Honda’s misrepresentations and omissions alleged herein caused Plaintiff and the

26   other Class members to make their purchases of their Class Vehicles. Absent those misrepresent-

27   ations and omissions, Plaintiff and the other Class members would not have purchased these

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 71 -
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 1   vehicles, would not have purchased these Class Vehicles at the prices they paid, and/or would have

 2   purchased less expensive alternative vehicles that did not contain defective HandsFreeLink™

 3   systems that failed to live up to industry standards.

 4             349.   Accordingly, Plaintiff and the other Class members have suffered injury-in-fact,

 5   including lost money or property, as a result of Honda’s misrepresentations and omissions.

 6             350.   Plaintiff requests that this Court enter such orders or judgments as may be necessary

 7   to restore to Plaintiff and Class members any money it acquired by unfair competition, including

 8   restitution and/or restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code § 17203 and

 9   Cal. Civ. Code § 3345; and for such other relief as may be appropriate.

10                                              COUNT III
                                         FRAUD BY CONCEALMENT
11                                     (BASED ON CALIFORNIA LAW)
12
               351.   The Aberin Plaintiffs and John Kelly (“Plaintiffs” for purposes of all Alternate
13
     California Class Counts) incorporate by reference all preceding allegations as though fully set forth
14
     herein.
15
               352.   Plaintiffs bring this claim on behalf of the Alternate California Class.
16
               353.   Honda intentionally concealed that the HandsFreeLink™ system is defective, and
17
     prone to create a parasitic electricity drain that would strain the electrical system and repeatedly
18
     deplete the car’s battery, leaving owners with cars that would not start, premature battery death, and
19
     damage to other components in the electric system. Honda concealed the fact that once the
20
     HandsFreeLink™ system Defect compromises the battery, the system “resets,” hiding the problem
21
     until the system gets stuck again.
22
               354.   Honda further affirmatively misrepresented to Plaintiffs in advertising and other
23
     forms of communication, including standard and uniform material provided with each car and on its
24
     website, that the Class Vehicles it was selling had no significant defects, that the HandsFreeLink™
25
     system was a safety feature, reliable, and would perform and operate properly.
26
               355.   Honda knew about the Defect in the HandsFreeLink™ system when these
27
     representations were made.
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 72 -
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 1          356.    The Class Vehicles purchased by Plaintiffs and the other Class members contained

 2   defective HandsFreeLink™ system.

 3          357.    Honda had a duty to disclose that the HandsFreeLink™ system contained a

 4   fundamental defect as alleged herein, because the Defect created a safety hazard and Plaintiffs and

 5   the other Class members relied on Honda’s material representations.

 6          358.    As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

 7   free from defects such as the Defect related to the HandsFreeLink™ system. Honda touted and

 8   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

 9   failed to disclose important facts related to the Defect. This made Honda’s other disclosures about

10   the HandsFreeLink™ system deceptive.

11          359.    The truth about the defective HandsFreeLink™ system was known only to Honda;

12   Plaintiffs and the other Class members did not know of these facts and Honda actively concealed

13   these facts from Plaintiffs and Class members.

14          360.    Plaintiffs and the other Class members reasonably relied upon Honda’s deception.

15   They had no way of knowing that Honda’s representations were false, misleading, or incomplete. As

16   consumers, Plaintiffs and Class members did not, and could not, unravel Honda’s deception on their

17   own. Rather, Honda intended to deceive Plaintiffs and Class members by concealing the true facts

18   about the Class Vehicles’ HandsFreeLink™ systems.

19          361.    Honda’s false representations and omissions were material to consumers because they

20   concerned qualities of the Class Vehicles that played a significant role in the value of the vehicles.

21          362.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

22   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

23   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

24   facts were not known to or reasonably discoverable by Plaintiffs or Class members.

25          363.    Honda also had a duty to disclose because it made general affirmative representations

26   about the technological and safety innovations included with its vehicles, without telling consumers

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 73 -
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 1   that one of the features had a fundamental defect that would affect the safety, quality, and

 2   performance of the vehicle.

 3          364.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

 4   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

 5   set forth herein. These omitted and concealed facts were material because they directly impact the

 6   value of the Class Vehicles purchased by Plaintiffs and Class members.

 7          365.    Honda has still not made full and adequate disclosures, and continues to defraud

 8   Plaintiffs and Class members by concealing material information regarding the Defect in the

 9   HandsFreeLink™ system.

10          366.    Plaintiffs and Class members were unaware of the omitted material facts referenced

11   herein, and they would not have acted as they did if they had known of the concealed and/or

12   suppressed facts, in that they would not have purchased or paid as much for cars with faulty

13   technology, and/or would have taken other affirmative steps in light of the information concealed

14   from them. Plaintiffs’ and Class members’ actions were justified. Honda was in exclusive control of

15   the material facts, and such facts were not generally known to the public, Plaintiffs, or Class

16   members.

17          367.    Because of the concealment and/or suppression of facts, Plaintiffs and Class members

18   sustained damage because they own(ed) vehicles that are diminished in value as a result of Honda’s

19   concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiffs and

20   Class members been aware of the defect in the HandsFreeLink™ systems installed in the Class

21   Vehicles, and the Company’s disregard for the truth, Plaintiffs and Class members who purchased an

22   Acura vehicle would have paid less for their vehicles or would not have purchased them at all.

23          368.    The value of Plaintiffs’ and Class members’ vehicles has diminished as a result of

24   Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class Vehicles,

25   which has made any reasonable consumer reluctant to purchase any of the Class Vehicles, let alone

26   pay what otherwise would have been fair market value for the vehicles.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 74 -
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 1          369.     Accordingly, Honda is liable to Plaintiffs and Class members for damages in an

 2   amount to be proven at trial.

 3          370.     Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

 4   to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the representations

 5   that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an assessment of

 6   punitive damages in an amount sufficient to deter such conduct in the future, which amount is to be

 7   determined according to proof.
                                         COUNT IV
 8                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                  (CAL. COM. CODE § 2314)
 9

10          371.     Plaintiff Kelly incorporates by reference all preceding allegations as though fully set

11   forth herein.

12          372.     Plaintiff brings this claim on behalf of the Alternate California Class.

13          373.     Defendant is and was at all relevant times a merchant with respect to motor vehicles

14   under Cal. Com. Code § 2104.

15          374.     A warranty that the Class Vehicles were in merchantable condition was implied by

16   law in the instant transaction, pursuant to Cal. Com. Code § 2314.

17          375.     Honda marketed the Class Vehicles as safe and reliable luxury vehicles. Such

18   representations formed the basis of the bargain in Plaintiff’s and Class members’ decisions to

19   purchase the Class Vehicles.

20          376.     Plaintiff and the other Class members purchased or leased the Class Vehicles from

21   Honda, through Honda’s authorized agents for retail sales, through private sellers, or were otherwise

22   expected to be the eventual purchasers of the Class Vehicles when bought from a third party. At all

23   relevant times, Honda was the manufacturer, distributor, warrantor, and/or seller of the Class

24   Vehicles.

25          377.     Honda knew or had reason to know of the specific use for which the Class Vehicles

26   were purchased or leased.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 75 -
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 1           378.    Because of the Defect in the HandsFreeLink™ system, the Class Vehicles were not in

 2   merchantable condition when sold and are not fit for the ordinary purpose of providing safe and

 3   reliable transportation.

 4           379.    Honda knew about the Defect in the HandsFreeLink™ unit, allowing Honda to cure

 5   their breach of its warranty if it chose.

 6           380.    Honda’s attempt to disclaim or limit the implied warranty of merchantability vis-à-vis

 7   consumers is unconscionable and unenforceable here. Specifically, Honda’s warranty limitation is

 8   unenforceable because they knowingly sold or leased a defective product without informing

 9   consumers about the defect. The time limits contained in Honda’s warranty periods were also

10   unconscionable and inadequate to protect Plaintiff and the other Class members. Among other

11   things, Plaintiff and the other Class members had no meaningful choice in determining these time

12   limitations, the terms of which unreasonably favored Honda. A gross disparity in bargaining power

13   existed between Honda and other Class members, and Honda knew of the Defect at the time of sale.

14           381.    Plaintiff and the other Class members have complied with all obligations under the

15   warranty, or otherwise have been excused from performance of said obligations as a result of

16   Honda’s conduct described herein. Affording Honda a reasonable opportunity to cure the breach of

17   written warranties therefore would be unnecessary and futile.

18           382.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

19   an amount to be proven at trial.
                                     COUNT V
20                    VIOLATIONS OF THE MAGNUSON-MOSS
       WARRANTY ACT (AS APPLICABLE TO IMPLIED WARRANTY-DERIVED CLAIMS)
21                           (15 U.S.C. § 2301, ET SEQ.)
22
             383.    Plaintiff Kelly incorporates by reference all preceding allegations as though fully set
23
     forth herein.
24
             384.    Plaintiff brings this claim on behalf of the Alternate California Class.
25
             385.    Plaintiff satisfies the Magnuson-Moss Warranty Act (“MMWA”) jurisdictional
26
     requirement because they allege diversity jurisdiction under the Class Action Fairness Act
27
     (“CAFA”), 28 U.S.C. § 1332(d)(2).
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 76 -
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 1          386.    Plaintiff and the other Class members are “consumers” within the meaning of the

 2   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

 3          387.    Honda is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss

 4   Warranty Act, 15 U.S.C. § 2301(4)-(5).

 5          388.    The Class Vehicles are “consumer products” within the meaning of the Magnuson-

 6   Moss Warranty Act, 15 U.S.C. § 2301(1).

 7          389.    The MMWA provides a cause of action for any consumer who is damaged by the

 8   failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).

 9          390.    Defendant provided Plaintiff and the other Class members with an express warranty,

10   which is covered under 15 U.S.C. § 2301(6).

11          391.    The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).

12          392.    Defendant breached these warranties by misrepresenting the standard, quality, or

13   grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of the

14   Defect in the HandsFreeLink™ units.

15          393.    Through their issuance of internal Technical Service Bulletins, Honda has

16   acknowledged that the Class Vehicles are not of the standard, quality, or grade that Defendant

17   represented.

18          394.    Plaintiff and the other Class members have had sufficient direct dealings with Honda

19   or its agents (dealerships) to establish privity of contract between Honda, on the one hand, and

20   Plaintiff and the other Class members on the other hand.

21          395.    Nonetheless, privity is not required here because Plaintiff and the other Class

22   members are intended third-party beneficiaries of contracts between Honda and its dealers, and

23   specifically, of its implied warranties.

24          396.    Affording Honda a reasonable opportunity to cure the breach of written warranties

25   would be unnecessary and futile. Under the circumstances, the remedies available under any

26   informal settlement procedure would be inadequate and any requirement that Plaintiff and Class

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 77 -
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 1   members resort to an informal dispute resolution procedure and/or afford Honda a reasonable

 2   opportunity to cure their breach of warranties is excused and thereby deemed satisfied.

 3          397.    The amount in controversy of Plaintiff’s and Class members’ individual claims meets

 4   or exceeds the sum of $25. The amount in controversy of this action exceeds the sum of $50,000,

 5   exclusive of interest and costs, computed on the basis of all claims to be determined in this lawsuit.

 6          398.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

 7   an amount to be proven at trial.

 8   B.     Claims Brought on Behalf of the Alternate Delaware Class
 9                                       COUNT I
                    VIOLATIONS OF THE DELAWARE CONSUMER FRAUD ACT
10                          (DEL. CODE ANN. TIT. 6 § 2511, ET SEQ.)
11
            399.    Plaintiff Yun-Fei Lou (“Plaintiff” for purposes of all Alternate Delaware Class
12
     Counts) incorporates by reference all paragraphs as though fully set forth herein.
13
            400.    Plaintiff brings this claim on behalf of the Alternate Delaware Class.
14
            401.    Plaintiff and the other Class members, and Honda are considered “persons” within the
15
     meaning of Del. Code Ann. tit. 6 § 2511(4)(2002).
16
            402.    The Class Vehicles are “merchandise” within the meaning of Del. Code Ann. tit. 6
17
     § 2511(4).
18
            403.    Honda is engaged in “sales” within the meaning of Del. Code Ann. tit. 6 § 2511(6).
19
            404.    Section 2513 of the Delaware Consumer Fraud Act declares, “The act, use or
20
     employment by any person of any deception, fraud, false pretense, false promise, misrepresentation,
21
     or the concealment, suppression, or omission of any material fact with intent that others rely upon
22
     such concealment, suppression or omission, in connection with the sale, lease or advertisement of
23
     any merchandise, whether or not any person has in fact been misled, deceived or damaged thereby, is
24
     an unlawful practice.”
25
            405.    Defendant has violated the Delaware Consumer Fraud Act, Del. Code Ann. tit. 6 §
26
     2513by intentionally and/or negligently acting, using, or employing deception, fraud, false pretense,
27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 78 -
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 1   false promise, or misrepresentation, and the concealment, suppression, or omission of a material fact,

 2   in connection with the sale, lease or advertisement of merchandise.

 3          406.    Defendant’s unlawful practices as herein alleged were gross, oppressive, and

 4   aggravated.

 5          407.    In purchasing or leasing the Acura vehicles, Plaintiff and the other Class members

 6   were deceived by Honda’s failure to disclose its knowledge of the defect in the HandsFreeLink™

 7   system, which caused a parasitic drain even when the vehicle’s ignition switch is off. Defendant

 8   further concealed the hidden nature of the problem with the HandsFreeLink™ system, causing the

 9   problem to appear intermittent and unrelated to any defect with the HandsFreeLink™ system. Each

10   of these omissions contributed to the deceptive context of Honda’s unlawful advertising and

11   representations as a whole.

12          408.    Plaintiff and the other Class members reasonably relied upon Honda’s false

13   misrepresentations and omissions. They had no way of knowing that Honda’s representations were

14   false, misleading, and incomplete. As alleged herein, Honda engaged in a pattern of deception and

15   public silence in the face of a known defect with its HandsFreeLink™ system. Plaintiff and the other

16   Class members did not, and could not, unravel Honda’s deception on their own.

17          409.    Honda’s actions as set forth above occurred in the conduct of trade or commerce.

18          410.    Honda’s unfair or deceptive acts or practices were likely to and did in fact deceive

19   reasonable consumers.

20          411.    Honda knew that the HandsFreeLink™ systems in the Class Vehicles were

21   defectively designed or manufactured, and prone to create a parasitic electricity drain.

22          412.    Honda intentionally and knowingly misrepresented material facts regarding the Acura

23   vehicles with intent to mislead Plaintiff and the other Class members.

24          413.    Honda knew or should have known that its conduct violated the Delaware Consumer

25   Fraud Act.

26          414.    Honda owed Plaintiff and the other Class members a duty to disclose the truth about

27   its faulty HandsFreeLink™ system because the defect created a safety hazard and Honda:
                    i.     Possessed exclusive knowledge of the Defect in the HandsFreeLink™ system;
28
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                      ii.    Intentionally concealed the foregoing from Plaintiff and the Class; and/or
 1
                      iii.   Made incomplete representations in advertisements and on its website, failing
 2                           to warn the public or to publicly admit that the HandsFreeLink™ system was
                             defective.
 3

 4             415.   Honda had a duty to disclose that the HandsFreeLink™ system in the Acura vehicles

 5   was fundamentally flawed as described herein, because the Defect created a safety hazard and

 6   Plaintiff and the other Class members relied on Honda’s material misrepresentations and omissions

 7   regarding the technology, benefits, efficiency, convenience, performance, and safety features of the

 8   HandsFreeLink™ system.

 9             416.   Honda’s conduct proximately caused injuries to Plaintiff and the other Class members

10   that purchased the Acura vehicles and suffered harm as alleged herein.

11             417.   Plaintiff and the other Class members were injured and suffered ascertainable loss,

12   injury-in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiff and the

13   other Class members incurred costs related the parasitic drain caused by the Defect, including

14   replacement of electrical components and service costs, and overpaid for their Acura vehicles that

15   have suffered a diminution in value.

16             418.   As a direct and proximate result of Honda’s unlawful conduct, Plaintiff and the other

17   Class members are entitled to an award of all damages, including, but not limited to, Plaintiff’s and

18   the other Class members’ losses, Defendant’s ill-gotten profits, reimbursement of all costs and

19   expenses incurred by Plaintiff and the other Class members in this action, including interest and

20   attorneys’ fees.
                                                COUNT II
21                                     FRAUDULENT CONCEALMENT
                                        (BASED ON DELAWARE LAW)
22

23             419.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

24   herein.

25             420.   Plaintiff brings this claim on behalf of the Alternate Delaware Class.

26             421.   Honda intentionally concealed that the HandsFreeLink™ system is defective, and

27   prone to create a parasitic electricity drain that would strain the electrical system and repeatedly

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 80 -
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 1   deplete the car’s battery, leaving owners with cars that would not start, premature battery death, and

 2   damage to other components in the electric system. Honda concealed the fact that once the

 3   HandsFreeLink™ system defect compromises the battery, the system “resets,” hiding the problem

 4   until the system gets stuck again.

 5          422.    Honda further affirmatively misrepresented to Plaintiff in advertising and other forms

 6   of communication, including standard and uniform material provided with each car and on its

 7   website, that the Class Vehicles it was selling had no significant defects, that the HandsFreeLink™

 8   was a safety feature, reliable, and would perform and operate properly.

 9          423.    Honda knew about the Defect in the HandsFreeLink™ system when these

10   representations were made.

11          424.    The Class Vehicles purchased by Plaintiff and the other Class members contained a

12   defective HandsFreeLink™ system.

13          425.    Honda had a duty to disclose that the HandsFreeLink™ system contained a

14   fundamental defect as alleged herein, because the defect created a safety hazard and Plaintiff and the

15   other Class members relied on Honda’s material representations.

16          426.    As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

17   free from defects such as the defect related to the HandsFreeLink™ system. Honda touted and

18   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

19   failed to disclose important facts related to the defect. This made Honda’s other disclosures about

20   the HandsFreeLink™ system deceptive.

21          427.    The truth about the defective HandsFreeLink™ system was known only to Honda;

22   Plaintiff and the other Class members did not know of these facts and Honda actively concealed

23   these facts from Plaintiff and the other Class members.

24          428.    Plaintiff and the other Class members reasonably relied upon Honda’s deception.

25   They had no way of knowing that Honda’s representations were false, misleading, or incomplete. As

26   consumers, Plaintiff and the other Class members did not, and could not, unravel Honda’s deception

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 81 -
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 1   on their own. Rather, Honda intended to deceive Plaintiff and the other Class members by

 2   concealing the true facts about the Class Vehicles’ HandsFreeLink™ systems.

 3          429.    Honda’s false representations and omissions were material to consumers because they

 4   concerned qualities of the Class Vehicles that played a significant role in the value of the vehicles.

 5          430.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

 6   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

 7   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

 8   facts were not known to or reasonably discoverable by Plaintiff or Class members.

 9          431.    Honda also had a duty to disclose because it made general affirmative representations

10   about the technological and safety innovations included with its vehicles, without telling consumers

11   that one of the features had a fundamental defect that would affect the safety, quality and

12   performance of the vehicle.

13          432.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

14   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

15   set forth herein. These omitted and concealed facts were material because they directly impact the

16   value of the Class Vehicles purchased by Plaintiff and the other Class members.

17          433.    Honda has still not made full and adequate disclosures, and continues to defraud

18   Plaintiff and the other Class members by concealing material information regarding the Defect in the

19   HandsFreeLink™ system.

20          434.    Plaintiff and the other Class members were unaware of the omitted material facts

21   referenced herein, and they would not have acted as they did if they had known of the concealed

22   and/or suppressed facts, in that they would not have purchased or paid as much for cars with faulty

23   technology, and/or would have taken other affirmative steps in light of the information concealed

24   from them. Plaintiff’s and the other Class members’ actions were justified. Honda was in exclusive

25   control of the material facts, and such facts were not generally known to the public, Plaintiff, or

26   Class members.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 82 -
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 1             435.   Because of the concealment and/or suppression of facts, Plaintiff and the other Class

 2   members sustained damage because they own(ed) vehicles that are diminished in value as a result of

 3   Honda’s concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiff

 4   and the other Class members been aware of the Defect in the HandsFreeLink™ systems installed in

 5   the Class Vehicles, and the Company’s disregard for the truth, Plaintiff and the other Class members

 6   who purchased an Acura vehicle would have paid less for their vehicles or would not have purchased

 7   them at all.

 8             436.   The value of Plaintiff’s and the other Class members’ vehicles has diminished as a

 9   result of Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class

10   Vehicles, which has made any reasonable consumer reluctant to purchase any of the Class Vehicles,

11   let alone pay what otherwise would have been fair market value for the vehicles.

12             437.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

13   an amount to be proven at trial.

14             438.   Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

15   to defraud, and in reckless disregard of Plaintiff’s and the other Class members’ rights and the

16   representations that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an

17   assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

18   amount is to be determined according to proof.

19                                            COUNT III
                                  BREACH OF THE IMPLIED WARRANTY
20                                     OF MERCHANTABILITY
                                          (6 DEL. C. § 2-314)
21

22             439.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

23   herein.

24             440.   Plaintiff brings this claim on behalf of the Alternate Delaware Class.

25             441.   This Claim is tolled by virtue of Honda’s fraudulent concealment. See, e.g., Section

26   V.B.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 83 -
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 1           442.    Honda marketed the Class Vehicles as safe and reliable luxury vehicles. Such

 2   representations formed the basis of the bargain in Plaintiff’s and the other Class members’ decisions

 3   to purchase the Class Vehicles.

 4           443.    Honda was at all relevant times a “merchant” of motor vehicles as defined by 6 Del.

 5   C. § 2-104.

 6           444.    The Class Vehicles are and were at all relevant times “goods” as defined by 6 Del. C.

 7   § 2-105.

 8           445.    Plaintiff and the other Class members purchased or leased the Class Vehicles from

 9   Honda, through Honda’s authorized agents for retail sales, through private sellers, or were otherwise

10   expected to be the eventual purchasers of the Class Vehicles when bought from a third party. At all

11   relevant times, Honda was the manufacturer, distributor, warrantor, and/or seller of the Class

12   Vehicles.

13           446.    Honda knew or had reason to know of the specific use for which the Class Vehicles

14   were purchased or leased.

15           447.    Honda impliedly warranted that the Class Vehicles were in merchantable condition

16   and fit for the ordinary purpose for which vehicles are used.

17           448.    Because of the Defect in the HandsFreeLink™ system, the Class Vehicles were not in

18   merchantable condition when sold and are not fit for the ordinary purpose of providing safe and

19   reliable transportation.

20           449.    Honda knew about the Defect in the HandsFreeLink™ unit, allowing Honda to cure

21   their breach of its warranty if it chose.

22           450.    Honda’s attempt to disclaim or limit the implied warranty of merchantability vis-à-vis

23   consumers is unconscionable and unenforceable here. Specifically, Honda’s warranty limitation is

24   unenforceable because they knowingly sold or leased a defective product without informing

25   consumers about the defect. The time limits contained in Honda’s warranty periods were also

26   unconscionable and inadequate to protect Plaintiff and the other Class members. Among other

27   things, Plaintiff and the other Class members had no meaningful choice in determining these time

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 1   limitations, the terms of which unreasonably favored Honda. A gross disparity in bargaining power

 2   existed between Honda and other Class members, and Honda knew of the Defect at the time of sale.

 3             451.   Plaintiff and the other Class members have complied with all obligations under the

 4   warranty, or otherwise have been excused from performance of said obligations as a result of

 5   Honda’s conduct described herein. Affording Honda a reasonable opportunity to cure the breach of

 6   written warranties therefore would be unnecessary and futile.

 7             452.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

 8   an amount to be proven at trial.
                                     COUNT IV
 9                    VIOLATIONS OF THE MAGNUSON-MOSS
       WARRANTY ACT (AS APPLICABLE TO IMPLIED WARRANTY-DERIVED CLAIMS)
10                           (15 U.S.C. § 2301, ET SEQ.)
11
               453.   Plaintiff incorporates by reference all preceding allegations as though fully set forth
12
     herein.
13
               454.   Plaintiff brings this claim on behalf of the Alternate Delaware Class.
14
               455.   Plaintiff satisfies the Magnuson-Moss Warranty Act (“MMWA”) jurisdictional
15
     requirement because he alleges diversity jurisdiction under CAFA, 28 U.S.C. § 1332(d)(2).
16
               456.   Plaintiff and the other Class members are “consumers” within the meaning of the
17
     Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
18
               457.   Honda is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss
19
     Warranty Act, 15 U.S.C. § 2301(4)-(5).
20
               458.   The Class Vehicles are “consumer products” within the meaning of the Magnuson-
21
     Moss Warranty Act, 15 U.S.C. § 2301(1).
22
               459.   The MMWA provides a cause of action for any consumer who is damaged by the
23
     failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).
24
               460.   Defendant provided Plaintiff and the other Class members with an express warranty,
25
     which is covered under 15 U.S.C. § 2301(6).
26
               461.   The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).
27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 85 -
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 1           462.    Defendant breached these warranties by misrepresenting the standard, quality, or

 2   grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of the

 3   Defect in the HandsFreeLink™ units.

 4           463.    Through their issuance of internal Technical Service Bulletins, Honda has

 5   acknowledged that the Class Vehicles are not of the standard, quality, or grade that Defendant

 6   represented.

 7           464.    Plaintiff and the other Class members have had sufficient direct dealings with Honda

 8   or its agents (dealerships) to establish privity of contract between Honda, on the one hand, and

 9   Plaintiff and the other Class members on the other hand.

10           465.    Nonetheless, privity is not required here because Plaintiff and the other Class

11   members are intended third-party beneficiaries of contracts between Honda and its dealers, and

12   specifically, of its implied warranties.

13           466.    Affording Honda a reasonable opportunity to cure the breach of written warranties

14   would be unnecessary and futile. Under the circumstances, the remedies available under any

15   informal settlement procedure would be inadequate and any requirement that Plaintiff and the other

16   Class members resort to an informal dispute resolution procedure and/or afford Honda a reasonable

17   opportunity to cure their breach of warranties is excused and thereby deemed satisfied.

18           467.    The amount in controversy of Plaintiff’s and the other Class members’ individual

19   claims meets or exceeds the sum of $25. The amount in controversy of this action exceeds the sum

20   of $50,000, exclusive of interest and costs, computed on the basis of all claims to be determined in

21   this lawsuit.

22           468.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

23   an amount to be proven at trial.

24

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     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 86 -
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     C.     Claims Brought on Behalf of the Alternate Kansas Class
 1
                                        COUNT I
 2           VIOLATIONS OF THE KANSAS CONSUMER PROTECTION ACT (KCPA)
                               (K.S.A. §§ 50-623, ET SEQ.)
 3

 4          469.    Plaintiff Don Awtrey (“Plaintiff” for purposes of all Alternate Kansas Class Counts)

 5   incorporates by reference all paragraphs as though fully set forth herein.

 6          470.    Plaintiff brings this claim on behalf of the Alternate Kansas Class.

 7          471.    Plaintiff and the other Class members are “consumers”, as defined by K.S.A. 50-

 8   624(b) of the Kansas Consumer Protection Act.

 9          472.    By manufacturing vehicles for use by consumers Honda conducts regular business

10   with consumers and is therefore a “supplier”, as defined by K.S.A. 50-624(i) of the Kansas

11   Consumer Protection Act.

12          473.    The sale of the Class Vehicles to the Plaintiff and the other Class members was a

13   “consumer transaction”, as defined by K.S.A. 50-624(c) of the Kansas Consumer Protection Act.

14          474.    The Kansas CPA declares “[n]o supplier shall engage in any deceptive act or practice

15   in connection with a consumer transaction,” K.S.A. § 50-626(a), and that deceptive acts or practices

16   include: (1) knowingly making representations or with reason to know that “(A) Property or services

17   have sponsorship, approval, accessories, characteristics, ingredients, uses, benefits or quantities that

18   they do not have;” and “(D) property or services are of particular standard, quality, grade, style or

19   model, if they are of another which differs materially from the representation;” “(2) the willful use,

20   in any oral or written representation, of exaggeration, falsehood, innuendo or ambiguity as to a

21   material fact;” and “(3) the willful failure to state a material fact, or the willful concealment,

22   suppression or omission of a material fact.” The Kansas CPA also provides that “[n]o supplier shall

23   engage in any unconscionable act or practice in connection with a consumer transaction.” K.S.A.

24   § 50-627(a).

25          475.    The willful conduct of Honda as set forth herein constitutes unfair or deceptive acts or

26   practices, including, but not limited to, Honda’s manufacture and sale of vehicles with the HFL

27   Defect, which Honda failed to adequately investigate, disclose and remedy. Further, Honda knew

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     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 87 -
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 1   about the Defect prior to the sale of the Class Vehicles but did not disclose the existence of this

 2   Defect to Plaintiff and the other Class members. Honda engaged in unconscionable acts and practices

 3   by omitting information regarding the safety and reliability of the Class Vehicles.

 4             476.   Honda’s actions as set forth above occurred in the conduct of trade or commerce.

 5             477.   All of the wrongful conduct alleged herein occurred, and continues to occur, in the

 6   conduct of Honda’s business and has the potential for repetition.

 7   598.      Honda’s actions as set forth above induced Plaintiff and the other Class members to purchase

 8   their Class Vehicles from Honda and/or pay a higher price for their Class Vehicles than they

 9   otherwise would have.

10             478.   Plaintiff and the other Class members were injured as a result of Honda’s conduct in

11   that Plaintiff and the other Class members overpaid for their Class Vehicles and did not receive the

12   benefit of their bargain, and their Class Vehicles have suffered a diminution in value. These injuries

13   are the direct and natural consequence of Honda’s omissions.

14             479.   Honda’s conduct proximately caused injuries to Plaintiff and the other Class

15   members.

16             480.   Honda is liable for statutory damages in the amount of $10,000 pursuant to K.S.A. 50-

17   636 for each violation of the KCPA.

18             481.   Honda is liable to Plaintiff and the other Class members for damages in amounts to be

19   proven at trial, including attorneys’ fees, costs, and damages.

20                                              COUNT II
                                       FRAUDULENT CONCEALMENT
21                                       (BASED ON KANSAS LAW)
22
               482.   Plaintiff incorporates by reference all preceding allegations as though fully set forth
23
     herein.
24
               483.   Plaintiff brings this claim on behalf of the Alternate Kansas Class.
25
               484.   Honda intentionally concealed that the HandsFreeLink™ system is defective, and
26
     prone to create a parasitic electricity drain that would strain the electrical system and repeatedly
27
     deplete the car’s battery, leaving owners with cars that would not start, premature battery death, and
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 88 -
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 1   damage to other components in the electric system. Honda concealed the fact that once the

 2   HandsFreeLink™ system defect compromises the battery, the system “resets,” hiding the problem

 3   until the system gets stuck again.

 4          485.    Honda further affirmatively misrepresented to Plaintiff in advertising and other forms

 5   of communication, including standard and uniform material provided with each car and on its

 6   website, that the Class Vehicles it was selling had no significant defects, that the HandsFreeLink™

 7   was a safety feature, reliable, and would perform and operate properly.

 8          486.    Honda knew about the Defect in the HandsFreeLink™ system when these

 9   representations were made.

10          487.    The Class Vehicles purchased by Plaintiff and the other Class members contained a

11   defective HandsFreeLink™ system.

12          488.    Honda had a duty to disclose that the HandsFreeLink™ system contained a

13   fundamental defect as alleged herein, because the defect created a safety hazard and Plaintiff and the

14   other Class members relied on Honda’s material representations.

15          489.    As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

16   free from defects such as the defect related to the HandsFreeLink™ system. Honda touted and

17   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

18   failed to disclose important facts related to the defect. This made Honda’s other disclosures about

19   the HandsFreeLink™ system deceptive.

20          490.    The truth about the defective HandsFreeLink™ system was known only to Honda;

21   Plaintiff and the other Class members did not know of these facts and Honda actively concealed

22   these facts from Plaintiff and the other Class members.

23          491.    Plaintiff and the other Class members reasonably relied upon Honda’s deception.

24   They had no way of knowing that Honda’s representations were false, misleading, or incomplete. As

25   consumers, Plaintiff and the other Class members did not, and could not, unravel Honda’s deception

26   on their own. Rather, Honda intended to deceive Plaintiff and the other Class members by

27   concealing the true facts about the Class Vehicles’ HandsFreeLink™ systems.

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     THIRD AMENDED CLASS ACTION COMPLAINT                                - 89 -
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 1          492.    Honda’s false representations and omissions were material to consumers because they

 2   concerned qualities of the Class Vehicles that played a significant role in the value of the vehicles.

 3          493.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

 4   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

 5   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

 6   facts were not known to or reasonably discoverable by Plaintiff or Class members.

 7          494.    Honda also had a duty to disclose because it made general affirmative representations

 8   about the technological and safety innovations included with its vehicles, without telling consumers

 9   that one of the features had a fundamental defect that would affect the safety, quality and

10   performance of the vehicle.

11          495.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

12   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

13   set forth herein. These omitted and concealed facts were material because they directly impact the

14   value of the Class Vehicles purchased by Plaintiff and the other Class members.

15          496.    Honda has still not made full and adequate disclosures, and continues to defraud

16   Plaintiff and the other Class members by concealing material information regarding the Defect in the

17   HandsFreeLink™ system.

18          497.    Plaintiff and the other Class members were unaware of the omitted material facts

19   referenced herein, and they would not have acted as they did if they had known of the concealed

20   and/or suppressed facts, in that they would not have purchased or paid as much for cars with faulty

21   technology, and/or would have taken other affirmative steps in light of the information concealed

22   from them. Plaintiff’s and the other Class members’ actions were justified. Honda was in exclusive

23   control of the material facts, and such facts were not generally known to the public, Plaintiff, or

24   Class members.

25          498.    Because of the concealment and/or suppression of facts, Plaintiff and the other Class

26   members sustained damage because they own(ed) vehicles that are diminished in value as a result of

27   Honda’s concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiff

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     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 90 -
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 1   and the other Class members been aware of the Defect in the HandsFreeLink™ systems installed in

 2   the Class Vehicles, and the Company’s disregard for the truth, Plaintiff and the other Class members

 3   who purchased an Acura vehicle would have paid less for their vehicles or would not have purchased

 4   them at all.

 5             499.   The value of Plaintiff’s and the other Class members’ vehicles has diminished as a

 6   result of Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class

 7   Vehicles, which has made any reasonable consumer reluctant to purchase any of the Class Vehicles,

 8   let alone pay what otherwise would have been fair market value for the vehicles.

 9             500.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

10   an amount to be proven at trial.

11             501.   Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

12   to defraud, and in reckless disregard of Plaintiff’s and the other Class members’ rights and the

13   representations that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an

14   assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

15   amount is to be determined according to proof.

16                                           COUNT III
                                  BREACH OF THE IMPLIED WARRANTY
17                                     OF MERCHANTABILITY
                                          (K.S.A. § 84-2-314)
18

19             502.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

20   herein.

21             503.   Plaintiff brings this claim on behalf of the Alternate Kansas Class.

22             504.   This Claim is tolled by virtue of Honda’s fraudulent concealment. See, e.g., Section

23   V.B.

24             505.   Honda marketed the Class Vehicles as safe and reliable luxury vehicles. Such

25   representations formed the basis of the bargain in Plaintiff’s and the other Class members’ decisions

26   to purchase the Class Vehicles.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 91 -
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 1           506.    Honda was at all relevant times a “merchant” of motor vehicles as defined by K.S.A.

 2   § 84-2-104.

 3           507.    The Class Vehicles are and were at all relevant times “goods” as defined by K.S.A. §

 4   84-2-105.

 5           508.    Plaintiff and the other Class members purchased or leased the Class Vehicles from

 6   Honda, through Honda’s authorized agents for retail sales, through private sellers, or were otherwise

 7   expected to be the eventual purchasers of the Class Vehicles when bought from a third party. At all

 8   relevant times, Honda was the manufacturer, distributor, warrantor, and/or seller of the Class

 9   Vehicles.

10           509.    Honda knew or had reason to know of the specific use for which the Class Vehicles

11   were purchased or leased.

12           510.    Honda impliedly warranted that the Class Vehicles were in merchantable condition

13   and fit for the ordinary purpose for which vehicles are used.

14           511.    Because of the Defect in the HandsFreeLink™ system, the Class Vehicles were not in

15   merchantable condition when sold and are not fit for the ordinary purpose of providing safe and

16   reliable transportation.

17           512.    Honda knew about the Defect in the HandsFreeLink™ unit, allowing Honda to cure

18   their breach of its warranty if it chose.

19           513.    Honda’s attempt to disclaim or limit the implied warranty of merchantability vis-à-vis

20   consumers is unconscionable and unenforceable here. Specifically, Honda’s warranty limitation is

21   unenforceable because they knowingly sold or leased a defective product without informing

22   consumers about the defect. The time limits contained in Honda’s warranty periods were also

23   unconscionable and inadequate to protect Plaintiff and the other Class members. Among other

24   things, Plaintiff and the other Class members had no meaningful choice in determining these time

25   limitations, the terms of which unreasonably favored Honda. A gross disparity in bargaining power

26   existed between Honda and other Class members, and Honda knew of the Defect at the time of sale.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 92 -
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 1             514.   Plaintiff and the other Class members have complied with all obligations under the

 2   warranty, or otherwise have been excused from performance of said obligations as a result of

 3   Honda’s conduct described herein. Affording Honda a reasonable opportunity to cure the breach of

 4   written warranties therefore would be unnecessary and futile.

 5             515.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

 6   an amount to be proven at trial.
                                     COUNT IV
 7                    VIOLATIONS OF THE MAGNUSON-MOSS
       WARRANTY ACT (AS APPLICABLE TO IMPLIED WARRANTY-DERIVED CLAIMS)
 8                           (15 U.S.C. § 2301, ET SEQ.)
 9
               516.   Plaintiff incorporates by reference all preceding allegations as though fully set forth
10
     herein.
11
               517.   Plaintiff brings this claim on behalf of the Alternate Kansas Class.
12
               518.   Plaintiff satisfies the Magnuson-Moss Warranty Act (“MMWA”) jurisdictional
13
     requirement because he alleges diversity jurisdiction under CAFA, 28 U.S.C. § 1332(d)(2).
14
               519.   Plaintiff and the other Class members are “consumers” within the meaning of the
15
     Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
16
               520.   Honda is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss
17
     Warranty Act, 15 U.S.C. § 2301(4)-(5).
18
               521.   The Class Vehicles are “consumer products” within the meaning of the Magnuson-
19
     Moss Warranty Act, 15 U.S.C. § 2301(1).
20
               522.   The MMWA provides a cause of action for any consumer who is damaged by the
21
     failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).
22
               523.   Defendant provided Plaintiff and the other Class members with an express warranty,
23
     which is covered under 15 U.S.C. § 2301(6).
24
               524.   The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).
25
               525.   Defendant breached these warranties by misrepresenting the standard, quality, or
26
     grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of the
27
     Defect in the HandsFreeLink™ units.
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 93 -
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 1           526.    Through their issuance of internal Technical Service Bulletins, Honda has

 2   acknowledged that the Class Vehicles are not of the standard, quality, or grade that Defendant

 3   represented.

 4           527.    Plaintiff and the other Class members have had sufficient direct dealings with Honda

 5   or its agents (dealerships) to establish privity of contract between Honda, on the one hand, and

 6   Plaintiff and the other Class members on the other hand.

 7           528.    Nonetheless, privity is not required here because Plaintiff and the other Class

 8   members are intended third-party beneficiaries of contracts between Honda and its dealers, and

 9   specifically, of its implied warranties.

10           529.    Affording Honda a reasonable opportunity to cure the breach of written warranties

11   would be unnecessary and futile. Under the circumstances, the remedies available under any

12   informal settlement procedure would be inadequate and any requirement that Plaintiff and the other

13   Class members resort to an informal dispute resolution procedure and/or afford Honda a reasonable

14   opportunity to cure their breach of warranties is excused and thereby deemed satisfied.

15           530.    The amount in controversy of Plaintiff’s and the other Class members’ individual

16   claims meets or exceeds the sum of $25. The amount in controversy of this action exceeds the sum

17   of $50,000, exclusive of interest and costs, computed on the basis of all claims to be determined in

18   this lawsuit.

19           531.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

20   an amount to be proven at trial.

21
     D.      Claims Brought on Behalf of the Alternate New Hampshire Class
22
                                              COUNT I
23                          VIOLATIONS OF NEW HAMPSHIRE CONSUMER
                                        PROTECTION ACT
24                                  (N.H.R.S.A. § 358-A, ET SEQ.)
25
             532.    Plaintiff Melissa Yeung (“Plaintiff” for purposes of all Alternate New Hampshire
26
     Class Counts) incorporates by reference all paragraphs as though fully set forth herein.
27
             533.    Plaintiff brings this claim on behalf of the Alternate New Hampshire Class.
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 94 -
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 1          534.      Plaintiff, Honda, and the other Class members are “persons”, as defined in

 2   N.H.R.S.A. § 358-A:1.

 3          535.      Honda’s acts and practices complained of herein were considered “Trade” and

 4   “Commerce” as defined in N.H.R.S.A. § 358-A:1.

 5          536.      Section 358A-2 of the New Hampshire Consumer Protection Act states, “It shall be

 6   unlawful for any person to use any unfair method of competition or any unfair or deceptive act or

 7   practice in the conduct of any trade or commerce within this state.”

 8          537.      As detailed herein, by not disclosing the defective nature of the HandsFreeLink™

 9   system Honda has willfully and knowingly engaged in an unfair and deceptive acts in the conduct of

10   trade and commerce within the State of New Hampshire thereby violating section 358A-2 of the

11   New Hampshire Consumer Protection Act.

12          538.      In purchasing or leasing the Class Vehicles, Plaintiff and the other Class members

13   were deceived by Honda’s failure to disclose that the HandsFreeLink™ system in the Class Vehicles

14   was defective.

15          539.      Plaintiff and the other Class members reasonably relied upon Honda’s false

16   misrepresentations and omissions. They had no way of knowing that Honda’s representations were

17   false, misleading, and incomplete. As alleged herein, Honda willfully and knowingly engaged in a

18   pattern of deception and public silence in the face of a known defect with its HandsFreeLink™

19   system. Plaintiff and the other Class members did not, and could not, unravel Honda’s deception on

20   their own.

21          540.      Honda’s actions as set forth above occurred in the conduct of trade or commerce.

22          541.      Honda’s unfair or deceptive acts or practices were likely to and did in fact deceive

23   reasonable consumers.

24          542.      Honda willfully and knowingly misrepresented material facts regarding the Class

25   Vehicles with intent to mislead Plaintiff and the other Class members.

26          543.      Honda knew or should have known that its conduct violated the New Hampshire

27   Consumer Protection Act.

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 95 -
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 1             544.   Honda owed Plaintiff and the other Class members a duty to disclose the truth about

 2   its faulty HandsFreeLink™ system because the defect created a safety hazard and Honda:
                    i.     Possessed exclusive knowledge of the defect in the HandsFreeLink™ system;
 3
                      ii.    Intentionally concealed the foregoing from Plaintiff and the other Class
 4                           members; and/or
 5                    iii.   Made incomplete representations in advertisements and on its website, failing
                             to warn the public or to publicly admit that the HandsFreeLink™ system was
 6                           defective.
 7
               545.   Honda had a duty to disclose that the HandsFreeLink™ system in the Class Vehicles
 8
     was fundamentally flawed as described herein, because the Defect created a safety hazard and
 9
     Plaintiff and the other Class members relied on Honda’s material misrepresentations and omissions
10
     regarding the technology, benefits, efficiency, convenience, performance, and safety features of the
11
     HandsFreeLink™ system.
12
               546.   Honda’s conduct proximately caused injuries to Plaintiff and the other Class members
13
     that purchased the Class Vehicles and suffered harm as alleged herein.
14
               547.   Plaintiff and the other Class members were injured and suffered ascertainable loss,
15
     injury-in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiff and the
16
     other Class members incurred costs related the parasitic drain caused by the Defect, including
17
     replacement of electrical components and service costs, and overpaid for their Class Vehicles that
18
     have suffered a diminution in value.
19
               548.   Honda’s violations cause continuing injuries to Plaintiff and the other Class members.
20
               549.   Plaintiff and the other Class members seek damages and treble damages for Honda’s
21
     knowing violations.
22
               550.   Plaintiff and the other Class members also seek court costs and attorneys’ fees.
23
                                               COUNT II
24                                    FRAUDULENT CONCEALMENT
                                    (BASED ON NEW HAMPSHIRE LAW)
25

26             551.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

27   herein.

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 96 -
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 1          552.    Plaintiff brings this claim on behalf of the Alternate New Hampshire Class.

 2          553.    Honda intentionally concealed that the HandsFreeLink™ system is defective, and

 3   prone to create a parasitic electricity drain that would strain the electrical system and repeatedly

 4   deplete the car’s battery, leaving owners with cars that would not start, premature battery death, and

 5   damage to other components in the electric system. Honda concealed the fact that once the

 6   HandsFreeLink™ system defect compromises the battery, the system “resets,” hiding the problem

 7   until the system gets stuck again.

 8          554.    Honda further affirmatively misrepresented to Plaintiff in advertising and other forms

 9   of communication, including standard and uniform material provided with each car and on its

10   website, that the Class Vehicles it was selling had no significant defects, that the HandsFreeLink™

11   was a safety feature, reliable, and would perform and operate properly.

12          555.    Honda knew about the Defect in the HandsFreeLink™ system when these

13   representations were made.

14          556.    The Class Vehicles purchased by Plaintiff and the other Class members contained a

15   defective HandsFreeLink™ system.

16          557.    Honda had a duty to disclose that the HandsFreeLink™ system contained a

17   fundamental defect as alleged herein, because the defect created a safety hazard and Plaintiff and the

18   other Class members relied on Honda’s material representations.

19          558.    As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

20   free from defects such as the defect related to the HandsFreeLink™ system. Honda touted and

21   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

22   failed to disclose important facts related to the defect. This made Honda’s other disclosures about

23   the HandsFreeLink™ system deceptive.

24          559.    The truth about the defective HandsFreeLink™ system was known only to Honda;

25   Plaintiff and the other Class members did not know of these facts and Honda actively concealed

26   these facts from Plaintiff and the other Class members.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 97 -
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 1          560.    Plaintiff and the other Class members reasonably relied upon Honda’s deception.

 2   They had no way of knowing that Honda’s representations were false, misleading, or incomplete. As

 3   consumers, Plaintiff and the other Class members did not, and could not, unravel Honda’s deception

 4   on their own. Rather, Honda intended to deceive Plaintiff and the other Class members by

 5   concealing the true facts about the Class Vehicles’ HandsFreeLink™ systems.

 6          561.    Honda’s false representations and omissions were material to consumers because they

 7   concerned qualities of the Class Vehicles that played a significant role in the value of the vehicles.

 8          562.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

 9   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

10   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

11   facts were not known to or reasonably discoverable by Plaintiff or Class members.

12          563.    Honda also had a duty to disclose because it made general affirmative representations

13   about the technological and safety innovations included with its vehicles, without telling consumers

14   that one of the features had a fundamental defect that would affect the safety, quality and

15   performance of the vehicle.

16          564.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

17   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

18   set forth herein. These omitted and concealed facts were material because they directly impact the

19   value of the Class Vehicles purchased by Plaintiff and the other Class members.

20          565.    Honda has still not made full and adequate disclosures, and continues to defraud

21   Plaintiff and the other Class members by concealing material information regarding the Defect in the

22   HandsFreeLink™ system.

23          566.    Plaintiff and the other Class members were unaware of the omitted material facts

24   referenced herein, and they would not have acted as they did if they had known of the concealed

25   and/or suppressed facts, in that they would not have purchased or paid as much for cars with faulty

26   technology, and/or would have taken other affirmative steps in light of the information concealed

27   from them. Plaintiff’s and the other Class members’ actions were justified. Honda was in exclusive

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 98 -
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 1   control of the material facts, and such facts were not generally known to the public, Plaintiff, or

 2   Class members.

 3             567.   Because of the concealment and/or suppression of facts, Plaintiff and the other Class

 4   members sustained damage because they own(ed) vehicles that are diminished in value as a result of

 5   Honda’s concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiff

 6   and the other Class members been aware of the Defect in the HandsFreeLink™ systems installed in

 7   the Class Vehicles, and the Company’s disregard for the truth, Plaintiff and the other Class members

 8   who purchased an Acura vehicle would have paid less for their vehicles or would not have purchased

 9   them at all.

10             568.   The value of Plaintiff’s and the other Class members’ vehicles has diminished as a

11   result of Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class

12   Vehicles, which has made any reasonable consumer reluctant to purchase any of the Class Vehicles,

13   let alone pay what otherwise would have been fair market value for the vehicles.

14             569.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

15   an amount to be proven at trial.

16             570.   Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

17   to defraud, and in reckless disregard of Plaintiff’s and the other Class members’ rights and the

18   representations that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an

19   assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

20   amount is to be determined according to proof.
                                                COUNT III
21                                BREACH OF IMPLIED WARRANTY
                                 (N.H. REV. STAT. ANN. § 382-A: 2-314)
22

23             571.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

24   herein.

25             572.   Plaintiff brings this claim on behalf of the Alternate New Hampshire Class.

26             573.   This Claim is tolled by virtue of Honda’s fraudulent concealment. See, e.g., Section

27   V.B.

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 99 -
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 1           574.    Honda marketed the Class Vehicles as safe and reliable luxury vehicles. Such

 2   representations formed the basis of the bargain in Plaintiff’s and the other Class members’ decisions

 3   to purchase the Class Vehicles.

 4           575.    Honda was at all relevant times a “merchant” as defined by N.H. Rev. Stat. Ann. §

 5   382-A:2-104.

 6           576.    The Class Vehicles are and were at all relevant times “goods” as defined by N.H. Rev.

 7   Stat. Ann. § 382-A:2-105.

 8           577.    Plaintiff and the other Class members purchased or leased the Class Vehicles from

 9   Honda, through Honda’s authorized agents for retail sales, through private sellers, or were otherwise

10   expected to be the eventual purchasers of the Class Vehicles when bought from a third party. At all

11   relevant times, Honda was the manufacturer, distributor, warrantor, and/or seller of the Class

12   Vehicles.

13           578.    Honda knew or had reason to know of the specific use for which the Class Vehicles

14   were purchased or leased.

15           579.    Honda impliedly warranted that the Class Vehicles were in merchantable condition

16   and fit for the ordinary purpose for which vehicles are used.

17           580.    Because of the Defect in the HandsFreeLink™ system, the Class Vehicles were not in

18   merchantable condition when sold and are not fit for the ordinary purpose of providing safe and

19   reliable transportation.

20           581.    Honda knew about the Defect in the HandsFreeLink™ unit, allowing Honda to cure

21   their breach of its warranty if it chose.

22           582.    Honda’s attempt to disclaim or limit the implied warranty of merchantability vis-à-vis

23   consumers is unconscionable and unenforceable here. Specifically, Honda’s warranty limitation is

24   unenforceable because they knowingly sold or leased a defective product without informing

25   consumers about the defect. The time limits contained in Honda’s warranty periods were also

26   unconscionable and inadequate to protect Plaintiff and the other Class members. Among other

27   things, Plaintiff and the other Class members had no meaningful choice in determining these time

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                - 100 -
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 1   limitations, the terms of which unreasonably favored Honda. A gross disparity in bargaining power

 2   existed between Honda and other Class members, and Honda knew of the Defect at the time of sale.

 3             583.   Plaintiff and the other Class members have complied with all obligations under the

 4   warranty, or otherwise have been excused from performance of said obligations as a result of

 5   Honda’s conduct described herein. Affording Honda a reasonable opportunity to cure the breach of

 6   written warranties therefore would be unnecessary and futile.

 7             584.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

 8   an amount to be proven at trial.

 9                                   COUNT IV
                      VIOLATIONS OF THE MAGNUSON-MOSS
10     WARRANTY ACT (AS APPLICABLE TO IMPLIED WARRANTY-DERIVED CLAIMS)
                             (15 U.S.C. § 2301, ET SEQ.)
11

12             585.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

13   herein.

14             586.   Plaintiff brings this claim on behalf of the Alternate New Hampshire Class.

15             587.   Plaintiff satisfies the Magnuson-Moss Warranty Act (“MMWA”) jurisdictional

16   requirement because she alleges diversity jurisdiction under CAFA, 28 U.S.C. § 1332(d)(2).

17             588.   Plaintiff and the other Class members are “consumers” within the meaning of the

18   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

19             589.   Honda is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss

20   Warranty Act, 15 U.S.C. § 2301(4)-(5).

21             590.   The Class Vehicles are “consumer products” within the meaning of the Magnuson-

22   Moss Warranty Act, 15 U.S.C. § 2301(1).

23             591.   The MMWA provides a cause of action for any consumer who is damaged by the

24   failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).

25             592.   Defendant provided Plaintiff and the other Class members with an express warranty,

26   which is covered under 15 U.S.C. § 2301(6).

27             593.   The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                   - 101 -
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 1           594.    Defendant breached these warranties by misrepresenting the standard, quality, or

 2   grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of the

 3   Defect in the HandsFreeLink™ units.

 4           595.    Through their issuance of internal Technical Service Bulletins, Honda has

 5   acknowledged that the Class Vehicles are not of the standard, quality, or grade that Defendant

 6   represented.

 7           596.    Plaintiff and the other Class members have had sufficient direct dealings with Honda

 8   or its agents (dealerships) to establish privity of contract between Honda, on the one hand, and

 9   Plaintiff and the other Class members on the other hand.

10           597.    Nonetheless, privity is not required here because Plaintiff and the other Class

11   members are intended third-party beneficiaries of contracts between Honda and its dealers, and

12   specifically, of its implied warranties.

13           598.    Affording Honda a reasonable opportunity to cure the breach of written warranties

14   would be unnecessary and futile. Under the circumstances, the remedies available under any

15   informal settlement procedure would be inadequate and any requirement that Plaintiff and the other

16   Class members resort to an informal dispute resolution procedure and/or afford Honda a reasonable

17   opportunity to cure their breach of warranties is excused and thereby deemed satisfied.

18           599.    The amount in controversy of Plaintiff’s and the other Class members’ individual

19   claims meets or exceeds the sum of $25. The amount in controversy of this action exceeds the sum

20   of $50,000, exclusive of interest and costs, computed on the basis of all claims to be determined in

21   this lawsuit.

22           600.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

23   an amount to be proven at trial.

24

25

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     THIRD AMENDED CLASS ACTION COMPLAINT                                 - 102 -
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     E.     Claims Brought on Behalf of the Alternate New York Class
 1
                                         COUNT I
 2                 VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
                                 (N.Y. GEN. BUS. LAW § 349)
 3

 4          601.    Plaintiff Joy Matza (“Plaintiff” for purposes of all Alternate New York Class Counts)

 5   incorporates by reference all paragraphs as though fully set forth herein.

 6          602.    Plaintiff brings this claim on behalf of the Alternate New York Class.

 7          603.    New York’s General Business Law § 349 makes unlawful “[d]eceptive acts or

 8   practices in the conduct of any business, trade or commerce.”

 9          604.    By failing to release material facts about the Defect, Honda curtailed or reduced the

10   ability of consumers to take notice of material facts about their vehicle, and/or it affirmatively

11   operated to hide or keep those facts from consumers. Moreover, Honda has otherwise engaged in

12   activities with a tendency or capacity to deceive. Honda also engaged in unlawful trade practices by

13   employing deception, deceptive acts or practices, fraud, misrepresentations, unfair practices, and/or

14   concealment, suppression or omission of any material fact with intent that others rely upon such

15   concealment, suppression or omission, in connection with the sale of Class Vehicles.

16          605.    Honda knew it had installed a defective HandsFreeLink™ system since at least 2005,

17   when they issued the Technical Service Bulletin discussed herein.

18          606.    By failing to disclose and by actively concealing the defect in the HandsFreeLink™

19   system, by marketing its vehicles as safe, reliable and of high quality, and by presenting itself as a

20   reputable manufacturer that valued safety and reliability and stood behind its vehicles after they were

21   sold, Honda engaged in deceptive business practices in violation of the NY GBL §349.

22          607.    In the course of Honda’s business, it willfully failed to disclose and actively

23   concealed the defect in the HandsFreeLink™ system discussed herein. Honda compounded the

24   deception by repeatedly asserting Class Vehicles were safe, reliable, and of high quality, and by

25   claiming to be a reputable manufacturer that valued safety, and stood behind its vehicles once they

26   are on the road.

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 103 -
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 1          608.    Honda’s unfair or deceptive acts or practices, including these concealments,

 2   omissions, and suppressions of material facts, had a tendency or capacity to mislead, tended to create

 3   a false impression in consumers, and did in fact deceive reasonable consumers, including Plaintiff

 4   and the other Class members, about true reliability of Class Vehicles and the ability to use the

 5   HandsFreeLink™ system without compromising their batteries

 6          609.    Honda intentionally and knowingly misrepresented material facts regarding the Class

 7   Vehicles with an intent to mislead Plaintiff and the other Class members, including without

 8   limitation by failing to disclose the defects in light of circumstances under which the omitted facts

 9   were necessary in order to correct the assumptions, inferences or representations being made by

10   Honda about the reliability and safety of its vehicles. Consequently, the failure to disclose such facts

11   amounts to misleading statements pursuant to NY GBL §349.

12          610.    Because Honda knew or believed that its statements regarding the reliability and

13   safety of its vehicles were not in accord with the facts and/or had no reasonable basis for such

14   statements in light of its knowledge of these defects, Honda engaged in fraudulent misrepresentations

15   pursuant to NY GBL §349.

16          611.    Honda’s conduct as described herein is unethical, oppressive, or unscrupulous and/or

17   it presented a risk of substantial injury to consumers. Such acts are unfair practices in violation of

18   NY GBL §349.

19          612.    Honda knew or should have known that its conduct violated NY GBL §349.

20          613.    As alleged above, Honda made material statements about the reliability and safety of

21   the Class Vehicles and the Honda brand that were either false, misleading, and/or half-truths in

22   violation of NY GBL §349

23          614.    Honda owed Plaintiff and the other Class members a duty to disclose the truth about

24   its faulty HandsFreeLink™ system because the defect created a safety hazard and Honda:
                              i. Possessed exclusive knowledge of the Defect in the HandsFreeLink™
25                               system, which caused parasitic electricity drain that would repeatedly
                                 deplete the car’s battery;
26
                                ii. Intentionally concealed the foregoing from Plaintiff and the other Class
27                                  members; and/or
28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 104 -
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                                   iii. Made incomplete representations in advertisements and on its website,
 1                                      failing to warn the public or to publicly admit that the
                                        HandsFreeLink™ system was defective.
 2

 3             615.     Honda’s fraudulent use of the HandsFreeLink™ system and its concealment of the

 4   true defective nature of the system were material to Plaintiff and the other Class members.

 5             616.     Plaintiff and the other Class members suffered ascertainable loss caused by Honda’s

 6   misrepresentations and its concealment of and failure to disclose material information. Class

 7   members who purchased the Class Vehicles either would have paid less for their vehicles or would

 8   not have purchased or leased them at all but for Honda’s violations of NY GBL §349.

 9             617.     Honda had an ongoing duty to all its customers to refrain from unfair and deceptive

10   practices under the NY GBL §349. All owners of Class Vehicles suffered ascertainable loss in the

11   form of the diminished value of their vehicles as a result of Honda’s deceptive and unfair acts and

12   practices made in the course of Honda’s business.

13             618.     Honda’s violations present a continuing risk to Plaintiff and the other Class members

14   as well as to the general public. Honda’s unlawful acts and practices complained of herein affect the

15   public interest.

16             619.     As a direct and proximate result of Honda’s violations of NY GBL §349, Plaintiff and

17   the other Class members have suffered injury-in-fact and/or actual damage.

18             620.     Honda is liable to Plaintiff and the other Class members for damages in amounts to be

19   proven at trial, including attorneys’ fees, costs, and punitive damages, as well as injunctive relief

20   enjoining Honda’s unfair and deceptive practices, and any other just and proper relief under NY

21   GBL §349.
                                                  COUNT II
22                                       FRAUDULENT CONCEALMENT
                                          (BASED ON NEW YORK LAW)
23

24             621.     Plaintiff incorporates by reference all preceding allegations as though fully set forth

25   herein.

26             622.     Plaintiff brings this claim on behalf of the Alternate New York Class.

27

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     THIRD AMENDED CLASS ACTION COMPLAINT                                     - 105 -
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 1          623.    Honda intentionally concealed that the HandsFreeLink™ system is defective, and

 2   prone to create a parasitic electricity drain that would strain the electrical system and repeatedly

 3   deplete the car’s battery, leaving owners with cars that would not start, premature battery death, and

 4   damage to other components in the electric system. Honda concealed the fact that once the

 5   HandsFreeLink™ system defect compromises the battery, the system “resets,” hiding the problem

 6   until the system gets stuck again.

 7          624.    Honda further affirmatively misrepresented to Plaintiff in advertising and other forms

 8   of communication, including standard and uniform material provided with each car and on its

 9   website, that the Class Vehicles it was selling had no significant defects, that the HandsFreeLink™

10   was a safety feature, reliable, and would perform and operate properly.

11          625.    Honda knew about the Defect in the HandsFreeLink™ system when these

12   representations were made.

13          626.    The Class Vehicles purchased by Plaintiff and the other Class members contained a

14   defective HandsFreeLink™ system.

15          627.    Honda had a duty to disclose that the HandsFreeLink™ system contained a

16   fundamental defect as alleged herein, because the defect created a safety hazard and Plaintiff and the

17   other Class members relied on Honda’s material representations.

18          628.    As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

19   free from defects such as the defect related to the HandsFreeLink™ system. Honda touted and

20   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

21   failed to disclose important facts related to the defect. This made Honda’s other disclosures about

22   the HandsFreeLink™ system deceptive.

23          629.    The truth about the defective HandsFreeLink™ system was known only to Honda;

24   Plaintiff and the other Class members did not know of these facts and Honda actively concealed

25   these facts from Plaintiff and the other Class members.

26

27

28
     THIRD AMENDED CLASS ACTION COMPLAINT                                  - 106 -
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 1          630.    Plaintiff and the other Class members reasonably relied upon Honda’s deception.

 2   They had no way of knowing that Honda’s representations were false, misleading, or incomplete. As

 3   consumers, Plaintiff and the other Class members did not, and could not, unravel Honda’s deception

 4   on their own. Rather, Honda intended to deceive Plaintiff and Class members.

 5          631.    Honda’s false representations and omissions were material to consumers because they

 6   concerned qualities of the Class Vehicles that played a significant role in the value of the vehicles.

 7          632.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

 8   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

 9   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

10   facts were not known to or reasonably discoverable by Plaintiff or Class members.

11          633.    Honda also had a duty to disclose because it made general affirmative representations

12   about the technological and safety innovations included with its vehicles, without telling consumers

13   that one of the features had a fundamental defect that would affect the safety, quality and

14   performance of the vehicle.

15          634.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

16   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

17   set forth herein. These omitted and concealed facts were material because they directly impact the

18   value of the Class Vehicles purchased by Plaintiff and the other Class members.

19          635.    Honda has still not made full and adequate disclosures, and continues to defraud

20   Plaintiff and the other Class members by concealing material information regarding the Defect in the

21   HandsFreeLink™ system.

22          636.    Plaintiff and the other Class members were unaware of the omitted material facts

23   referenced herein, and they would not have acted as they did if they had known of the concealed

24   and/or suppressed facts, in that they would not have purchased or paid as much for cars with faulty

25   technology, and/or would have taken other affirmative steps in light of the information concealed

26   from them. Plaintiff’s and the other Class members’ actions were justified. Honda was in exclusive

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 1   control of the material facts, and such facts were not generally known to the public, Plaintiff, or

 2   Class members.

 3             637.   Because of the concealment and/or suppression of facts, Plaintiff and the other Class

 4   members sustained damage because they own(ed) vehicles that are diminished in value as a result of

 5   Honda’s concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiff

 6   and the other Class members been aware of the Defect in the HandsFreeLink™ systems installed in

 7   the Class Vehicles, and the Company’s disregard for the truth, Plaintiff and the other Class members

 8   who purchased an Acura vehicle would have paid less for their vehicles or would not have purchased

 9   them at all.

10             638.   The value of Plaintiff’s and the other Class members’ vehicles has diminished as a

11   result of Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class

12   Vehicles, which has made any reasonable consumer reluctant to purchase any of the Class Vehicles,

13   let alone pay what otherwise would have been fair market value for the vehicles.

14             639.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

15   an amount to be proven at trial.

16             640.   Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

17   to defraud, and in reckless disregard of Plaintiff’s and the other Class members’ rights and the

18   representations that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an

19   assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

20   amount is to be determined according to proof.

21                                              COUNT III
                                     BREACH OF IMPLIED WARRANTY
22                                       (N.Y. U.C.C. LAW § 2-315)
23
               641.   Plaintiff incorporates by reference all preceding allegations as though fully set forth
24
     herein.
25
               642.   Plaintiff brings this claim on behalf of the Alternate New York Class.
26

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 1           643.    Honda marketed the Class Vehicles as safe and reliable luxury vehicles. Such

 2   representations formed the basis of the bargain in Plaintiff’s and the other Class members’ decisions

 3   to purchase the Class Vehicles.

 4           644.    Honda was at all relevant times a “merchant” of motor vehicles as defined by N.Y.

 5   U.C.C. Law § 2-104.

 6           645.    In connection with the purchase or lease of each of the Class Vehicles, Honda

 7   provided warranty coverage for the Class Vehicles for 4 years or 50,000 miles, which obliges Honda

 8   to repair or replace any part that is defective under normal use.

 9           646.    Honda’s warranty formed a basis of the bargain that was reached when Plaintiff and

10   the other Class members purchased their Class Vehicles.

11           647.    Plaintiff and the other Class members owned Class Vehicles with defective

12   HandsFreeLink™ units within the warranty period but had no knowledge of the existence of the

13   Defect, which was known and concealed by Honda.

14           648.    Despite the existence of the warranty, Honda failed to inform Plaintiff and the other

15   Class members that the Class Vehicles contained the defective HandsFreeLink™ units during the

16   warranty periods, and, thus, wrongfully transferred the costs of repair or replacement to Plaintiff and

17   the other Class members.

18           649.    Honda breached the express warranty promising to repair and correct a manufacturing

19   defect or defect in materials or workmanship of any parts they supplied.

20           650.    Honda knew about the Defect in the HandsFreeLink™ unit, allowing Honda to cure

21   their breach of its warranty if it chose.

22           651.    However, Honda concealed the Defect and, on information and belief, has refused to

23   repair or replace the HandsFreeLink™ unit free of charge outside of the warranty periods despite the

24   Defect’s existence at the time of sale or lease of the Class Vehicles.

25           652.    Any attempt by Honda to disclaim or limit recovery to the terms of the express

26   warranties is unconscionable and unenforceable here. Specifically, Honda’s warranty limitation is

27   unenforceable because they knowingly sold or leased a defective product without informing

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 1   consumers about the defect. The time limits contained in Honda’s warranty periods were also

 2   unconscionable and inadequate to protect Plaintiff and the other Class members. Among other

 3   things, Plaintiff and the other Class members had no meaningful choice in determining these time

 4   limitations, the terms of which unreasonably favored Honda. A gross disparity in bargaining power

 5   existed between Honda and other Class members, and Honda knew that the HandsFreeLink™ units

 6   were defective at the time of sale.

 7             653.   Further, the limited warranty promising to repair and/or correct a manufacturing

 8   defect fails in its essential purpose because the contractual remedy is insufficient to make Plaintiff

 9   and the other Class members whole because the replacement part used by Honda contains the same

10   defect. Affording Honda a reasonable opportunity to cure the breach of written warranties therefore

11   would be unnecessary and futile.

12             654.   Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

13   an amount to be proven at trial.
                                     COUNT IV
14                    VIOLATIONS OF THE MAGNUSON-MOSS
       WARRANTY ACT (AS APPLICABLE TO IMPLIED WARRANTY-DERIVED CLAIMS)
15                           (15 U.S.C. § 2301, ET SEQ.)
16
               655.   Plaintiff incorporates by reference all preceding allegations as though fully set forth
17
     herein.
18
               656.   Plaintiff brings this claim on behalf of the Alternate New York Class.
19
               657.   Plaintiff satisfies the Magnuson-Moss Warranty Act (“MMWA”) jurisdictional
20
     requirement because she alleges diversity jurisdiction under CAFA, 28 U.S.C. § 1332(d)(2).
21
               658.   Plaintiff and the other Class members are “consumers” within the meaning of the
22
     Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
23
               659.   Honda is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss
24
     Warranty Act, 15 U.S.C. § 2301(4)-(5).
25
               660.   The Class Vehicles are “consumer products” within the meaning of the Magnuson-
26
     Moss Warranty Act, 15 U.S.C. § 2301(1).
27

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 1           661.    The MMWA provides a cause of action for any consumer who is damaged by the

 2   failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).

 3           662.    Defendant provided Plaintiff and the other Class members with an express warranty,

 4   which is covered under 15 U.S.C. § 2301(6).

 5           663.    The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).

 6           664.    Defendant breached these warranties by misrepresenting the standard, quality, or

 7   grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of the

 8   Defect in the HandsFreeLink™ units.

 9           665.    Through their issuance of internal Technical Service Bulletins, Honda has

10   acknowledged that the Class Vehicles are not of the standard, quality, or grade that Defendant

11   represented.

12           666.    Plaintiff and the other Class members have had sufficient direct dealings with Honda

13   or its agents (dealerships) to establish privity of contract between Honda, on the one hand, and

14   Plaintiff and the other Class members on the other hand.

15           667.    Nonetheless, privity is not required here because Plaintiff and the other Class

16   members are intended third-party beneficiaries of contracts between Honda and its dealers, and

17   specifically, of its implied warranties.

18           668.    Affording Honda a reasonable opportunity to cure the breach of written warranties

19   would be unnecessary and futile. Under the circumstances, the remedies available under any

20   informal settlement procedure would be inadequate and any requirement that Plaintiff and the other

21   Class members resort to an informal dispute resolution procedure and/or afford Honda a reasonable

22   opportunity to cure their breach of warranties is excused and thereby deemed satisfied.

23           669.    The amount in controversy of Plaintiff’s and the other Class members’ individual

24   claims meets or exceeds the sum of $25. The amount in controversy of this action exceeds the sum

25   of $50,000, exclusive of interest and costs, computed on the basis of all claims to be determined in

26   this lawsuit.

27

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 1           670.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

 2   an amount to be proven at trial.

 3   F.      Claims Brought on Behalf of the Alternate Washington Class
 4                                    COUNT I
          VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT – UNFAIR
 5                               BUSINESS PRACTICES
                (REVISED CODE OF WASHINGTON (RCW) §§ 19.86.010, ET SEQ.)
 6

 7           671.    Plaintiff Charles Burgess (“Plaintiff” for purposes of all Alternate Washington Class

 8   Counts) incorporates by reference all paragraphs as though fully set forth herein.

 9           672.    Plaintiff brings this claim on behalf of the Alternate Washington Class.

10           673.    Honda, Plaintiff, and the other Class members are “persons” under RCW

11   19.86.010(1) (“Washington CPA”).

12           674.    Honda engages in “trade” or “commerce” under RCW 19.86.010(2).

13           675.    Honda has engaged in unfair acts or practices. Honda has long known that its

14   HandsFreeLink™ units have a propensity to become locked in the “on” position and exert a parasitic

15   current drain on the vehicle’s engine, compromising the vehicle’s battery and other electrical

16   components, which impairs the car’s performance and poses a serious safety risk. Honda

17   systematically concealed and failed to disclose these facts to Plaintiff and the other Class members.

18           676.    Honda engaged in unfair acts or practices by engaging in a pattern and practice of: (i)

19   failing to disclose that Plaintiff’s and Class members’ vehicles, and the HandsFreeLink™ system in

20   the vehicles, were not of a particular standard, quality, or grade; (ii) failing to disclose, at and after

21   the time of purchase or lease and repair, any and all known material defects or material

22   nonconformity of the vehicles, including the defect in the HandsFreeLink™ systems; (iii) failing to

23   disclose at the time of purchase or lease that the vehicles, including the HandsFreeLink™ systems,

24   were not in good working order, were defective, were not fit for their intended, ordinary purpose, and

25   created substantial performance and safety issues; (iv) failing to give adequate warnings and notices

26   regarding the use, defects, and problems with the vehicles’ HandsFreeLink™ systems to customers

27   and consumers who purchased and/or leased the vehicles, even though Honda possessed knowledge

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 1   of the inherent defect in the HandsFreeLink™ systems prior to and at the time of purchase; (v)

 2   failing to disclose, either through warnings or recall notices, and/or actively concealing, the fact that

 3   the HandsFreeLink™ systems were defective, even though Honda knew about the defects as early as

 4   July 2005, if not before; (vi) representing that defects in the vehicles would be covered under its

 5   warranty program, while systematically replacing the HandsFreeLink™ units with equally defective

 6   HandsFreeLink™ units, only repairing/replacing the symptoms of the defect (the failed batteries,

 7   alternators, and other essential electrical components), and/or depriving purchasers who would have

 8   come in during their warranty periods of the opportunity to do so; and (vii) causing Plaintiff and the

 9   other Class members to expend sums of money to (repeatedly) service, repair and/or replace their

10   HandsFreeLink™ units and other essential electrical components, such as batteries and alternators,

11   despite Honda’s knowledge of the defect.

12          677.    Honda’s systematic practice of failing to disclose the defect in the HandsFreeLink™

13   systems, failing to give adequate warnings about defects in the HandsFreeLink™ systems, and

14   failing to repair the HandsFreeLink™ systems is unfair because these acts or practices offend public

15   policy established by statutes, regulations, the common law or otherwise, including, but not limited

16   to, the public policy established by RCW 46.70.005, RCW 46.70.101, and RCW 46.70.180.

17          678.    Honda’s systematic practice of failing to disclose the defect in the HandsFreeLink™

18   systems, failing to give adequate warnings about defects in the HandsFreeLink™ systems, and

19   failing to repair the HandsFreeLink™ systems is unfair because this practice allowed Honda to

20   continue to charge consumers a premium price for these vehicles and the HandsFreeLink™ systems.

21   This practice also misled owners during the warranty period and allowed Honda to avoid having to

22   fulfill its contractual obligations under the warranty.

23          679.    Honda’s systematic practice of failing to disclose the defect in the HandsFreeLink™

24   systems, failing to give adequate warnings regarding the defects in the HandsFreeLink™ systems,

25   and failing to repair the HandsFreeLink™ systems is unfair because these acts or practices: (1) cause

26   substantial financial injury to Plaintiff and the other Class members; (2) are not outweighed by any

27   countervailing benefits to consumers or competitors, and create an unreasonable safety risk for

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 1   Plaintiff, Class members, and other members of the public; and (3) are not reasonably avoidable by

 2   consumers.

 3          680.    Honda’s unfair acts and practices affect the public interest, because these acts and

 4   practices have injured and have the capacity to injure other persons. Honda’s unfair acts and

 5   practices also offend the public policy laid out in RCW 46.70.005, RCW 46.70.101, and

 6   RCW 46.70.180, and that statute specifically provides: “Any violation of this chapter is deemed to

 7   affect the public interest and constitutes a violation of chapter 19.86 RCW” in RCW 46.70.310.

 8          681.    These unfair acts and practices were committed in the general course of Honda’s

 9   business.

10          682.    As a direct and proximate result of Honda’s unfair acts or practices, Plaintiff and the

11   other Class members suffered injury in fact and lost money. Honda’s unfair or deceptive acts or

12   practices resulted in Plaintiff and the other Class members: (i) expending out-of-pocket monies to

13   service their vehicles, including for repairs or replacements of batteries, alternators, and other

14   electrical components drained or strained by the defective HandsFreeLink™ systems, and/or

15   replacement of the HandsFreeLink™ systems or disconnection of HandsFreeLink™ systems, as well

16   as loss of use while their vehicles were being serviced; (ii) the failure of consideration in connection

17   with and/or difference in value arising out of the variance between the vehicles as warranted and the

18   vehicles containing the defect; and (iii) the diminution of resale value of the vehicles resulting from

19   the defect.

20          683.    Plaintiff and the other Class members are therefore entitled to legal relief against

21   Honda, including recovery of actual damages, treble damages, attorneys’ fees, costs of suit, and such

22   further relief as the Court may deem proper.

23          684.    Plaintiff and the other Class members are also entitled to injunctive relief in the form

24   of an order prohibiting Honda from engaging in the alleged misconduct and such other equitable

25   relief as the Court deems appropriate, including, but not limited to, disgorgement, for the benefit of

26   the class members, of all or part of the ill-gotten profits Honda received from the failure to disclose

27   defect in the HandsFreeLink™ system.

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                                  COUNT II
 1   VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT – DECEPTIVE
                             BUSINESS PRACTICES
 2                          (RCW 19.86.010, ET SEQ.)
 3
             685.    Plaintiff brings this claim on behalf of the Alternate Washington Class.
 4
             686.    Honda, Plaintiff, and the other Class members are “persons” under RCW §
 5
     19.86.010(1).
 6
             687.    Honda engages in “trade” or “commerce” under RCW 19.86.010(2).
 7
             688.    Honda has engaged in deceptive acts or practices. Honda has long known that its
 8
     HandsFreeLink™ units have a propensity to become locked in the “on” position and exert a parasitic
 9
     current drain on the vehicle’s engine, compromising the vehicle’s battery and other electrical
10
     components, which impairs the car’s performance and poses a serious safety risk. Honda
11
     systematically concealed and failed to disclose these facts to Plaintiff and the other Class members.
12
             689.    Honda further engaged in deceptive acts or practices by (i) failing to disclose that
13
     Plaintiff’s and the other Class members’ vehicles, and the HandsFreeLink™ system in the vehicles,
14
     were not of a particular standard, quality, or grade; (ii) failing to disclose, at and after the time of
15
     purchase or lease and repair, any and all known material defects or material nonconformity of the
16
     vehicles, including the defect in the HandsFreeLink™ systems; (iii) failing to disclose at the time of
17
     purchase or lease that the vehicles, including the HandsFreeLink™ systems, were not in good
18
     working order, were defective, were not fit for their intended, ordinary purpose, and created
19
     substantial performance and safety issues; (iv) failing to give adequate warnings and notices
20
     regarding the use, defects, and problems with the vehicles’ HandsFreeLink™ systems to customers
21
     and consumers who purchased and/or leased the vehicles, even though Honda possessed knowledge
22
     of the inherent defect in the HandsFreeLink™ systems prior to and at the time of purchase; (v)
23
     failing to disclose, either through warnings or recall notices, and/or actively concealing, the fact that
24
     the HandsFreeLink™ systems were defective, even though Honda knew about the defects as early as
25
     July 2005, if not before; (vi) representing that defects in the vehicles would be covered under its
26
     warranty program, while systematically replacing the HandsFreeLink™ units with equally defective
27
     HandsFreeLink™ units, only addressing the symptoms of the defect (the failed batteries, alternators,
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 1   and other essential electrical components), and/or depriving purchasers who would have come in

 2   during their warranty periods of the opportunity to do so; and (vii) causing Plaintiff and the other

 3   Class members to expend sums of money to (repeatedly) service, repair and/or replace their

 4   HandsFreeLink™ units and other essential electrical components, such as batteries and alternators,

 5   despite Honda’s knowledge of the defect.

 6          690.    Honda’s deceptive acts or practices repeatedly occurred in the general course of

 7   Honda’s trade or business and were and are capable of deceiving a substantial portion of the public.

 8   The acts complained of herein are ongoing.

 9          691.    Honda’s deceptive acts and practices affect the public interest, because these acts and

10   practices have injured and have the capacity to injure other persons. Honda’s deceptive acts and

11   practices also offend the public policy laid out in RCW 46.70.005, RCW 46.70.101, and

12   RCW 46.70.180, and that statute specifically provides: “Any violation of this chapter is deemed to

13   affect the public interest and constitutes a violation of chapter 19.86 RCW” in RCW 46.70.310.

14          692.    These deceptive acts and practices were committed in the general course of Honda’s

15   business.

16          693.    Honda’s systematic practice of failing to disclose the defect in the HandsFreeLink™

17   systems, failing to give adequate warnings about defects in the HandsFreeLink™ systems, and

18   failing to repair the HandsFreeLink™ systems is deceptive, because this practice allowed Honda to

19   continue to charge consumers a premium price for these vehicles and the HandsFreeLink™ systems.

20   This practice also misled owners during the warranty period and allowed Honda to avoid having to

21   fulfill its contractual obligations under the warranty.

22          694.    Honda’s systematic practice of failing to disclose the defect in the HandsFreeLink™

23   systems, failing to give adequate warnings regarding the defects in the HandsFreeLink™ systems,

24   and failing to repair the HandsFreeLink™ systems is likely to mislead a reasonable consumer.

25          695.    As a direct and proximate result of Honda’s unfair acts or practices, Plaintiff and the

26   other Class members suffered injury in fact and lost money. Honda’s unfair or deceptive acts or

27   practices resulted in Plaintiff and the other Class members: (i) expending out-of-pocket monies to

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 1   service their vehicles, including for repairs or replacements of batteries, alternators, and other

 2   electrical components drained or strained by the defective HandsFreeLink™ systems, and/or

 3   replacement of the HandsFreeLink™ systems or disconnection of HandsFreeLink™ systems, and

 4   loss of use while their vehicles were being serviced; (ii) the failure of consideration in connection

 5   with and/or difference in value arising out of the variance between the vehicles as warranted and the

 6   vehicles containing the defect; and (iii) the diminution of resale value of the vehicles resulting from

 7   the defect.

 8             696.   Plaintiff and the other Class members are therefore entitled to legal relief against

 9   Honda, including recovery of actual damages, treble damages, attorneys’ fees, costs of suit, and such

10   further relief as the Court may deem proper.

11             697.   Plaintiff and the other Class members are also entitled to injunctive relief in the form

12   of an order prohibiting Honda from engaging in the alleged misconduct and such other equitable

13   relief as the Court deems appropriate, including, but not limited to, disgorgement, for the benefit of

14   the class members, of all or part of the ill-gotten profits Honda received from the failure to disclose

15   the defect in the HandsFreeLink™ systems

16                                             COUNT III
                                       FRAUDULENT CONCEALMENT
17                                    (BASED ON WASHINGTON LAW)
18             698.   Plaintiff incorporates by reference all preceding allegations as though fully set forth

19   herein.

20             699.   Plaintiff brings this claim on behalf of the Alternate Washington Class.

21             700.   Honda possessed exclusive knowledge of the defect in the HandsFreeLink™ system,

22   and intentionally concealed that the HandsFreeLink™ system is defective, and prone to create a

23   parasitic electricity drain that would strain the car’s electrical system and repeatedly deplete the car’s

24   battery, leaving owners with cars that would not reliably start, premature battery death, and damage

25   to other components in the electric system. Honda concealed the fact that once the HandsFreeLink™

26   system defect compromises the battery, the system “resets,” hiding the problem until the system gets

27   stuck again.

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 1           701.    Honda further affirmatively misrepresented to Plaintiff and the other Class members

 2   in advertising and other forms of communication, including standard and uniform material provided

 3   with each car and on its website, that the Class Vehicles it was selling had no significant defects, that

 4   the HandsFreeLink™ was a safety feature, reliable, and would perform and operate properly.

 5           702.    Honda knew about the Defect in the HandsFreeLink™ system when it made these

 6   representations. Honda knew the defect was not known to or reasonably discoverable by Plaintiff or

 7   Class members. Nonetheless, Honda failed to disclose the defect, which a reasonable consumer

 8   would have found to be an important, material fact. Honda also failed to disclose the performance

 9   problems and safety hazards caused by this defect. This made Honda’s incomplete and contradictory

10   statements about the vehicle and its HandsFreeLink™ system deceptive and tantamount to a

11   misrepresentation.

12           703.    The Class Vehicles purchased by Plaintiff and the other Class members contained a

13   defective HandsFreeLink™ system.

14           704.    Honda had a duty to disclose the HandsFreeLink™ system defect because Honda had

15   knowledge of a material fact not readily apparent or observable and not easily discoverable by

16   Plaintiff and the other Class members. Honda had a duty to disclose that the HandsFreeLink™

17   system is defective because the defect is a manifestly serious and dangerous condition, which results

18   in a vehicle that will not reliably start and could stall due to a dead battery and other failed electrical

19   components even when the vehicle is in use.

20           705.    As alleged herein, at all relevant times, Honda has held out the Class Vehicles to be

21   free from defects such as the defect related to the HandsFreeLink™ system. Honda touted and

22   continues to tout the many benefits and advantages of the HandsFreeLink™ system, but nonetheless

23   failed to disclose important facts related to the defect. This made Honda’s other disclosures about

24   the HandsFreeLink™ system deceptive.

25           706.    The truth about the defective HandsFreeLink™ system was known only to Honda;

26   Plaintiff and the other Class members did not know of these facts and Honda actively concealed

27   these facts from Plaintiff and the other Class members. They had no way of knowing that Honda’s

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 1   representations were false, misleading, or incomplete. As consumers, Plaintiff and the other Class

 2   members did not, and could not, unravel Honda’s deception on their own. Rather, Honda intended to

 3   deceive Plaintiff and the other Class members by concealing the true facts about the Class Vehicles’

 4   HandsFreeLink™ systems. Also, the defect tended to evade detection , in part because it only

 5   manifested itself through the failure of other electrical components, in part because it could trigger a

 6   reset if the battery drained too low, causing the problem to appear ‘intermittent.’

 7          707.    Honda’s false representations and omissions were material because they concerned

 8   qualities that played a significant role in the value of the vehicles (affecting the vehicle’s

 9   performance, safety, and luxury), and because the defect constitutes an unreasonable safety risk that

10   would be material to a reasonable consumer. The existence of a defect that prevents a vehicle from

11   starting reliably, causes a vehicle to stall even while in use, and requires costly repairs is a material

12   fact that would have affected Plaintiff’s and the other Class members’ decision to purchase the

13   vehicles and the price they were willing to pay for the vehicles.

14          708.    Honda had a duty to disclose the HandsFreeLink™ system Defect and violations with

15   respect to the Class Vehicles because details of the true facts were known and/or accessible only to

16   Honda, because Honda had exclusive knowledge as to such facts, and because Honda knew these

17   facts were not known to or reasonably discoverable by Plaintiff or Class members.

18          709.    Honda also had a duty to disclose because it made general affirmative representations

19   about the technological and safety innovations included with its vehicles, without telling consumers

20   that one of the features had a fundamental defect that would affect the safety, quality and

21   performance of the vehicle.

22          710.    Honda’s disclosures were misleading, deceptive, and incomplete because they failed

23   to inform consumers of the additional facts regarding the Defect in the HandsFreeLink™ system as

24   set forth herein. These omitted and concealed facts were material because they directly impact the

25   value of the Class Vehicles purchased by Plaintiff and the other Class members.

26

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28
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 1           711.   Honda has still not made full and adequate disclosures, and continues to defraud

 2   Plaintiff and the other Class members by concealing material information regarding the Defect in the

 3   HandsFreeLink™ system.

 4           712.   Plaintiff and the other Class members were unaware of the omitted material facts

 5   referenced herein, and they would not have acted as they did if they had known of the concealed

 6   and/or suppressed facts, in that they would not have purchased or paid as much for cars with faulty

 7   technology, and/or would have taken other affirmative steps in light of the information concealed

 8   from them. Plaintiff’s and the other Class members’ actions were justified. Honda was in exclusive

 9   control of the material facts, and such facts were not generally known to the public, Plaintiff, or

10   Class members.

11           713.   Honda concealed and continues to conceal this material information in order to induce

12   consumers to purchase the class vehicles at a premium price, and also to mislead owners during the

13   warranty period in order to avoid having to fulfill their contractual obligations under the warranty.

14   Honda continues to sell vehicles with the defective HandsFreeLink™ system, but does not warn

15   purchasers or disclose the defect to the public. Honda continues to conceal and gloss over the

16   problem by replacing HandsFreeLink™ units with equally defective HandsFreeLink™ units, and

17   replacing failed batteries, alternators, and other electrical components without addressing the root of

18   the problem.

19           714.   Because of the concealment and/or suppression of facts, Plaintiff and the other Class

20   members sustained damage because they own(ed) vehicles that are diminished in value as a result of

21   Honda’s concealment of the true quality of those vehicles’ HandsFreeLink™ systems. Had Plaintiff

22   and the other Class members been aware of the Defect in the HandsFreeLink™ systems installed in

23   the Class Vehicles, and the Company’s disregard for the truth, Plaintiff and the other Class members

24   who purchased an Acura vehicle would have paid less for their vehicles or would not have purchased

25   them at all.

26           715.   The value of Plaintiff’s and the other Class members’ vehicles has diminished as a

27   result of Honda’s fraudulent concealment of the defective HandsFreeLink™ system of the Class

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 1   Vehicles, which has made any reasonable consumer reluctant to purchase any of the Class Vehicles,

 2   let alone pay what otherwise would have been fair market value for the vehicles. Plaintiff and Class

 3   members were also deprived of safe and reliable transportation. This defect poses an unreasonable

 4   safety risk, and renders their vehicles unsuited for ordinary use.

 5          716.    Accordingly, Honda is liable to Plaintiff and the other Class members for damages in

 6   an amount to be proven at trial.

 7          717.    Honda’s acts were done wantonly, maliciously, oppressively, deliberately, with intent

 8   to defraud, and in reckless disregard of Plaintiff’s and the other Class members’ rights and the

 9   representations that Honda made to them, in order to enrich Honda. Honda’s conduct warrants an

10   assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

11   amount is to be determined according to proof.

12                                           REQUEST FOR RELIEF

13          WHEREFORE, Plaintiffs and Class members, individually and on behalf of members of the

14   National (California-law) or alternative California, Delaware, Kansas, New Hampshire, New York

15   and Washington Classes, respectfully request that the Court enter judgment in their favor and against

16   Honda as follows:

17           A.     Certification of the proposed Class (or alternate Classes), including appointment of

18   Plaintiffs’ counsel as Class Counsel;

19           B.     Restitution and damages, including enhanced damages, punitive damages, costs, and

20   disgorgement in an amount to be determined at trial;

21           C.     Injunctive relief in the form of a recall or free replacement program with a

22   HandsFreeLinkTM system that does not drain the batteries of the Class Vehicles;

23           D.     An Order requiring Honda to pay both pre- and post-judgment interest on any

24   amounts awarded;

25           E.     An award of costs and attorneys’ fees; and

26           F.     Such other or further relief as may be appropriate.

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                                      DEMAND FOR JURY TRIAL
 1

 2         Plaintiffs and Class members hereby demands a jury trial for all claims so triable.

 3   DATED: April 27, 2018                       SEEGER WEISS LLP
 4
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 1                                      CERTIFICATE OF SERVICE

 2            I, Christopher A. Seeger, hereby certify that on April 27, 2018, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of such

 4   filing to the following:

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